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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

                                                                  )
     In re:                                                       )         Chapter 11
                                                                  )
     ENVIVA INC., et al.,                                         )         Case No. 24-10453 (BFK)
                                                                  )
                      Debtors.1                                   )         (Jointly Administered)
                                                                  )

                         JOINT CHAPTER 11 PLAN OF
           REORGANIZATION OF ENVIVA INC. AND ITS DEBTOR AFFILIATES

     Paul M. Basta (admitted pro hac vice)                         Michael A. Condyles (VA 27807)
     Andrew M. Parlen (admitted pro hac vice)                      Peter J. Barrett (VA 46179)
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     Counsel to the Debtors and Debtors in
     Possession

     Dated: August 30, 2024




 1
       Due to the large number of Debtors in these jointly administered Chapter 11 Cases, a complete list of the Debtor
       entities and the last four digits of their federal tax identification numbers is not provided herein. A complete list
       may be obtained on the website of the Debtors’ claims and noticing agent at https://www.veritaglobal.net/enviva.
       The location of the Debtors’ corporate headquarters is: 7272 Wisconsin Avenue, Suite 1800, Bethesda, MD
       20814.
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                                         INTRODUCTION

         Enviva Inc. and its affiliated debtors, as Debtors and debtors in possession in the
 above-captioned Chapter 11 Cases, jointly propose this Plan for the resolution of all outstanding
 Claims against, and Interests in, the Debtors. Although proposed jointly for administrative
 purposes, the Plan constitutes a separate Plan for each Debtor for the resolution of all outstanding
 Claims against, and Interests in, such Debtor. Capitalized terms used but not otherwise defined
 herein shall have the meanings ascribed to such terms in Article I.A hereof , or, if not defined in
 Article I.A. of the Plan, in the Bankruptcy Code or Bankruptcy Rules. Holders of Claims and
 Interests should refer to the Disclosure Statement for a discussion of the Debtors ’ history,
 businesses, assets, results of operations, historical financial information, and projections of future
 operations, as well as a summary and description of the Plan. The Debtors are the proponents of
 the Plan within the meaning of section 1129 of the Bankruptcy Code.

 ALL HOLDERS OF CLAIMS AND INTERESTS WHO ARE ELIGIBLE TO VOTE ARE
  ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
    THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

 ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD REVIEW THE SECURITIES
  LAW RESTRICTIONS AND NOTICES SET FORTH IN THIS PLAN (INCLUDING,
       WITHOUT LIMITATION, UNDER ARTICLE IV HEROF) IN FULL.

                                   ARTICLE I.
                    DEFINED TERMS, RULES OF INTERPRETATION,
                   COMPUTATION OF TIME, AND GOVERNING LAW

 A.     Defined Terms

        As used in the Plan, capitalized terms have the meanings set forth below.

        1.    “2026 Notes” means the 6.500% senior notes due 2026 and governed by the 2026
 Notes Indenture.

         2.    “2026 Notes Claims” means Claims arising under or in connection with the 2026
 Notes, including approximately $750,000,000 in aggregate outstanding principal amount, plus
 accrued and unpaid interest thereon, fees, and other expenses arising under and payable pursuant
 to the 2026 Notes Indenture.

        3.      “2026 Notes Guarantors” means each of the guarantors party to the 2026 Notes
 Indenture.

        4.     “2026 Notes Indenture” means that certain Indenture, dated as of December 9,
 2019, among Enviva Partners, LP, Enviva Partners Finance Corp., as issuers, each of the
 guarantors party thereto, and the 2026 Notes Indenture Trustee , as may be amended, restated,
 modified, supplemented, or replaced from time to time in accordance with the terms thereof.




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        5.     “2026 Notes Indenture Trustee” means Wilmington Savings Fund Society, FSB,
 a Delaware federal savings bank, in its capacity as trustee under the 2026 Notes Indenture, and
 any successors in such capacity.

        6.      “2026 Notes Issuers” means Enviva, LP and Enviva Partners Finance Corp.

        7.     “Ad Hoc Group” means the ad hoc group represented by the Ad Hoc Group
 Advisors and consisting of certain Holders of 2026 Notes Claims, Senior Secured Credit Facility
 Claims, Bond Green Bonds Claims, Epes Green Bonds Claims, Existing Equity Interests, and other
 Claims or Interests.

         8.     “Ad Hoc Group Advisors” means Davis Polk & Wardwell LLP and
 McGuireWoods LLP, as co-counsel, Evercore Inc., as financial advisor, and all other special or
 local counsel, consultants or advisors providing advice to the Ad Hoc Group , in connection with
 the Restructuring.

        9.    “Adequate Protection Claims” means, collectively, the NMTC Participant
 Adequate Protection Claims and the Senior Secured Credit Facility Lender Adequate Protection
 Claims.

         10.      “Administrative Expense Claim” means a Claim for costs and expenses of
 administration of the Debtors’ Estates pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2)
 of the Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred on or
 after the Petition Date and through the Effective Date of preserving the Estates and operating the
 Debtors’ businesses; (b) Allowed Professional Fee Claims; (c) all Allowed requests for
 compensation or expense reimbursement for making a substantial contribution in the Chapter 11
 Cases pursuant to sections 503(b)(3), (4), and (5) of the Bankruptcy Code; and (e) the
 Restructuring Expenses; provided that, notwithstanding the foregoing, no Intercompany Claim
 shall constitute an Administrative Expense Claim unless otherwise agreed by the Debtors and the
 Required DIP Creditors.

        11.    “Administrative Expense Claims Bar Date” means the deadline for Filing requests
 for payment of Administrative Expense Claims (other than Professional Fee Claims), which shall
 be 30 days after the Effective Date.

       12.      “Affiliate” shall have the meaning set forth in section 101(2) of the Bankruptcy
 Code as if the referenced Entity was a debtor in a case under the Bankruptcy Code.

         13.     “Allowed” means, with respect to any Claim or Interest, except as otherwise
 provided herein, or any portion thereof: (a) that is evidenced by a Proof of Claim, timely filed by
 the applicable Claims Bar Date or that is not required to be evidenced by a timely Filed Proof of
 Claim under this Plan, the Bankruptcy Code, the Final DIP Order or any other Final Order; (b) that
 is scheduled by the Debtors as neither disputed, contingent, nor unliquidated, and for which no
 Proof of Claim has been timely filed; or (c) that is allowed (i) expressly pursuant to the Plan, (ii)
 in any stipulation that is approved by the Court, or (iii) by the Final DIP Order or any other Final
 Order (including any such Claim to which the Debtors had objected or which the Court had
 disallowed prior to such Final Order); provided that with respect to a Claim or Interest described
 in clauses (a) and (b) above, such Claim or Interest shall be considered Allowed only if and to the

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 extent that such Claim or Interest is not Disallowed and no objection to the allowance thereof has
 been or, in the Debtors’ reasonable good faith judgment, may be interposed by the Claims
 Objection Deadline or otherwise within the applicable period of time fixed by the Plan, the
 Bankruptcy Code, the Bankruptcy Rules, or the Court, or such an objection is so interposed and
 the Claim or Interest, as applicable, shall have been allowed by a Final Order; provided, further,
 that no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed
 Allowed unless and until such Entity pays in full the amount that it owes such Debtor; provided,
 further, that, except as otherwise specified in the Plan, the Final DIP Order or any other Final
 Order, the amount of an Allowed Claim shall not include interest or other charges on such Claim
 from and after the Petition Date. “Allow,” “Allowing,” and “Allowance” shall have correlative
 meanings.

        14.     “Allowed NMTC QLICI Loan Claims” means the Allowed amount of the NMTC
 QLICI Loan Claims in the aggregate principal amount equal to $42,030,000, plus any accrued and
 unpaid interest thereon and fees, expenses, costs, charges, indemnities, and other obligations
 incurred and payable under the Prepetition Senior Secured NMTC QLICI Loan Agreement.

        15.     “Allowed NMTC Source Loan Claims” means the Allowed amount of the NMTC
 Source Loan Claims in the aggregate principal amount equal to $30,402,403, plus any accrued and
 unpaid interest thereon and fees, expenses, costs, charges, indemnities, and other obligations
 incurred and payable under the Prepetition Senior Secured NMTC Source Loan Agreement.

        16.     “Amory Seller Note” means that certain Convertible Subordinated Promissory
 Note, dated as of August 4, 2010, by and among Enviva Pellets Amory, LLC and CKS Energy,
 Inc.

      17.     “Amory Seller Note Claims” means Claims arising under or in connection with the
 Amory Seller Note.

       18.      “Alternative Transaction” has the meaning ascribed to it in the Overbid
 Procedures.

        19.    “Assumption and Rejection Procedures Order” means the Order (I) Authorizing
 and Approving Procedures to Reject or Assume Executory Contracts and Unexpired Leases, (II)
 Approving the Form and Manner of the (A) Rejection Notice and (B) Assumption Notice, and (III)
 Granting Related Relief [Docket No. 815].

        20.     “Avoidance Actions” means any and all actual or potential avoidance, recovery,
 subordination, or other similar Claims, Causes of Action, or remedies that may be brought by or
 on behalf of the Debtors or their Estates or other authorized parties in interest under the Bankruptcy
 Code or applicable non-bankruptcy law, including Claims, Causes of Action, or remedies arising
 under chapter 5 of the Bankruptcy Code, including sections 544, 545, 547 through 553, and 724(a)
 of the Bankruptcy Code, or under similar or related local, state, federal, or foreign statutes or
 common law, including fraudulent transfer and preference laws.

         21.    “Ballots” means the ballots distributed to certain Holders of Impaired Claims
 entitled to vote on the Plan upon which such Holders shall, among other things, indicate their



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 acceptance or rejection of the Plan in accordance with the Plan and the procedures governing the
 solicitation process.

         22.    “Bankruptcy Code” means title 11 of the United States Code, as amended and in
 effect during the pendency of the Chapter 11 Cases.

        23.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
 applicable to the Chapter 11 Cases, promulgated under section 2075 of the Judicial Code and the
 general, local, and chambers rules of the Court other than the Local Rules.

        24.    “Bar Date Order” means the order entered by the Court, among other things, setting
 the General Bar Date and the Governmental Bar Date [Docket No. 321].

       25.    “Bond General Unsecured Claim” means any 2026 Notes Claim, Bond Green
 Bonds Claim, or Epes Green Bonds Claim.

       26.     “Bond General Unsecured Claims Equity Pool” means 95% of the Reorganized
 Enviva Inc. Equity Pool, which shall be subject to dilution on account of the MIP Equity, the DIP
 Tranche A and Rights Offering Equity Pool, and the New Warrants Equity.

        27.    “Bond Green Bondholders” means the Holders of the Bond Green Bonds.

         28.   “Bond Green Bonds” means the Exempt Facilities Revenue Bonds, (Enviva Inc.),
 Series 2022 (Green Bonds) issued under the Bond Green Bonds Indenture.

         29.   “Bond Green Bonds 9019 Order” means the Order (I) Approving the Bond Green
 Bonds Settlement Under Federal Rule of Bankruptcy Procedure 9019 and (II) Granting Related
 Relief [Docket No. 476].

         30.     “Bond Green Bonds Cash Paydown” means the monies distributed or to be
 distributed by the Bond Green Bonds Indenture Trustee to the Bond Green Bondholders pursuant
 to the Bond Green Bonds 9019 Order.

        31.    “Bond Green Bonds Claims” means Claims against the Debtors arising under or
 in connection with the Bond Green Bonds, including approximately $100,000,000 in aggregate
 principal amount, plus accrued and unpaid interest, fees, and other expenses arising under and
 payable pursuant to the Bond Green Bonds Indenture.

          32.     “Bond Green Bonds Guarantors” means the “Guarantors” as such term is defined
 in that certain Loan and Guaranty Agreement, dated as of November 1, 2022, between Bond Green
 Bonds Issuer and Enviva Inc. and certain subsidiaries thereof, as may be amended, restated,
 modified, supplemented, or replaced from time to time in accordance with the terms thereof .

        33.    “Bond Green Bonds Indenture” means that certain Indenture of Trust, dated as of
 November 1, 2022, between the Bond Green Bonds Issuer and the Bond Green Bonds Indenture
 Trustee, as may be amended, restated, modified, supplemented, or replaced from time to time in
 accordance with the terms thereof.



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        34.   “Bond Green Bonds Indenture Trustee” means Wilmington Trust, N.A., as trustee
 under the Bond Green Bonds Indenture, and any successors in such capacity.

        35.     “Bond Green Bonds Issuer” means the Mississippi Business Finance Corporation.

        36.    “Bond Green Bonds Restructuring Support Agreement” means that certain
 Restructuring Support Agreement, dated March 12, 2024, by and among the Debtors and the Bond
 Green Bonds Restructuring Support Parties, as may be amended, restated, modified,
 supplemented, or replaced from time to time in accordance with the terms thereof.

        37.    “Bond Green Bonds Restructuring Support Parties” means, collectively,
 the Consenting Bond Green Bondholders and the Bond Green Bonds Indenture Trustee.

        38.     “Business Day” means any day other than a Saturday, Sunday, “legal holiday” (as
 defined in Bankruptcy Rule 9006(a)), or other calendar day on which banks are authorized or
 required to be closed in New York, New York.

        39.     “Cash” means the legal tender of the United States of America or the equivalent
 thereof.

         40.     “Cause of Action” means any action, claim, counterclaim, cross-claim, cause of
 action, controversy, third-party claim, proceeding, dispute, demand, right, action, Lien, indemnity,
 contribution, guaranty, trespass, suit, obligation, liability, loss, debt, fee or expense, damage,
 interest, judgment, account, defense, offset, reckoning, remedy, power, privilege, license, and
 franchise of any kind or character whatsoever, whether known or unknown, foreseen or
 unforeseen, existing or hereafter arising, contingent or non -contingent, matured or unmatured,
 suspected or unsuspected, liquidated or unliquidated, Disputed or undisputed, Secured or
 Unsecured, asserted or assertable directly or derivatively, whether arising before, on, or after the
 Petition Date, in contract, in tort, in law, or in equity or pursuant to any other theory of law. For
 the avoidance of doubt, a “Cause of Action” includes: (a) any right of setoff, counterclaim, or
 recoupment and any claim for tort, breach of contract or for breach of duties imposed by law or in
 equity; (b) the right to object to or otherwise contest, recharacterize, reclassify, subordinate, or
 disallow Claims or Interests; (c) any Claim or defense pursuant to section 362 or chapter 5 of the
 Bankruptcy Code (including Avoidance Actions); (d) any claim or defense including fraud,
 mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code;
 and (e) any state or foreign law fraudulent transfer or similar avoidance claim.

        41.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
 case pending for that Debtor under chapter 11 of the Bankruptcy Code in the Court and (b) when
 used with reference to all of the Debtors, the jointly administered chapter 11 cases pending for the
 Debtors in the Court.

         42.   “Claim” shall have the meaning set forth in section 101(5) of the Bankruptcy Code,
 against any Debtor.

         43.    “Claims Objection Deadline” means the deadline for objecting to a Claim (other
 than Administrative Expense Claims) against a Debtor, which shall be on the date that is the later
 of (a) 180 days after the Effective Date and (b) such other period of limitation as may be fixed by


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 the Debtors or the Reorganized Debtors, as applicable, or by an order of the Court for objecting to
 such Claims.

        44.   “Claims Register” means the official register of Claims against the Debtors
 maintained by the Noticing and Claims Agent.

         45.     “Class” means a category of Claims against or Interests in the Debtors as set forth
 in Article III hereof pursuant to sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.

        46.     “Committee” means the official committee of unsecured creditors of the Debtors,
 appointed by the U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy
 Code on March 25, 2024 [Docket No. 172] and reconstituted on May 23, 2024 [Docket No. 603],
 including as such membership may be further reconstituted from time to time.

        47.     “Company Assets” has the meaning ascribed to it in the Overbid Procedures.

          48.    “Confirmation” means the entry of the Confirmation Order on the docket of
 the Chapter 11 Cases, subject to all conditions specified in Article IX.A hereof having been
 (a) satisfied or (b) waived pursuant to Article IX.B hereof.

        49.    “Confirmation Date” means the date upon which the Court enters the Confirmation
 Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and
 9021.

        50.    “Confirmation Hearing” means the hearing held by the Court to consider
 Confirmation of the Plan pursuant to section 1128(a) of the Bankruptcy Code, as such hearing may
 be adjourned or continued from time to time.

         51.   “Confirmation Order” means the order of the Court confirming the Plan pursuant
 to section 1129 of the Bankruptcy Code, which order shall be in form and substance consistent
 with the terms and conditions of the Restructuring Support Agreement and DIP Facility
 Agreement, including the consent rights contained therein.

       52.   “Consenting Bond Green Bondholders” has the meaning ascribed to it in the Bond
 Green Bonds Restructuring Support Agreement.

        53.     “Consummation” means the occurrence of the Effective Date.

         54.    “Court” means the United States Bankruptcy Court for the Eastern District of
 Virginia, Alexandria Division, having jurisdiction over the Chapter 11 Cases, and, to the extent of
 the withdrawal of any reference under 28 U.S.C. § 157 and/or the General Order of the District
 Court pursuant to section 151 of title 28 of the United States Code, the United States District Court
 for the Eastern District of Virginia.

        55.     “Cure Amount” shall have the meaning set forth in Article V.D hereof.

       56.    “Cure Claim” means a monetary Claim based upon a Debtor’s defaults under an
 Executory Contract or Unexpired Lease at the time such contract or lease is assumed or assumed


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 and assigned by such Debtor or Reorganized Debtor, as applicable pursuant to section 365 of the
 Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2)
 of the Bankruptcy Code.

         57.    “Cure Notice” means a notice of a proposed amount of Cash to be paid on account
 of a Cure Claim in connection with an Executory Contract or Unexpired Lease to be assumed, or
 assumed and assigned, under the Plan pursuant to section 365 of the Bankruptcy Code, which
 notice shall include the amount of Cure Claim (if any) to be paid in connection therewith.

        58.     “D&O Liability Insurance Policies” means all unexpired directors’, managers’,
 and officers’ liability insurance policies (including any “tail policy”) maintained by any of the
 Debtors with respect to directors, managers, officers, and employees of any of the Debtors, and all
 agreements, documents, or instruments related thereto.

       59.      “Debtors” means, collectively, the following: Enviva Aircraft Holdings Corp.;
 Enviva Development Finance Company, LLC; Enviva Energy Services, LLC; Enviva GP, LLC;
 Enviva Holdings GP, LLC; Enviva Holdings, LP; Enviva Inc.; Enviva, LP; Enviva Management
 Company, LLC; Enviva MLP International Holdings, LLC; Enviva Partners Finance Corp.;
 Enviva Pellets Bond, LLC; Enviva Pellets Epes Finance Company, LLC; Enviva Pellets Epes
 Holdings, LLC; Enviva Pellets Epes, LLC; Enviva Pellets Greenwood, LLC; Enviva Pellets, LLC;
 Enviva Pellets Lucedale, LLC; Enviva Pellets Waycross, LLC; Enviva Port of Pascagoula, LLC;
 and Enviva Shipping Holdings, LLC.

       60.    “Definitive Documentation” has the meaning ascribed to it in the Restructuring
 Support Agreement.

         61.    “DIP Agents” means, collectively, Acquiom Agency Services LLC, as co-
 administrative agent and collateral agent, and Seaport Loan Products LLC, as co -administrative
 agent, under the DIP Facility Agreement, and any successors in such capacity.

       62.     “DIP Creditor” means each creditor party from time to time under the DIP Facility
 Agreement in its capacity as such.

        63.    “DIP Facility” means the debtor-in-possession financing facility provided by
 the DIP Creditors on the terms and conditions set forth in the DIP Facility Agreement and the DIP
 Orders.

        64.     “DIP Facility Agreement” means that certain Debtor-in-Possession Credit and
 Note Purchase Agreement, dated as of March 15, 2024, between Enviva Inc., as borrower, the
 other Debtors, as guarantors, the DIP Agents, the DIP Creditors, and the other secured parties
 thereunder, as may be amended, restated, modified, supplemented, or replaced from time to time
 in accordance with the terms thereof.

        65.    “DIP Facility Claims” means, collectively, the DIP Tranche A Claims and DIP
 Tranche B Claims, plus any and all other Claims of the DIP Creditors for, without limitation, all
 principal amounts outstanding, interest, reasonable and documented fees, indemnification,
 premiums, discounts, penalties, expenses and costs, and other charges of the DIP Creditors, in each
 case payable under and in accordance with the DIP Facility Documents or the DIP Orders.


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        66.    “DIP Facility Documents” means the DIP Facility Agreement and all other
 agreements, documents, instruments, and amendments related thereto, including the DIP Orders
 and any guaranty agreements, pledge and collateral agreements, UCC financing statements, or
 other perfection documents, subordination agreements, fee letters, and any other security
 agreements.

        67.    “DIP Obligations” has the meaning ascribed to it in the DIP Orders.

        68.    “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP Order.

       69.    “DIP Tranche A and Rights Offering Equity Pool” means the total number of
 Reorganized Enviva Inc. Interests to be issued on the Effective Date on account of the DIP
 Tranche A Equity Allocation, the Rights Offering, and the Rights Offering Backstop Commitment
 Premium, which shall be subject to dilution on account of the MIP Equity.

       70.    “DIP Tranche A Claims” means Claims against the Debtors on account of the DIP
 Tranche A Loans and DIP Tranche A Notes arising under or in connection with the DIP Facility.

         71.     “DIP Tranche A Equity Allocation” means the number of Reorganized Enviva Inc.
 Interests to be issued pursuant to the DIP Tranche A Equity Participation on the Effective Date,
 which shall be subject to dilution on account of the MIP Equity.

        72.     “DIP Tranche A Equity Participation Agreement” means a subscription
 agreement in form and substance reasonably acceptable to the Majority Consenting 2026
 Noteholders executed by a Holder of an Allowed DIP Tranche A Claim pursuant to which such
 Holder elects to participate in the DIP Tranche A Equity Participation.

         73.    “DIP Tranche A Equity Participation” means the participation interest granted to
 Holders of Allowed DIP Tranche A Claims that elect pursuant to a DIP Tranche A Equity
 Participation Agreement or the Rights Offering Backstop Agreement, on or before the DIP
 Tranche A Equity Participation Election Time, to subscribe for the purchase of Reorganized
 Enviva Inc. Interests on the Effective Date, up to the principal amount of any Obligations then
 owing in respect of such Allowed DIP Tranche A Claims, at a price equivalent to the price
 established pursuant to the Rights Offering, in accordance with the Rights Offering Procedures,
 and subject to the same dilution terms as the Rights Offering.

        74.    “DIP Tranche A Equity Participation Election Time” means the date and time by
 which the Holders of DIP Tranche A Claims must elect whether to participate in the DIP Tranche
 A Equity Participation, which shall be the date and time of the commencement of the hearing to
 consider approval of the Disclosure Statement.

        75.    “DIP Tranche A Loans” means the “Tranche A Loans” as defined in, and issued
 under, the DIP Facility Agreement.

        76.    “DIP Tranche A Notes” means the “Tranche A Notes” as defined in, and issued
 under, the DIP Facility Agreement.




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       77.    “DIP Tranche B Claims” means Claims against the Debtors on account of the DIP
 Tranche B Loans and DIP Tranche B Notes arising under or in connection with the DIP Facility.

        78.    “DIP Tranche B Loans” means the “Tranche B Loans” as defined in, and issued
 under, the DIP Facility Agreement.

        79.    “DIP Tranche B Notes” means the “Tranche B Notes” as defined in, and issued
 under, the DIP Facility Agreement.

          80.    “Disallowed” means, with respect to any Claim or Interest, a portion thereof that
 (a) is disallowed (i) pursuant to the Plan, (ii) in any stipulation that is approved by the Court, or
 (iii) by Final Order (including any such Claim to which the Debtors had objected or which the
 Court had disallowed prior to such Final Order), (b) is scheduled by the Debtors at zero dollars
 ($0) or as contingent, disputed, or unliquidated and as to which a Claims Bar Date has been
 established but no Proof of Claim was timely filed or deemed timely filed pursuant to either the
 Bankruptcy Code or any Final Order of the Court, including the order approving the Claims Bar
 Date, or otherwise deemed timely filed under applicable law, or (c) is not scheduled by the Debtors
 and as to which a Claims Bar Date has been established but no Proof of Claim has been timely
 filed or deemed timely filed pursuant to either the Bankruptcy Code or any Final Order of the
 Court or otherwise deemed timely filed under applicable law.

         81.     “Disclosure Statement” means the Disclosure Statement for the Joint Chapter 11
 Plan of Reorganization of Enviva Inc. and Its Debtor Affiliates, dated as of August 30, 2024, as
 may be amended, supplemented, or modified from time to time, including all exhibits and
 schedules thereto and references therein that relate to the Plan, that is prepared and distributed in
 accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other applicable law, rule,
 or regulation, and which shall be in form and substance consistent with the terms and conditions
 of the Restructuring Support Agreement and DIP Facility Agreement, including the consent rights
 contained therein.

        82.    “Disclosure Statement Order” means the order entered by the Court approving,
 among other things, the Disclosure Statement, the solicitation procedures with respect to the Plan,
 the Rights Offering Procedures, and the Overbid Procedures.

         83.     “Disputed” means, with respect to any Claim or Interest (or a portion thereof), such
 Claim or Interest (a) that is not yet Allowed or Disallowed by the Plan, the Bankruptcy Code, or a
 Final Order, as applicable; (b) as to which a dispute is being adjudicated by a court of competent
 jurisdiction in accordance with non-bankruptcy law; (c) which is the subject of an objection or
 request for estimation, whether filed before or after the Effective Date that has not been determined
 by a Final Order or otherwise withdrawn; or (d) that is or is hereafter listed in the Schedules as
 contingent, unliquidated, or disputed and for which a Proof of Claim is or has been timely Filed in
 accordance with the Bar Date Order; provided that no Senior Secured Credit Facility Claim or
 Bond General Unsecured Claim shall be Disputed and all such Claims shall be conclusively
 allowed as set forth in Article III hereof .




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       84.    “Disputed Claims Reserve” means a reserve to be funded with the Disputed Claims
 Reserve Amount on or before the Effective Date for the benefit of Holders of Disputed Claims, in
 accordance with Article VII.E.

         85.    “Disputed Claims Reserve Amount” means (a) Cash in an amount equivalent to
 the recovery to which Holders of Disputed Claims would have been entitled under this Plan if such
 Claims had been Allowed as of the Effective Date, (b) such lesser amount as determined by the
 Court, or (c) such lesser amount as agreed to between the Reorganized Debtors or the Plan
 Administrator and the Holders of such Disputed Claims, as applicable.

         86.    “Distribution Record Date” means the record date for purposes of making
 distributions under the Plan on account of Allowed Claims, which date shall be the Confirmation
 Date or such other date as designated in an order of the Court.

        87.     “DTC” means The Depository Trust Company, a limited-purpose trust company
 and securities depository organized under the laws of the State of New York.

        88.     “Effective Date” means the date selected by the Debtors on which: (a) no stay of
 the Confirmation Order is in effect; (b) all conditions precedent specified in Article IX.A have
 been satisfied or waived (in accordance with Article IX.B); and (c) the Plan becomes effective;
 provided, however, that if such date does not occur on a Business Day, the Effective Date shall be
 deemed to occur on the first Business Day after such date.

        89.     “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

        90.      “Epes Green Bonds” means the Exempt Facilities Revenue Bonds (Enviva Inc.
 Project), Series 2022 (Green Bonds) issued under the Epes Green Bonds Indenture.

         91.   “Epes Green Bonds 9019 Order” means the Order (I) Approving the Epes Green
 Bonds Settlement Under Federal Rule of Bankruptcy Procedure 9019 and (II) Granting Related
 Relief [Docket No. 475].

         92.    “Epes Green Bonds Cash Paydown” means the monies distributed or to be
 distributed by the Epes Green Bonds Indenture Trustee to the Holders of Epes Green Bonds
 pursuant to the Epes Green Bonds 9019 Order.

       93.      “Epes Green Bonds Claims” means Claims against the Debtors arising under or in
 connection with the Epes Green Bonds, including approximately $250,000,000 in principal
 amount, plus accrued and unpaid interest, fees, and other expenses arising under and payable
 pursuant to the Epes Green Bonds Indenture.

          94.     “Epes Green Bonds Guarantors” means the “Guarantors” as such term is defined
 in that certain Loan and Guaranty Agreement, dated as of July 1, 2022, between Epes Green Bonds
 Issuer and Enviva Inc. and certain subsidiaries thereof, as may be amended, restated, modified,
 supplemented, or replaced from time to time in accordance with the terms thereof.

         95.    “Epes Green Bonds Indenture” means that certain Indenture of Trust, dated as of
 July 1, 2022, between the Epes Green Bonds Issuer and the Epes Green Bonds Indenture Trustee,


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 as may be amended, restated, modified, supplemented, or replaced from time to time in accordance
 with the terms thereof.

        96.    “Epes Green Bonds Indenture Trustee” means Wilmington Trust, N.A., as trustee
 under the Epes Green Bonds Indenture, and any successors in such capacity.

       97.      “Epes Green Bonds Issuer” means Industrial Development Authority of Sumter
 County.

       98.    “Estate” means, as to each Debtor, the estate created for such Debtor in its
 Chapter 11 Case pursuant to section 541 of the Bankruptcy Code upon the commencement of such
 Debtor’s Chapter 11 Case.

      99.       “EWH” means Enviva Wilmington Holdings, LLC, a Delaware limited liability
 company.

         100. “Exchange Act” means the Securities Exchange Act of 1934, as amended, and all
 rules and regulations promulgated thereunder.

         101. “Exculpated Party” means each of the following solely in its capacity as such:
 (a) the Debtors; (b) the Reorganized Debtors; (c) the Debtors’ Professionals; (d) the Committee
 and the current members of the Committee; (e) the Committee’s Professionals; (f) the Released
 Parties; (g) the Restructuring Support Parties; (h) the DIP Creditors and DIP Agent; and (i) each
 Related Party of each of the foregoing parties under clauses (a) through (f).

         102. “Executory Contract” means a contract to which one or more of the Debtors is a
 party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

         103. “Existing Equity Interest” means all Interests in Enviva Inc. that existed
 immediately prior to the Effective Date, other than, for the avoidance of doubt, any Interests
 consisting of rights to acquire Reorganized Enviva Inc. Interests through this Plan, the Rights
 Offering, the Rights Offering Backstop Agreement, the MIP Documents, the DIP Facility or
 otherwise.

        104. “Existing Equity Interest Equity Pool” means 5% of the Reorganized Enviva Inc.
 Equity Pool, which shall be subject to dilution on account of the MIP Equity, the DIP Tranche A
 and Rights Offering Equity Pool, and the New Warrants Equity.

         105. “Exit Facilities” means any new credit facility to be entered into on the Effective
 Date pursuant to the Exit Facility Documents, which may include a priority revolving credit
 facility, up to an aggregate principal amount of $1,000,000,000, as set forth in and consistent with
 and subject to the terms and conditions of the Exit Facility Credit Agreement(s).

        106. “Exit Facility Agents” means collectively, Acquiom Agency Services LLC and
 Seaport Loan Products LLC, as administrative agent and collateral agent under the Exit Facility,
 or any successor thereto, solely in its/their capacity/capacities as such.




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         107. “Exit Facility Commitment Letter” means that certain Exit Facility Commitment
 Letter, dated as of August 30, 2024, as amended, supplemented, or otherwise modified from time
 to time pursuant to the terms thereof, which shall be in form and substance consistent with the
 terms and conditions of the Restructuring Support Agreement, including the consent rights
 contained therein.

         108. “Exit Facility Credit Agreement(s)” means any credit agreement(s) in respect of
 the Exit Facility to be entered into by Reorganized Enviva Inc., as administrative borrower,
 Enviva, LP, as subsidiary borrower, the Exit Facility Agents, the Exit Facility Lenders, and the
 other secured parties thereunder on the Effective Date. The Exit Facility Credit Agreement(s) in
 substantially final form, in form and substance consistent with the terms and conditions of the
 Restructuring Support Agreement and DIP Facility Agreement, including the consent rights
 contained therein, will be included in the Plan Supplement.

        109. “Exit Facility Documents” means the Exit Facility Credit Agreement(s) and all
 other agreements, documents, instruments, and amendments related thereto, including any
 guaranty agreements, pledge and collateral agreements, UCC financing statements, or other
 perfection documents, subordination agreements, fee letters, and any other security agreements.
 The Exit Facility Documents shall be in form and substance consistent with the terms and
 conditions of the Restructuring Support Agreement, including the consent rights contained therein.

       110.     “Exit Facility Lender” means each lender party to an Exit Facility Credit
 Agreement.

         111. “Face Amount” means, with respect to a Disputed Claim: (a) the full stated amount
 claimed by the Holder of such Claim in a Proof of Claim Filed by the General Bar Date (if the
 Proof of Claim specifies a liquidated amount); (b) the full amount of such Claim listed on the
 Debtors’ Schedules if the applicable Proof of Claim does not specify a liquidated amount; or (c) the
 amount of such Claim estimated by the Court for purposes of allowance pursuant to section 502(c)
 of the Bankruptcy Code; provided that, with respect to such a Claim, the amount estimated by the
 Court for purposes of allowance pursuant to section 502(c) shall control notwithstanding that such
 Holder has Filed a Proof of Claim or the amount of such Claim is listed on the Debtors’ Schedules.

         112. “Federal Judgment Rate” means the federal judgment rate in effect as of the
 Petition Date.

       113. “FiberCo Notes” means, collectively, the promissory notes originally issued by
 Enviva FiberCo, LLC to John Deere and Merchant Bank, and the promissory notes issued by
 Enviva Pellets, LLC to John Deere, Northland Capital, and JP Morgan Chase Bank, N.A.

       114. “FiberCo Notes Claims” means Claims arising under or in connection with the
 FiberCo Notes.

        115. “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with
 the Court or, with respect to the filing of a Proof of Claim, the Noticing and Claims Agent or the
 Court through the PACER or CM/ECF website.




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        116. “Final DIP Order” means the Final Order (I) Authorizing the Debtors to
 (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and
 Providing Superpriority Administrative Expense Claims, (III) Granting Adequate Protection to the
 Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief
 [Docket No. 457], as may be amended from time to time.

         117. “Final Order” means (a) an order or judgment of the Court, as entered on the docket
 in any Chapter 11 Case (or any related adversary proceeding or contested matter) or the docket of
 any other court of competent jurisdiction, or (b) an order or judgment of any other cou rt having
 jurisdiction over any appeal from (or petition seeking certiorari or other review of) any order or
 judgment entered by the Court (or any other court of competent jurisdiction, including in an appeal
 taken) in the Chapter 11 Cases (or in any related adversary proceeding or contested matter), in
 each case that has not been reversed, stayed, modified, or amended, and as to which the time to
 appeal, seek certiorari or move for a new trial, reargument, or rehearing has expired according to
 applicable law and no appeal or petition for certiorari or other proceedings for a new trial,
 reargument, or rehearing has been timely taken, or as to which any appeal th at has been taken or
 any petition for certiorari that has been or may be timely Filed has been withdrawn or resolved by
 the highest court to which the order or judgment was appealed or from which certiorari was sought
 or the new trial, reargument, or rehearing shall have been denied, resulted in no modification of
 such order, or has otherwise been dismissed with prejudice; provided, however, that the possibility
 a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
 Bankruptcy Rules or the Local Rules, may be filed relating to such order shall not prevent such
 order from being a Final Order. For the avoidance of doubt, for purposes of the Plan, the Final
 DIP Order shall be treated as a Final Order notwithstanding any pending appeal.

        118. “General Bar Date” means June 14, 2024, at 5:00 p.m. (prevailing Eastern Time),
 the date established pursuant to the Bar Date Order by which Proofs of Claim (other than for
 Administrative Expense Claims, Claims held by Governmental Units, and certain other Claims),
 must be Filed.

        119. “Governmental Bar Date” means September 9, 2024, at 5:00 p.m. (prevailing
 Eastern Time), the date established pursuant to the Bar Date Order by which Proofs of Claim of
 Governmental Units must be Filed.

       120. “Governmental Unit” shall have the meaning set forth in section 101(27) of the
 Bankruptcy Code.

        121. “GUC Cash Pool Allocation” means, with respect to each Debtor, the percentage
 ascribed to such Debtor as set forth on Exhibit A hereto.

        122. “Holder” means a Person or Entity holding a Claim against or Interest in a Debtor,
 as applicable.

         123. “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims
 or Interests that is not Unimpaired.

        124.    “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.



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        125. “Intercompany Claim” means any Claim held by one Debtor against another
 Debtor, including Proof of Claim No. 747.

        126.    “Intercompany Interest” means an Interest in one Debtor held by another Debtor.

          127. “Interest” means any equity security (as defined in section 101(16) of the
 Bankruptcy Code) in a person (including any Debtor or Reorganized Debtor), including any
 ordinary share, unit, common stock, preferred stock, membership interest, limited liability
 company interest, equity ownership, profit interest, partnership interest, or other instrument,
 evidencing any fixed or contingent ownership interest, whether or not transferable, including any
 option, warrant, stock appreciation rights, phantom stock rights, restricted stock units, redemption
 rights, repurchase rights, other right, contractual or otherwise, to acquire any such interest that
 existed immediately before the Effective Date, convertible exercisable or exchangeable securities
 or other agreements, arrangements, or commitments of any character relating to, or whose value
 is related to, any such interest or other ownership interest in any Debtor.

         128. “Interim Compensation Order” means the Order (I) Establishing Procedures for
 Interim Compensation and Reimbursement of Expenses for Retained Professionals and
 (II) Granting Related Relief [Docket No. 317].

        129. “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to
 (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and
 Providing Superpriority Administrative Expense Claims, (III) Granting Adequate Protection to the
 Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief
 [Docket No. 103], as may be amended from time to time.

        130.    “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

        131.    “IRS” means the United States Internal Revenue Service.

        132.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

        133.    “Lien” shall have the meaning set forth in section 101(37) of the Bankruptcy Code.

        134. “Local Rules” means the Local Rules of the United States Bankruptcy Court for
 the Eastern District of Virginia.

        135. “Majority Consenting 2026 Noteholders” has the meaning set forth in the
 Restructuring Support Agreement.

         136. “Management Incentive Plan” means that certain management incentive plan of
 the Reorganized Debtors implemented on the Effective Date and governed by the MIP Documents,
 pursuant to which the MIP Equity shall be issued on and after the Effective Date and/or reserved
 for grants made from time to time to directors, officers, or other management employees of the
 Reorganized Debtors, in a form, amounts, and at times to be determined by the New Board in
 accordance with this Plan.

        137.    “Minority Lender Group” has the meaning set forth in the Final DIP Order.


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         138. “Minority Lender Group Fee and Expense Reimbursement” has the meaning set
 forth in the Final DIP Order.

         139.   “MIP Documents” means any documents governing the Management Incentive
 Plan.

         140. “MIP Equity” means (a) 3.5% of the Reorganized Enviva Inc. Interests, in the form
 of restricted stock units, on a fully diluted basis, to be issued on the Effective Date, and (b) 6.5%
 of Reorganized Enviva Inc. Interests, on a fully diluted basis, to be issued at the discretion of the
 New Board on or after the Effective Date, each in accordance with the Management Incentive
 Plan.

          141. “New Board” means (a) with respect to Reorganized Enviva Inc., the initial board
 of directors of Reorganized Enviva Inc., and (b) with respect to each other Reorganized Debtor,
 the initial board of directors, board of managers, or other governing body of such Reorganized
 Debtor, in each case as determined pursuant to Article IV.L of this Plan and the Plan Supplement.

        142. “New Organizational Documents” means the Stockholders Agreement and all
 other new or amended organizational and governance documents for the Reorganized Debtors that
 will become effective on the Effective Date, including the form of the certificates or articles of
 incorporation, charters, bylaws, and limited liability company agreements, and/or, if applicable,
 any registration rights agreements or such other applicable formation documents of each of the
 Reorganized Debtors and term sheets related thereto. Substantially final forms of the New
 Organizational Documents will be included in the Plan Supplement. The New Organizational
 Documents shall be in form and substance consistent with the terms and conditions of the
 Restructuring Support Agreement, including the consent rights contained therein.

        143. “New Securities” means all Reorganized Enviva Inc. Interests (including the DIP
 Tranche A Equity Allocation, the Rights Offering Shares (including any Unsubscribed Shares),
 the Reorganized Enviva Inc. Interests issued on account of the Rights Offering Backstop
 Commitment Premium, and the MIP Equity) and the New Warrants (and the New Warrants Equity
 issuable upon exercise thereof).

        144. “New Warrants” means warrants governed by the New Warrants Agreement,
 which shall be issued by Reorganized Enviva Inc. on the Effective Date and shall entitle holders
 thereof to purchase, in the aggregate, 5.0% of Reorganized Enviva Inc. Interests issued and
 outstanding on the Effective Date (which shall be subject to dilution on account of the MIP Equity
 and the DIP Tranche A and Rights Offering Equity Pool) for a period of five (5) years from the
 Effective Date.

        145. “New Warrants Agreement” means the document governing the terms of the New
 Warrants, a substantially final form of which will be included in the Plan Supplement. The New
 Warrants Agreement shall be in form and substance consistent with the terms and conditions of
 the Restructuring Support Agreement, including the consent rights contained therein.

        146. “New Warrants Equity” means the Reorganized Enviva Inc. Interests issuable
 upon the exercise of the New Warrants.



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      147. “NMTC Claims” means, collectively, the NMTC QLICI Loan Claims and the
 NMTC Source Loan Claims.

        148.    “NMTC Investment Fund” means COCRF Investor 232, LLC.

       149. “NMTC Participants” means, collectively, (a) the Prepetition NMTC Source Loan
 Lender, (b) the Prepetition NMTC QLICI Loan Lenders, (c)(i) National Impact Fund, LLC as the
 managing member of NIF SUB IV, LLC, (ii) UB Community Development, LLC as the managing
 member of UBCD Sub-CDE Midway, LLC, (iii) PB Community Impact Fund, LLC as the
 managing member of PBCIF Sub-CDE4, LLC and (iv) MuniStrategies, LLC as the managing
 member of MuniStrategies Sub-CDE#41, LLC, (d) the NMTC Investment Fund, and (e) Capital
 One, N.A. as the 100% interest owner of the NMTC Investment Fund.

        150. “NMTC Participant Adequate Protection Claims” means all adequate protection
 Claims arising in favor of the NMTC Participants under applicable law or pursuant to the Final
 DIP Order.

        151. “NMTC QLICI Loan Claims” means Claims arising under or in connection with
 the Prepetition Senior Secured NMTC QLICI Loan Agreement.

        152. “NMTC Source Loan Claims” means Claims arising under or in connection with
 the Prepetition Senior Secured NMTC Source Loan Agreement.

         153. “Non-Bond General Unsecured Claim” means, at each applicable Debtor, any
 Unsecured Claim (including, for the avoidance of doubt, any Claim arising from the rejection of
 an Executory Contract or Unexpired Lease with a Debtor) that is not otherwise paid in full or
 otherwise satisfied during the Chapter 11 Cases pursuant to an order of the Court, other than an
 Unsecured Claim that is an Administrative Expense Claim, an Intercompany Claim , an Other
 Priority Claim, a Priority Tax Claim, a Professional Fee Claim, or a Bond General Unsecured
 Claim.

       154. “Noticing and Claims Agent” means Verita Global (f/k/a Kurtzman Carson
 Consultants LLC), as noticing, claims, and solicitation agent retained by the Debtors in the Chapter
 11 Cases pursuant to the Order Authorizing the Retention and Appointment of Kurzman Carson
 Consultants LLC as Claims and Noticing Agent entered by the Court on March 14, 2024 [Docket
 No. 87].

        155.    “Obligations” has the meaning ascribed to it in the DIP Facility Agreement.

        156. “Other Priority Claim” means any Claim against a Debtor other than an
 Administrative Expense Claim or a Priority Tax Claim entitled to priority in right of payment
 under section 507(a) of the Bankruptcy Code, to the extent such Claim has not already been paid
 during the Chapter 11 Cases.

         157. “Other Secured Claim” means any Secured Claim other than a DIP Tranche A
 Claim, a DIP Tranche B Claim, a Senior Secured Credit Facility Claim, an NMTC Claim, or a
 Priority Tax Claim.



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        158. “Overbid Procedures” means the procedures for the implementation of the Overbid
 Process, as approved by the Court pursuant to the Disclosure Statement Order and subject in all
 respects to the consent rights set forth in the Final DIP Order.

         159.   “Overbid Process” means the process described in Annex A to the Final DIP Order.

         160.   “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy
 Code.

        161. “Petition Date” means March 12, 2024, the date on which each Debtor Filed its
 voluntary petition for relief commencing the Chapter 11 Cases.

        162. “Plan” means this chapter 11 plan, as it may be altered, amended, modified, or
 supplemented from time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules,
 the Restructuring Support Agreement, and the terms hereof, including the Plan Supplement and
 all exhibits, supplements, appendices, and schedules to the Plan , which shall be in form and
 substance consistent with the terms and conditions of the Restructuring Support Agreement and
 the DIP Facility Agreement, including the consent rights con tained therein.

        163. “Plan Administrator” means, on the Effective Date, the Debtors or the Reorganized
 Debtors, as applicable, their respective agent(s), or any Entity or Entities designated by the
 Reorganized Debtors, in their discretion (or, if applicable, designated by the Debtors prior to the
 Effective Date, with the consent of the Majority Consenting 2026 Noteholders and Required
 Backstop Parties, and otherwise in the Debtors’ discretion), to make or facilitate distributions in
 accordance with the Plan.

         164. “Plan Supplement” means the compilation of documents and forms of documents,
 and all schedules, exhibits, attachments, agreements, and instruments referred to therein, ancillary
 or otherwise, including, among other things: (a) the Exit Facility Credit Agreement(s), (b) the New
 Organizational Documents, (c) the New Warrants Agreement, (d) the Stockholders Agreement,
 (e) the Schedule of Assumed Executory Contracts and Unexpired Leases, (f) the Schedule of
 Rejected Executory Contracts and Unexpired Leases, (g) the Schedule of Retained Causes of
 Action, (h) to the extent known and determined, the number and slate of directors or managers to
 be appointed to the New Board and any information to be disclosed in accordance with
 section 1129(a)(5) of the Bankruptcy Code, and (i) the Restructuring Transactions Exhibit, all of
 which shall be incorporated by reference into, and are an integral part of, the Plan, as all of the
 same may be amended, modified, replaced and/or supplemented from time to time, through and
 after the Confirmation Date up until the Effective Date, consistent with the Plan and the
 Restructuring Support Agreement, including any consent rights of the Restructuring Support
 Parties. The Plan Supplement shall be Filed with the Court on or before seven (7) days prior to
 the Voting Deadline.

       165. “Prepetition NMTC QLICI Loan Lenders” means (a) NIF SUB IV, LLC,
 (b) UBCD Sub-CDE Midway, LLC, (c) PBCIF Sub-CDE4, LLC, and (d) MuniStrategies Sub-
 CDE#41, LLC.

         166.   “Prepetition NMTC Source Loan Lender” means United Bank.



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         167. “Prepetition Senior Secured NMTC QLICI Loan Agreement” means that certain
 Loan Agreement, dated as of June 27, 2022, among Enviva Pellets Epes, LLC, the NMTC QLICI
 Lenders, and Enviva Inc., as may be amended, restated, modified, supplemented, or replaced from
 time to time in accordance with the terms thereof.

       168. “Prepetition Senior Secured NMTC Source Loan Agreement” means that certain
 Loan Agreement, dated as of June 27, 2022, among Enviva Pellets Epes Finance Company, LLC
 and the Prepetition NMTC Source Loan Lender, as may be amended, restated, modified,
 supplemented, or replaced from time to time in accordance with the terms thereof.

       169. “Priority Tax Claim” means any Claim entitled to priority, whether Secured or
 Unsecured, against a Debtor held by a Governmental Unit of the kind specified in sections 502(i)
 and 507(a)(8) of the Bankruptcy Code.

        170. “Pro Rata” means, unless indicated otherwise, the proportion that an Allowed
 Claim or an Allowed Interest bears to the aggregate amount of Allowed Claims, Allowed Interests,
 or other matter so referenced, as the context requires.

        171. “Professional” means, in such capacity, an Entity employed pursuant to a Final
 Order of the Court in accordance with sections 327 or 1103 of the Bankruptcy Code and to be
 compensated for services rendered in such capacity before or on the Effective Date, pursuant to
 sections 327, 328, 329, 330, or 331 of the Bankruptcy Code .

         172. “Professional Fee Claims” means all Claims for the compensation of Professionals
 for professional services rendered and the reimbursement of expenses incurred by such
 Professionals on or after the Petition Date through and including the Effective Date under sections
 327, 328, 329, 330, or 331 the Bankruptcy Code, to the extent such fees and expenses have not
 been paid pursuant to the Interim Compensation Order or any other order of the Court. To the
 extent the Court denies or reduces by a Final Order any amount of a Professional’s requested fees
 and expenses, then the amount by which such fees or expenses are reduced or denied shall reduce
 the applicable Allowed Professional Fee Claim.

        173. “Professional Fee Escrow Account” means an interest-bearing account funded by
 the Debtors on the Effective Date in an amount equal to the Professional Fee Reserve Amount,
 pursuant to Article II.B.

        174. “Professional Fee Reserve Amount” means the total amount of Professional Fee
 Claims estimated in accordance with Article II.B.3.

       175. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the
 Chapter 11 Cases.

        176.    “Qualified Bid” has the meaning set forth in the Overbid Procedures.

        177. “Quarterly Distribution Date” means the twentieth day of the month following the
 end of each calendar quarter after the Effective Date (including, for the avoidance of doubt, the
 calendar quarter in which the Effective Date occurs), or as soon as reasonably practicable
 thereafter.


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        178. “Reinstated” or “Reinstatement” means, with respect to Claims and Interests, the
 treatment provided for in section 1124 of the Bankruptcy Code.

         179. “Rejection Damages Bar Date” means the deadline for Filing a Proof of Claim for
 Claims for damages arising from the Debtors’ rejection of an Executory Contract or Unexpired
 Lease, which is: (a) with respect to Claims for damages arising from the Debtors’ rejection of an
 Executory Contract or Unexpired Lease pursuant to this Plan (including, without limitation, any
 Executory Contract or Unexpired Lease listed on the Schedule of Rejected Executory Contracts
 and Unexpired Leases), 30 days after service of a notice of the Effective Date; and (b) with respect
 to all other Claims for damages arising from the Debtors’ rejection of an Executory Contract or
 Unexpired Lease, the later of (i) the General Bar Date or the Governmental Bar Date, as applicable,
 and (ii) 5:00 p.m. (prevailing Eastern Time) on the date that is 30 days following service of an
 order approving the rejection of such Executory Contract or Unexpired Lease of the Debtors.

         180. “Related Party” means, with respect to any Entity, in each case in its capacity as
 such with respect to such Entity, such Entity’s current and former Affiliates, and such Entity’s and
 its current and former Affiliates’ current and former directors, managers, officers, managed
 accounts and funds, predecessors, successors, and assigns, subsidiaries, and each of their
 respective current and former officers, directors, managers, principals, members, equity holders,
 employees, independent contractors, subcontractors, agents, advisory board members, financial
 advisors, partners (including both general and limited partners), attorneys, accountants, investment
 bankers, consultants, representatives, management companies, fund advisors, and other
 professionals, each solely in their capacity as such.

         181. [“Released Party” means each of the following solely in its capacity as such: (a) the
 Debtors and their Estates; (b) the Reorganized Debtors; (c) the DIP Agents; (d) the DIP Creditors;
 (e) the Restructuring Support Parties; (f) the Bond Green Bonds Restructuring Support Parties;
 (g) the Exit Facility Agent; (h) the Exit Facility Lenders; (i) the Rights Offering Backstop Parties;
 (j) the 2026 Notes Indenture Trustee; (k) the Epes Green Bonds Indenture Trustee; (l) each
 Releasing Party; and (m) each Related Party of each of the foregoing parties under clauses
 (a) through (l).]2

          182. [“Releasing Party” means each of the following solely in its capacity as such:
 (a) all Released Parties; (b) all Holders of Impaired Claims and Interests who voted to accept the
 Plan; (c) all Holders of Impaired Claims and Interests who abstained from voting on the Plan,
 voted to reject the Plan, or are deemed to have rejected the Plan; (d) all Holders of Unimpaired
 Claims; and (e) all Holders of Interests; (f) each Related Party of each Entity in clause (a) through
 this clause (f) for which such Entity is legally entitled to bind such Related Party to the release
 contained in the Plan under applicable law; provided that an Entity listed in clauses (c) through (e)
 shall only constitute a Releasing Party if the applicable Entity either (x) elects to opt in to provide
 the releases contained in the Plan or (y) is otherwise specifically enumerated in clause (a); provided
 further that if an Entity is not a “Releasing Party,” then its Related Parties (in their capacities as



 2
     The release provisions set forth in this Plan remain subject to the results and assessment of the investigation being
     conducted by the Special Committee and evaluation of the Plan Evaluation Committee, and any modifications
     hereto shall be subject to the consent rights set forth in the Restructuring Support Agreement.


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 such) are not Releasing Parties; provided further that any Restructuring Support Party and Bond
 Green Bonds Restructuring Support Party is deemed to be a Releasing Party .]3

         183. “Reorganized” means, in relation to a Debtor, such Debtor (or any successor
 thereto, by merger, consolidation, or otherwise), as reorganized on or after the Effective Date.

       184. “Reorganized Debtors” means, collectively, each of the Debtors (including
 Reorganized Enviva Inc.) on the Effective Date.

         185. “Reorganized Enviva Inc.” means Enviva Inc., as Reorganized on the Effective
 Date, which will hold, directly or indirectly, substantially all of the assets and property of Enviva
 Inc., including the Intercompany Interests in the Subsidiary Debtors, as Reorganized on or after
 the Effective Date; provided that such term shall also refer to any successor or replacement entity
 acting as the corporate parent of the Reorganized Debtors or to Enviva Inc. if and as reorganized
 under a different name or in a different legal entity form.

       186. “Reorganized Enviva Inc. Equity Pool” means the total number of Reorganized
 Enviva Inc. Interests to be issued under the Plan.

         187. “Reorganized Enviva Inc. Interest” means an Interest in Reorganized Enviva Inc.
 that will be issued by the Plan Administrator on the Effective Date (or such other date as set forth
 herein or in the Plan Supplement) or issued on or after the Effective Date.

        188. “Required Consenting 2026 Noteholders” has the meaning set forth in the
 Restructuring Support Agreement.

       189.       “Required DIP Creditors” has the meaning ascribed to it in the DIP Facility
 Agreement.

        190. “Restructuring” means all actions that may be necessary or appropriate to
 effectuate the transactions described in, approved by, contemplated by, or necessary to effectuate,
 the Restructuring Support Agreement and the Plan.

         191. “Restructuring Expenses” means the reasonable and documented professional fees
 and expenses incurred by (a) the Ad Hoc Group Advisors, (b) the Senior Secured Credit Facility
 Agent, (c) the Bonds Green Bonds Indenture Trustee, (d) the Epes Green Bonds Indenture Trustee,
 and (e) the 2026 Notes Indenture Trustee, in each case pursuant to the terms of (x) the respective
 fee and engagement letters entered into by such Persons in connection with or arising as a result
 of the Restructuring, the Plan, or the Chapter 11 Cases or (y) the applicable indenture or agreement,
 and in each case not previously paid by, or on behalf of, the Debtors; provided that the fees and
 expenses of the Epes Green Bonds Indenture Trustee and the Bond Green Bonds Indenture Trustee
 shall, as applicable, be subject to any restrictions on the fees and expenses thereof pursuant to the
 Epes Green Bonds 9019 Order or the Bond Green Bonds 9019 Order.


 3
     The release provisions set forth in this Plan remain subject to the results and assessment of the investigation being
     conducted by the Special Committee and evaluation of the Plan Evaluation Committee, and any modifications
     hereto shall be subject to the consent rights set forth in the Restructuring Support Agreement.


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       192. “Restructuring Support Agreement” means that certain Restructuring Support
 Agreement, dated March 12, 2024 (including all exhibits, annexes, and schedules thereto) by and
 among the Debtors and the Restructuring Support Parties, as may be amended, restated, modified,
 supplemented, or replaced from time to time in accordance with the terms thereof.

       193. “Restructuring Support Parties” has the meaning ascribed to it in the Restructuring
 Support Agreement.

        194. “Restructuring Term Sheet” means that certain term sheet for the Restructuring
 attached as Exhibit A to the Restructuring Support Agreement, as may be amended, restated,
 modified, supplemented, or replaced from time to time in accordance with the terms of the
 Restructuring Support Agreement.

        195. “Restructuring Transactions Exhibit” has the meaning set forth in the
 Restructuring Support Agreement.

         196. “Retained Causes of Action” means any Cause of Action that any Debtor may have
 or be entitled to assert on behalf of its Estate or itself, whether or not asserted, that is not released,
 waived, or transferred by the Debtors pursuant to the Plan, including the claims and Causes of
 Action set forth in the Schedule of Retained Causes of Action.

        197. “Rights Offering” means the equity rights offering pursuant to which each eligible
 Holder of Allowed Bond General Unsecured Claims will be entitled to receive rights to subscribe
 to purchase the Rights Offering Shares in accordance with the Plan, the Rights Offering
 Procedures, and the Rights Offering Backstop Agreement.

         198. “Rights Offering Amount” means proceeds of at least $250 million, which amount
 shall be subject to adjustment in accordance with the Rights Offering Procedures, generated by the
 Rights Offering.

        199. “Rights Offering Backstop Agreement” means that certain Backstop Commitment
 Agreement, entered into and dated as of August 30, 2024, pursuant to which the Rights Offering
 Backstop Parties have agreed to backstop the Rights Offering. The Rights Offering Backstop
 Agreement shall be in form and substance consistent with the terms and conditions of the
 Restructuring Support Agreement, including the consent rights contained therein.

        200. “Rights Offering Backstop Approval Order” means an order entered by the Court
 approving the Rights Offering Backstop Agreement, which order shall be in form and substance
 consistent with the terms and conditions of the Restructuring Support Agreement, including the
 consent rights contained therein.

        201. “Rights Offering Backstop Parties” means those parties who have executed the
 Rights Offering Backstop Agreement, in their capacity as such.

        202. “Rights Offering Backstop Commitment Premium” means a premium equal to
 $29,374,622.28, which shall be subject to dilution on account of the MIP Equity, payable in the
 form of additional Reorganized Enviva Inc. Interests issued at the same price and with the same
 applicable discount as the Reorganized Enviva Inc. Interests issued pursuant to the Rights Offering


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 distributed to each Rights Offering Backstop Party in proportion to its individual backstop
 commitment, and to be issued pursuant to section 4(a)(2) of the Securities Act, section 1145 of the
 Bankruptcy Code or any other applicable exemption from registration under the Securities Act,
 other applicable securities laws or the Bankruptcy Code.

        203. “Rights Offering Participants” has the meaning assigned to the term “Equity
 Rights Offering Participants” in the Rights Offering Backstop Agreement.

         204. “Rights Offering Procedures” means the procedures for the implementation of the
 Rights Offering, as approved by the Court pursuant to the Disclosure Statement Order, which shall
 be in form and substance consistent with the terms and conditions of the Restructuring Support
 Agreement, including the consent rights contained therein.

        205. “Rights Offering Shares” means the Reorganized Enviva Inc. Interests that shall
 be issued in the Rights Offering, which shall be subject to dilution by the MIP Equity.

       206. “Rights Offering Subscription Rights” has the meaning assigned to the term
 “Subscription Rights” in the Rights Offering Backstop Agreement.

        207. “Schedule of Assumed Executory Contracts and Unexpired Leases” means the
 schedule of Executory Contracts and Unexpired Leases to be assumed by the Debtors pursuant to
 the Plan, with the consent of the Required DIP Creditors, as set forth in the Plan Supplement, as
 may be amended from time to time prior to the Effective Date, and which shall be in form and
 substance consistent with the terms and conditions of the Restructuring Support Agreement and
 the DIP Facility Agreement, including the consent rights contained therein.

        208. “Schedule of Rejected Executory Contracts and Unexpired Leases” means the
 schedule of Executory Contracts and Unexpired Leases to be rejected by the Debtors pursuant to
 the Plan, with the consent of the Required DIP Creditors, as set forth in the Plan Supplement, as
 may be amended from time to time prior to the Effective Date, and which shall be in form and
 substance consistent with the terms and conditions of the Restructuring Support Agreement and
 the DIP Facility Agreement, including the consent rights contained therein.

         209. “Schedule of Retained Causes of Action” means the schedule of certain Causes of
 Action of the Debtors that are not released, waived, or transferred pursuant to the Plan, which shall
 be included in the Plan Supplement, and which shall be in form and substance consistent with the
 terms and conditions of the Restructuring Support Agreement and the DIP Facility Agreement,
 including the consent rights contained therein[; provided that, for the avoidance of doubt, the
 Schedule of Retained Causes of Action shall not include any Causes of Action against any
 Released Parties.]4

       210. “Schedules” means, collectively, the schedules of assets and liabilities, schedules
 of Executory Contracts and Unexpired Leases, and statements of financial affairs Filed by the
 Debtors pursuant to section 521 of the Bankruptcy Code and in substantial conformance with the

 4
     The release provisions set forth in this Plan remain subject to the results and assessment of the investigation being
     conducted by the Special Committee and evaluation of the Plan Evaluation Committee, and any modifications
     hereto shall be subject to the consent rights set forth in the Restructuring Support Agreement.


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 Official Bankruptcy Forms, as the same may have been amended, modified, or supplemented from
 time to time.

        211.    “SEC” means the United States Securities and Exchange Commission.

        212. “Section 510(b) Claim” means any Claim subject to subordination under section
 510(b) of the Bankruptcy Code.

         213. “Secured” means a Claim: (a) secured by a Lien on property in which the applicable
 Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law
 or by reason of a Court order, or that is subject to a valid right of setoff pursuant to section 553 of
 the Bankruptcy Code, to the extent of the value of the creditor’s interest in such Estate’s interest
 in such property or to the extent of the amount subject to setoff, as applicable, as determined
 pursuant to section 506(a) of the Bankruptcy Code; or (b) otherwise Allowed pursuant to the Plan
 as a Secured Claim.

        214. “Secured Tax Claim” means any Secured Claim against a Debtor that, absent its
 secured status, would be entitled to priority in right of payment under section 507(a)(8) of the
 Bankruptcy Code (determined irrespective of time limitations), including any related Secured
 Claim for penalties.

         215. “Securities Act” means the Securities Act of 1933, as amended, and all rules and
 regulations promulgated thereunder.

        216.    “Security” has the meaning set forth in section 101(49) of the Bankruptcy Code.

        217. “Senior Secured Credit Agreement” means that certain Amended and Restated
 Credit Agreement, dated as of October 18, 2018, among Enviva Inc., as administrative borrower,
 Enviva, LP, as subsidiary borrower, the Senior Secured Credit Facility Agent, and the Senior
 Secured Credit Facility Lenders, as may be amended, restated, modified, supplemented, or
 replaced from time to time in accordance with the terms thereof.

       218. “Senior Secured Credit Facility” means the revolving and term credit facilities
 pursuant to the Senior Secured Credit Agreement.

        219. “Senior Secured Credit Facility Agent” means Ankura Trust Company, LLC as
 administrative agent and collateral agent under the Senior Secured Credit Agreement in its capacity
 as such, and any successors in such capacity.

        220. “Senior Secured Credit Facility Claims” means Claims arising under or in
 connection with the Senior Secured Credit Agreement, including approximately $672,495,880 in
 principal amount, plus accrued and unpaid interest, fees, and other expenses arising under and
 payable pursuant to the Senior Secured Credit Agreement.

        221. “Senior Secured Credit Facility Documents” means the Senior Secured Credit
 Agreement and all other agreements, documents, instruments, and amendments related thereto,
 including any guaranty agreements, pledge and collateral agreements, UCC financing statements,



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 or other perfection documents, subordination agreements, fee letters, and any other security
 agreements.

       222. “Senior Secured Credit Facility Lender” means each lender party to the Senior
 Secured Credit Agreement in its capacity as such.

        223. “Senior Secured Credit Facility Lender Adequate Protection Claims” means all
 adequate protection Claims arising in favor of the Senior Secured Credit Facility Lenders under
 applicable law or pursuant to the Final DIP Order.

       224.     “Solicitation Materials” has the meaning ascribed to it in the Restructuring Support
 Agreement.

       225.     “Special Committee” means the special committee of the Board of Directors of
 Enviva Inc.

        226. “Stockholders Agreement” means the stockholders agreement, limited liability
 company agreement or similar agreement or instrument that may be entered into on the Effective
 Date by Reorganized Enviva Inc. and all Holders of the Reorganized Enviva Inc. Interests. A
 substantially final form of the Stockholders Agreement, if any, in form and substance consistent
 with the terms and conditions of the Restructuring Support Agreement, including the consent rights
 contained therein, will be included in the Plan Supplement.

       227. “Subscription Rights” means the subscription rights offered to Holders of Allowed
 Bond General Unsecured Claims to purchase Reorganized Enviva Inc. Interests for an aggregate
 purchase price of the Rights Offering Amount in accordance with the Rights Offering Procedures.

         228. “Subsidiary Debtors” means, collectively, the following: Enviva Aircraft Holdings
 Corp.; Enviva Development Finance Company, LLC; Enviva Energy Services, LLC; Enviva GP,
 LLC; Enviva Holdings GP, LLC; Enviva Management Company, LLC; Enviva MLP International
 Holdings, LLC; Enviva Partners Finance Corp.; Enviva Pellets Bond, LLC; Enviva Pellets Epes
 Finance Company, LLC; Enviva Pellets Epes Holdings, LLC; Enviva Pellets Epes, LLC; Enviva
 Pellets Greenwood, LLC; Enviva Pellets, LLC; Enviva Pellets Lucedale, LLC; Enviva Pellets
 Waycross, LLC; Enviva Port of Pascagoula, LLC; and Enviva Shipping Holdings, LLC.

        229.    “Threshold Clearing Requirements” has the meaning set forth in Article IV.A of
 the Plan.

        230.    “Transaction Election” has the meaning ascribed to it in the Overbid Procedures.

       231.     “Transaction Election Deadline” has the meaning ascribed to it in the Overbid
 Procedures.

        232. “Treasury Regulation” shall mean, with respect to any referenced provision, such
 provision of the regulations of the United States Department of the Treasury or any successor
 provision.




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         233. “Unclaimed Property” means any distribution under the Plan on account of an
 Allowed Claim whose Holder has not: (a) accepted such distribution or, in the case of distributions
 made by check, negotiated such check within 90 calendar days of receipt; (b) given notice to the
 Reorganized Debtors of an intent to accept such distribution within 90 calendar days of receipt;
 (c) responded to, as applicable, the Debtors’ or Reorganized Debtors’ requests for information
 necessary to facilitate such distribution prior to the deadline included in such request for
 information; or (d) timely taken any other action necessary to facilitate such distribution.

        234. “Unexpired Lease” means a lease of nonresidential real property to which one or
 more of the Debtors is a party that is subject to assumption or rejection under sections 365 or 1123
 of the Bankruptcy Code.

         235. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class
 consisting of Claims or Interests that are not “impaired” within the meaning of section 1124 of the
 Bankruptcy Code, including through payment in full in Cash or Reinstatement.

        236. “Unsecured” means, with respect to a Claim, a Claim or any portion thereof that is
 not Secured.

        237. “Unsubscribed Shares” means any Rights Offering Shares that are not subscribed
 for and purchased in the Rights Offering by a Rights Offering Participant.

         238. “U.S. Trustee” means the Office of the United States Trustee for the Eastern
 District of Virginia.

        239. “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6) and, to the
 extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

        240. “Voting Deadline” means, the deadline for submitting votes to accept or reject the
 Plan, which deadline is November 6, 2024 at 4:00 p.m. (prevailing Eastern Time), unless extended
 by the Debtors.

         241. “Voting Procedures” means the procedures and instructions for voting on the Plan
 and related deadlines as set forth in the Court order approving the Disclosure Statement and the
 solicitation procedures.

 B.     Rules of Interpretation

        For purposes herein: (1) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
 (2) except as otherwise provided, any reference herein to a contract, lease, instrumen t, release,
 indenture, or other agreement or document being in a particular form or on particular terms and
 conditions means that the referenced document shall be in that form or on those terms and
 conditions; (3) except as otherwise provided, any reference herein to an existing contract, lease,
 instrument, release, indenture, or other agreement or document shall mean that referenced
 document, as it may by amended, restated, supplemented, or otherwise modified from time to time
 in accordance with the terms thereof; (4) except as otherwise provided, any reference herein to an


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 existing document or exhibit having been Filed or to be Filed shall mean that document or exhibit,
 as it may thereafter be amended, restated, supplemented, or otherwise modified from time to time
 in accordance with the terms of the Plan and the Restructuring Support Agreement; (5) unless
 otherwise specified, all references herein to “Articles” are references to Articles of the Plan;
 (6) unless otherwise stated, the words “herein,” “hereof,” and “hereto” refer to the Plan in its
 entirety rather than to a particular portion of the Plan; (7) captions and headings to Articles are
 inserted for convenience of reference only and are not intended to be a part of or to affect the
 interpretation hereof; (8) the words “include” and “including,” and variations thereof, shall not be
 deemed to be terms of limitation, and shall be deemed to be followed by the words “without
 limitation;” (9) the rules of construction set forth in section 102 of the Bankruptcy Code shall
 apply; (10) any term used in capitalized form herein that is not otherwise defined but that is used
 in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in
 the Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (1 1) any docket number
 references in the Plan shall refer to the docket number of any document Filed with the Court in the
 Chapter 11 Cases.

 C.     Computation of Time

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
 shall apply in computing any period of time prescribed or allowed herein. If the date on which a
 transaction, action, or event shall or may occur pursuant to the Plan is a day that is not a Business
 Day, then such transaction, action, or event shall instead occur on the next succeeding Business
 Day, but shall be deemed to have been completed or to have occurred as of the required date .

 D.     Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
 Code and Bankruptcy Rules) or unless otherwise specifically stated herein, the laws of the State
 of New York without giving effect to the principles of conflict of laws, shall govern the rights,
 obligations, construction, and implementation of the Plan, any agreements, documents,
 instruments, or contracts executed or entered into in connection with the Plan (except as otherwise
 set forth in those agreements, in which case the governing law of such agreement shall control);
 provided that the corporate or limited liability company governance matters relating to the Debtors
 or the Reorganized Debtors, as applicable, shall be governed by the laws of the state of
 incorporation or formation (as applicable) of the applicable Debtor or Reorganized Debtor.

 E.     Reference to Monetary Figures

       All references in the Plan to monetary figures shall refer to currency of the United States
 of America, unless otherwise expressly provided herein.

 F.     Reference to the Debtors or the Reorganized Debtors

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
 to the Debtors or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors,
 as applicable, to the extent the context requires.




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 G.     Controlling Document

        In the event of an inconsistency between the Plan, the Restructuring Support Agreement,
 and the Disclosure Statement or any other order (other than the Confirmation Order) referenced in
 the Plan (or any exhibits, schedules, appendices, supplements or amendments to any of the
 foregoing, other than the Plan Supplement), the terms of the Plan shall control in all respects. In
 the event of an inconsistency between the Plan and the Plan Supplement, the terms of the relevant
 document in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement
 document or in the Confirmation Order). In the event of an inconsistency between the
 Confirmation Order and any of the Plan, the Disclosure Statement, or the Plan Supplement, the
 Confirmation Order shall control.

 H.     Consent Rights of Restructuring Support Parties and DIP Creditors

         Notwithstanding anything herein to the contrary, any and all consent rights of (1) the
 Restructuring Support Parties (or any subset thereof) set forth in the Restructuring Support
 Agreement, (2) the DIP Creditors as set forth in the DIP Orders and the DIP Facility Agreement,
 (3) the Rights Offering Backstop Parties set forth in the Rights Offering Backstop Agreement, and
 (4) the Exit Facility Lenders set forth in the Exit Facility Commitment Letter with respect to the
 form and substance of this Plan, the Disclosure Statement, the motion seeking approval by the
 Court of the Disclosure Statement, the Plan Supplement, and any other Definitive Documentation,
 including any amendments, restatements, supplements, or other modifications to such documents,
 and any consents, waivers, or other deviations under or from any such documents, shall be
 incorporated herein by this reference and fully enforceable as if stated in full herein. Failure to
 reference in the Plan the rights referred to in the immediately preceding sentence shall not impair
 such rights and obligations. The Restructuring Support Agreement, the DIP Facility Agreement,
 the Rights Offering Backstop Agreement and the Exit Facility Commitment Letter, as applicable,
 shall control in case of a conflict between the consultation, information, notice, and consent rights
 of any party set forth in the Restructuring Support Agreement, the DIP Facility Agreement, the
 Rights Offering Backstop Agreement and the Exit Facility Commitment Letter with the
 consultation, information, notice, or consent rights set forth in the Plan.

                                  ARTICLE II.
               ADMINISTRATIVE EXPENSE CLAIMS, PROFESSIONAL
            FEE CLAIMS, DIP FACILITY CLAIMS, AND PRIORITY CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
 Claims and Priority Tax Claims have not been classified and, thus, are excluded from the Classes
 of Claims and Interests set forth in Article III hereof.

 A.     Administrative Expense Claims

        Except with respect to Administrative Expense Claims that are Professional Fee Claims,
 and except to the extent that an Administrative Expense Claim has already been paid during the
 Chapter 11 Cases or a Holder of an Allowed Administrative Expense Claim and the applicable
 Debtor(s) (with the consent of the Majority Consenting 2026 Noteholders) agree to less favorable
 treatment, each Holder of an Allowed Administrative Expense Claim will receive in full and final


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 satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount of the
 unpaid portion of such Allowed Administrative Expense Claim in accordance with the following:
 (1) if such Administrative Expense Claim is Allowed on or prior to the Effective Date, on the
 Effective Date, or as soon as reasonably practicable thereafter (or, if not then due, when such
 Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such
 Administrative Expense Claim is not Allowed as of the Effective Date, no later than 30 days after
 the date on which an order Allowing such Administrative Expense Claim becomes a Final Order,
 or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative Claim is based
 on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date,
 in accordance with the terms and conditions of the particular transaction or course of business
 giving rise to such Allowed Administrative Claim, without any further action by the holder of such
 Allowed Administrative Claim; (4) at such time and upon such terms as may be agreed upon by
 the holder of such Allowed Administrative Claim and the Debtors or the Reorganized Debtors
 (with the consent of the Majority Consenting 2026 Noteholders), as applicable; or (5) at such time
 and upon such terms as set forth in a Final Order of the Court or the Final DIP Order.

         Except as otherwise provided in this Article II.A of the Plan and except with respect to
 Administrative Expense Claims that are Professional Fee Claims or that arise in the ordinary
 course of the Debtors’ businesses, requests for allowance and payment of Administrative Expense
 Claims must be Filed and served on the Debtors or the Reorganized Debtors, as applicable,
 pursuant to the procedures specified in the Bar Date Order, the Confirmation Order, and the notice
 of entry of the Confirmation Order no later than the Administrative Expense Claims Bar Date.
 Holders of Administrative Expense Claims that are required to, but do not, File and serve on the
 Debtors or the Reorganized Debtors, as applicable, a request for allowance and payment of such
 Administrative Expense Claims by such date shall be forever barred, estopped, and enjoined from
 asserting such Administrative Expense Claims against the Debtors, the Reorganized Debtors, or
 their respective assets or property and such Administrative Expense Claims shall be deemed
 compromised, settled, released, and discharged as of the Effective Date. Objections to such
 requests, if any, must be Filed and served on the Debtors or the Reorganized Debtors, as applicable,
 and the requesting party no later than 90 days after the Effective Date or such other date fixed by
 the Court. Notwithstanding the foregoing, no request for payment of an Administrative Expense
 Claim need be Filed with respect to an Administrative Expense Claim previously Allowed.

 HOLDERS OF ADMINISTRATIVE CLAIMS THAT ARE REQUIRED TO FILE AND
 SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE CLAIMS THAT
 DO NOT FILE AND SERVE SUCH A REQUEST BY THE ADMINISTRATIVE CLAIM
 BAR DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
 ASSERTING SUCH ADMINISTRATIVE CLAIMS AGAINST THE DEBTORS, THE
 REORGANIZED DEBTORS, OR THE PROPERTY OF ANY OF THE FOREGOING,
 AND SUCH ADMINISTRATIVE CLAIMS SHALL BE DEEMED COMPROMISED,
 SETTLED, RELEASED, AND DISCHARGED AS OF THE EFFECTIVE DATE
 WITHOUT THE NEED FOR ANY OBJECTION FROM THE REORGANIZED
 DEBTORS OR ANY NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE
 COURT OR ANY OTHER ENTITY.




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 B.     Professional Compensation

        1.      Final Fee Applications

         All final requests for payment of Professional Fee Claims, including the Professional Fee
 Claims incurred during the period from the Petition Date through and including the Effective Date,
 shall be Filed and served on the Reorganized Debtors no later than 30 days after the Effective Date.
 Each such final request will be subject to approval by the Court after notice and a hearing in
 accordance with the procedures established by the Bankruptcy Code and prior orders of the Court
 in the Chapter 11 Cases, including the Interim Compensation Order, and once approved by the
 Court, such Allowed Professional Fee Claims shall be promptly paid in Cash from the Professional
 Fee Escrow Account up to its full Allowed amount. If the Professional Fee Escrow Account is
 insufficient to fund the full Allowed amounts of Professional Fee Claims, remaining unpaid
 Allowed Professional Fee Claims shall be promptly paid by the Reorganized Debtors without any
 further action or order of the Court. The Reorganized Debtors’ obligations to pay Allowed
 Professional Fee Claims shall not be limited or deemed limited to funds held in the Profe ssional
 Fee Escrow Account.

         Except as otherwise provided in the Plan, Professionals shall be paid pursuant to the terms
 of the Interim Compensation Order.

        Objections to any Professional Fee Claim must be Filed and served on the Reorganized
 Debtors and the requesting party no later than 20 days after such Professional Fee Claim is Filed
 with the Court.

        2.      Professional Fee Escrow Account

         As soon as practicable after Confirmation, and not later than the Effective Date, the Debtors
 shall, in consultation with the Ad Hoc Group, establish and fund the Professional Fee Escrow
 Account with Cash equal to the Professional Fee Reserve Amount. The Professional Fee Escrow
 Account shall not be subject to any Lien and shall be maintained in trust solely for the benefit of
 the Professionals, including with respect to whom fees or expenses have been held back pursuant
 to the Interim Compensation Order. The funds in the Professional Fee Escrow Account shall not
 be deemed to be property of the Estates or of the Reorganized Debtors. The amount of Professional
 Fee Claims owing to the Professionals shall be paid in Cash to such Professionals from the
 Professional Fee Escrow Account (a) as soon as reasonably practicable after such Professional Fee
 Claims are Allowed by a Final Order or the Final DIP Order, (b) on such other terms as may be
 mutually agreed upon between the holder of such an Allowed Professional Fee Claim and the
 Debtors or the Reorganized Debtors, as applicable, or (c) in accordance with the Interim
 Compensation Order. When all such Allowed amounts owing to all Professionals on account of
 Professional Fee Claims have been paid in full, any remaining amount in the Professional Fee
 Escrow Account shall promptly be turned over to the Reorganized Debtors without any further
 action or order of the Court.

        3.      Professional Fee Reserve Amount

        No later than 5 Business Days prior to the Effective Date, the Debtors shall solicit
 Professionals for estimates of their unpaid Professional Fee Claims before and as of the Effective

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 Date, and such Professionals shall deliver such estimate to the Debtors and counsel to the Ad Hoc
 Group in writing via email 2 Business Days prior to the Effective Date; provided, however, that
 such estimate shall not be deemed to limit the amount of the fees and expenses that are the subject
 of the Professional’s final request for payment of Professional Fee Claims. If a Professional does
 not timely provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses
 of such Professional in consultation with the Ad Hoc Group.

        4.      Post-Effective Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Effective Date,
 the Debtors or the Reorganized Debtors shall, in the ordinary course of business and without any
 further notice or application to or action, order, or approval of the Court, pay in Cash the
 reasonable, actual, and documented legal, professional, or other fees and expenses incurred by the
 Reorganized Debtors or, solely as it pertains to the final fee applications, the Committee . Upon
 the Effective Date, any requirement that Professionals comply with sections 327 through 331, 363,
 and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered after
 such date shall terminate, and the Debtors or the Reorganized Debtors may employ and pay any
 Professional for fees and expenses incurred after the Effective Date in the ordinary course of
 business without any further notice to or action, order, or approval of the Court.

 C.     DIP Facility Claims

        1.      Allowance

          All DIP Facility Claims shall be deemed Allowed as of the Effective Date in an amount
 equal to the aggregate amount of the DIP Obligations, including, without limitation, (a) the
 principal amount of all notes and loans outstanding under the DIP Facility as of the Effective Date,
 (b) all interest accrued and unpaid thereon through and including the Effective Date, and (c) any
 and all accrued and unpaid fees, expenses and indemnification or other obligations of any kind
 payable under the DIP Facility Documents.

        From and after the entry of the Confirmation Order, the Debtors or Reorganized Debtors,
 as applicable, shall, without any further notice to or action, order or approval of the Court or any
 other party, pay in Cash the legal, professional and other fees and expenses of the DIP Agents in
 accordance with the Final DIP Order, but without any requirement that the professionals of the
 DIP Agents comply with the review procedures set forth therein.

        2.      DIP Tranche A Claims

         Except to the extent that a Holder of an Allowed DIP Tranche A Claim agrees to a less
 favorable treatment (which treatment shall be subject to the consent of the Majority Consenting
 2026 Noteholders), in full and final satisfaction, compromise, settlement, release and discharge of
 each Allowed DIP Tranche A Claim, as well as any other fees, interest, or other obligations owing
 to third parties under the DIP Facility Agreement and/or the DIP Orders, to the extent any DIP
 Tranche A Claims and such other fees, interest or other obligations owing to third parties under
 the DIP Facility Agreement and/or the DIP Orders have not otherwise been repaid or satisfied,
 each Holder of an Allowed DIP Tranche A Claim shall receive in exchange for such Claim, on the
 Effective Date, payment in full in Cash; provided that, to the extent such Holder elected, by the

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 DIP Tranche A Equity Participation Election Time, to make a portion of its DIP Tranche A Claim,
 up to the principal amount of any Obligations then owing in respect of such Allowed DIP Tranche
 A Claims held by such Holder, subject to the DIP Tranche A Equity Participation, such Holder
 will receive its Pro Rata share of the DIP Tranche A Equity Allocation in lieu of Cash, which shall
 be offset against repayment of the applicable portion of such Holder’s Obligations then owing in
 respect of such Allowed DIP Tranche A Claims. In accordance with the DIP Facility Agreement,
 a Holder of an Allowed DIP Tranche A Claim may elect, pursuant to a notice reasonably
 acceptable to the DIP Agents, to offset the Obligations owed to it under the DIP Facility (including
 with respect to any fees or premiums but after any offset described in the preceding proviso)
 against any payment obligations it may have with respect to the Rights Offering.

        3.      DIP Tranche B Claims

         Except to the extent that a Holder of an Allowed DIP Tranche B Claim agrees to a less
 favorable treatment (which treatment shall be subject to the consent of the Majority Consenting
 2026 Noteholders), in full and final satisfaction, compromise, settlement, release and discharge of
 each Allowed DIP Tranche B Claim, as well as any other fees, interest, or other obligations owing
 to third parties under the DIP Facility Agreement and/or the DIP Orders, to the extent any DIP
 Tranche B Claims and such other fees, interest or other obligations owing to third parties under
 the DIP Facility Agreement and/or the DIP Orders have not otherwise been repaid, each Holder of
 an Allowed DIP Tranche B Claim shall receive in exchange for such Claim, on the Effective Date,
 payment in full in Cash. In accordance with the DIP Facility Agreement, a Holder of an Allowed
 DIP Tranche B Claim may elect, pursuant to a notice reasonably acceptable to the DIP Agents, to
 offset the Obligations owed to it under the DIP Facility (including with respect to any fees or
 premiums but after any offset against repayment of the principal amount of such Holder’s
 Obligations then owing in respect of such Allowed DIP Tranche B Claims) against any payment
 obligations it may have with respect to the Rights Offering.

        4.      Repayment, Termination of Liens and Survival

        In accordance with the terms of the Plan, on the Effective Date all Liens granted to secure
 the Allowed DIP Facility Claims shall be automatically terminated and all collateral subject to
 such Liens shall be automatically released and, in each case, shall be of no further force and effect
 without any further notice to, or action, order, or approval of, the Court, the DIP Agents, the DIP
 Creditors, or any other Entity.

         Notwithstanding anything to the contrary in the Plan or the Confirmation Order, the DIP
 Facility and the DIP Facility Documents shall continue in full force and effect after the Effective
 Date with respect to any unsatisfied obligations thereunder, as applicable, including, but not
 limited to, those provisions relating to the rights of the DIP Agent and the other DIP Creditors to
 expense reimbursement, indemnification, and other similar amounts (either from the Debtors or
 the DIP Creditors) and any provisions that may survive termination or maturity of the DIP Facility
 in accordance with the terms thereof.




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 D.     Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
 favorable treatment (which treatment shall be subject to the consent of the Majority Consenting
 2026 Noteholders), in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim
 shall be treated in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy
 Code. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date,
 such Claim shall be paid in accordance with the terms of any agreement between the Debtors and
 the Holder of such Claim, or as may be due and payable under applicable non -bankruptcy law, or
 in the ordinary course of business by the Reorganized Debtors. In the event an Allowed Priority
 Tax Claim is also a Secured Tax Claim, such Claim shall, to the extent it is Allowed, be treated as
 an Other Secured Claim if such Claim is not otherwise paid in full.

 E.     Statutory Fees

         All U.S. Trustee fees due and payable pursuant to 28 U.S.C. § 1930(a) prior to the Effective
 Date shall be paid by the Debtors on the Effective Date. After the Effective Date, each Debtor or
 Reorganized Debtor, as applicable, shall pay any and all such fees for each quarter (including any
 fraction thereof) until such Debtor’s or Reorganized Debtor’s Chapter 11 Case is converted,
 dismissed, or a final decree is issued, whichever occurs first. The Reorganized Debtors shall
 continue to file quarterly, post-confirmation operating reports in accordance with the U.S.
 Trustee’s Region 4 Guidelines for Debtors-in-Possession.

                              ARTICLE III.
         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

 A.     Summary of Classification

         Claims and Interests, except for Administrative Expense Claims, Professional Fee Claims,
 DIP Facility Claims, and Priority Tax Claims, are classified in the Classes set forth in this
 Article III. A Claim or Interest is classified in a particular Class only to the extent that the Claim
 or Interest qualifies within the description of that Class and is classified in other Classes to the
 extent that any portion of the Claim or Interest qualifies within the description of such other
 Classes. A Claim or Interest also is classified in a particular Class for the purpose of receiving
 distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim
 or Interest in that Class and has not been paid, released, waived, or otherwise sa tisfied prior to the
 Effective Date.

         The classification of Claims and Interests against each Debtor pursuant to the Plan is as set
 forth below. This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor.
 Notwithstanding the foregoing, any Class that is vacant as to a particular Debtor will be treated in
 accordance with Article III.E below. The classification of Claims and Interests set forth herein,
 shall apply separately to each of the Debtors, except as expressly set forth herein. All of the
 potential Classes for the Debtors are set forth herein. Voting tabulations for recording acceptances
 or rejections of this Plan shall be conducted on a Debtor-by-Debtor basis as set forth herein.




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           1.        Class Identification

        The classification of Claims and Interests against the Debtors pursuant to the Plan is as
 follows:

  Class                     Claim/Interest                          Status             Voting Rights

      1         Other Priority Claims                             Unimpaired         Presumed to Accept

      2         Other Secured Claims                              Unimpaired         Presumed to Accept

      3         Senior Secured Credit Facility Claims             Unimpaired         Presumed to Accept

      4         NMTC Claims                                       Unimpaired         Presumed to Accept

      5         Bond General Unsecured Claims                      Impaired            Entitled to Vote

      6         Non-Bond General Unsecured Claims                  Impaired            Entitled to Vote

      7         Intercompany Claims                          Unimpaired/Impaired     Not Entitled to Vote

      8         Section 510(b) Claims                              Impaired           Deemed to Reject

      9         Intercompany Interests                        Unimpaired/Impaired    Not Entitled to Vote

      10        Existing Equity Interests                          Impaired            Entitled to Vote

 B.        Treatment of Claims and Interests

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under
 the Plan the treatment described below in full and final satisfaction, compromise, settlement,
 release, and discharge of and in exchange for such Holder’s Allowed Claim or Allowed Interest,
 except to the extent different treatment is agreed to by the Debtors or Reorganized Debtors, and
 the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated,
 the Holder of the Allowed Claim or Allowed Interest, as applicable, shall receive such treatment
 on the Effective Date or as soon as reasonably practicable thereafter.

           1.        Class 1 – Other Priority Claims

                     a.      Classification: Class 1 consists of all Other Priority Claims.

                     b.      Treatment: Except to the extent that a Holder of an Allowed Other Priority
                             Claim agrees to less favorable treatment, in full and final satisfaction,
                             compromise, settlement, release, and discharge of and in exchange for each
                             Allowed Other Priority Claim, each Holder thereof shall receive, at the
                             option of the Debtors or the Reorganized Debtors, as applicable, with the
                             consent of the Majority Consenting 2026 Noteholders, either:

                                   i.       payment in full, in Cash of the unpaid portion of its Allowed
                                            Other Priority Claim; or


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                         ii.   such other treatment in a manner consistent with
                               section 1129(a)(9) of the Bankruptcy Code,

                    in each case payable on the later of the Effective Date and the date that is
                    10 Business Days after the date on which such Other Priority Claim
                    becomes an Allowed Other Priority Claim, or as soon as reasonably
                    practicable thereafter.

            c.      Voting: Class 1 is Unimpaired under the Plan. Each Holder of an Other
                    Priority Claim will be conclusively presumed to have accepted the Plan
                    pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holders
                    of Other Priority Claims will not be entitled to vote to accept or reject the
                    Plan.

       2.   Class 2 – Other Secured Claims

            a.      Classification: Class 2 consists of all Other Secured Claims.

            b.      Treatment: Except to the extent that a Holder of an Allowed Other Secured
                    Claim agrees to a less favorable treatment, in full and final satisfaction,
                    compromise, settlement, release, and discharge of and in exchange for its
                    Allowed Other Secured Claim, each such Holder shall receive, at the option
                    of the Debtors or the Reorganized Debtors, as applicable, with the consent
                    of the Majority Consenting 2026 Noteholders, either:

                          i.   payment in full in Cash of such Holder’s Allowed Other Secured
                               Claim;

                         ii.   the collateral securing such Holder’s Allowed Other Secured
                               Claim;

                        iii.   Reinstatement of such Holder’s Allowed Other Secured Claim;
                               or

                         iv.   such other treatment rendering such Holder’s Allowed Other
                               Secured Claim Unimpaired in accordance with section 1124 of
                               the Bankruptcy Code.

            c.      Voting: Class 2 is Unimpaired under the Plan. Each Holder of an Other
                    Secured Claim will be conclusively presumed to have accepted the Plan
                    pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holders
                    of Other Secured Claims will not be entitled to vote to accept or reject the
                    Plan.

       3.   Class 3 – Senior Secured Credit Facility Claims

            a.      Classification: Class 3 consists of all Senior Secured Credit Facility
                    Claims.


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            b.      Allowance: On the Effective Date, the Senior Secured Credit Facility
                    Claims shall be Allowed in the aggregate principal amount equal to
                    $672,495,880, plus (i) $1,384,870 in face amount of outstanding letters of
                    credit and (ii) any accrued and unpaid interest thereon and fees, expenses,
                    costs, charges, indemnities, and other obligations incurred and payable
                    under the Senior Secured Credit Facility Documents (subject to the
                    limitations set forth in paragraph 13(j) of the Final DIP Order and Article
                    IV.H hereof).

            c.      Treatment: On the Effective Date, or as soon as practicable thereafter, in
                    full and final satisfaction, compromise, settlement, release, and discharge
                    of and in exchange for the Allowed Senior Secured Credit Facility Claims,
                    such Allowed Senior Secured Credit Facility Claims shall receive payment
                    in full in Cash.

            d.      Voting: Class 3 is Unimpaired under the Plan. Holders of Senior Secured
                    Credit Facility Claims are conclusively presumed to have accepted the Plan
                    pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such
                    Holders are not entitled to vote to accept or reject the Plan.

       4.   Class 4 – NMTC Claims

            a.      Classification: Class 4 consists of all NMTC Claims.

            b.      Allowance: On the Effective Date, the NMTC Claims shall be Allowed in
                    the respective amount of the Allowed NMTC QLICI Loan Claims and the
                    Allowed NMTC Source Loan Claims.

            c.      Treatment: On the Effective Date, all Allowed NMTC Claims shall, at the
                    option of the Debtors or the Reorganized Debtors, as applicable, with the
                    consent of the Majority Consenting 2026 Noteholders, either:

                          i.   be Reinstated in accordance with section 1124(2) of the
                               Bankruptcy Code and continued after the Effective Date; or

                         ii.   receive payment in full in Cash or such other treatment so as to
                               render it Unimpaired pursuant to section 1124 of the Bankruptcy
                               Code.

            d.      Voting: Class 4 is Unimpaired under the Plan. Holders of NMTC Claims
                    are conclusively presumed to have accepted the Plan pursuant to section
                    1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                    to vote to accept or reject the Plan.

       5.   Class 5 – Bond General Unsecured Claims

            a.      Classification: Class 5 consists of all Bond General Unsecured Claims.



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            b.      Allowance: On the Effective Date, the Bond General Unsecured Claims
                    shall be Allowed in the following principal amounts, plus, in each case,
                    accrued and unpaid prepetition interest, fees, and any and all other expenses
                    arising in connection therewith:

                          i.   the 2026 Notes Claims shall be Allowed in the aggregate
                               principal amount of $750,000,000 against each of the 2026
                               Notes Issuers and the 2026 Notes Guarantors;

                         ii.   the Bond Green Bonds Claims shall be Allowed in the aggregate
                               principal amount of $100,000,000, less the amount of the Bond
                               Green Bonds Cash Paydown, against each of Enviva Inc. and the
                               Bond Green Bonds Guarantors; and

                        iii.   the Epes Green Bonds Claims shall be Allowed in the aggregate
                               principal amount of $250,000,000, less the amount of the Epes
                               Green Bonds Cash Paydown, against each of Enviva Inc. and the
                               Epes Green Bonds Guarantors.

            c.      Treatment: On the Effective Date, except to the extent that a Holder of a
                    Bond General Unsecured Claim agrees to less favorable treatment, with the
                    consent of the Majority Consenting 2026 Noteholders, in full and final
                    satisfaction, compromise, settlement, release, and discharge of and in
                    exchange for each Allowed Bond General Unsecured Claim against each
                    applicable Debtor, each such Holder thereof shall receive its Pro Rata share
                    of:

                          i.   the Bond General Unsecured Claims Equity Pool; and

                         ii.   the Subscription Rights.

            d.      Voting: Class 5 is Impaired under the Plan. Each Holder of a Bond General
                    Unsecured Claim will be entitled to vote to accept or reject the Plan.

       6.   Class 6 – Non-Bond General Unsecured Claims

            a.      Classification: Class 6 consists of all Non-Bond General Unsecured
                    Claims.

            b.      Treatment: Except to the extent that a Holder of a Non-Bond General
                    Unsecured Claim agrees to less favorable treatment, with the consent of the
                    Majority Consenting 2026 Noteholders, in full and final satisfaction,
                    compromise, settlement, release, and discharge of and in exchange for each
                    Allowed Non-Bond General Unsecured Claim, each Holder thereof shall
                    receive, with respect to the applicable Debtor, its Pro Rata share of Cash in
                    an amount equal to (A) $13 million multiplied by (B) the applicable GUC
                    Cash Pool Allocation; provided that, if Class 6 at the applicable Debtor
                    votes to accept the Plan and the Plan is confirmed on or before


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                    [November 13, 2024], then such treatment shall be increased to such
                    Holder’s Pro Rata share of Cash in an amount equal to (I) $18 million,
                    multiplied by (II) the applicable GUC Cash Pool Allocation.

            c.      Voting: Class 6 is Impaired under the Plan. Each Holder of a Non-Bond
                    General Unsecured Claim will be entitled to vote to accept or reject the Plan.

       7.   Class 7 – Intercompany Claims

            a.      Classification: Class 7 consists of all Intercompany Claims.

            b.      Treatment: All Intercompany Claims will be adjusted, Reinstated,
                    compromised, or discharged on the Effective Date in the applicable
                    Debtor’s discretion, with the consent of the Majority Consenting 2026
                    Noteholders.

            c.      Voting: Class 7 Intercompany Claims are either Unimpaired, in which case
                    the Holders of such Intercompany Claims conclusively are presumed to
                    have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code,
                    or Impaired and not receiving any distribution under the Plan, in which case
                    the Holders of such Intercompany Claims are deemed to have rejected the
                    Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, each
                    Holder of an Intercompany Claim will not be entitled to vote to accept or
                    reject the Plan.

       8.   Class 8 – Section 510(b) Claims

            a.      Classification: Class 8 consists of all Section 510(b) Claims.

            b.      Treatment: All Section 510(b) Claims against the Debtors shall be
                    discharged and released, and will be of no further force or effect, and the
                    Holders of Section 510(b) Claims shall not receive or retain any
                    distribution, property, or other value on account of their Section 510(b)
                    Claims.

            c.      Voting: Class 8 is Impaired under the Plan. Holders of Section 510(b)
                    Claims are deemed to have rejected the Plan pursuant to section 1126(g) of
                    the Bankruptcy Code. Therefore, such Holders are not entitled to vote to
                    accept or reject the Plan.

       9.   Class 9 – Intercompany Interests

            a.      Classification: Class 9 consists of all Intercompany Interests.

            b.      Treatment: All Intercompany Interests shall be Reinstated and otherwise
                    unaffected by the Plan or canceled in exchange for replacement equity
                    interests in the applicable Reorganized Debtor on the Effective Date in the



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                       applicable Debtor’s discretion, with the consent of the Majority Consenting
                       2026 Noteholders.

                c.     Voting: Class 9 Intercompany Interests are either Unimpaired, in which
                       case the Holders of such Intercompany Interests conclusively are presumed
                       to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
                       Code, or Impaired and not receiving any distribution u nder the Plan, in
                       which case the Holders of such Intercompany Interests are deemed to have
                       rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
                       Therefore, each Holder of an Intercompany Interest will not be entitled to
                       vote to accept or reject the Plan.

        10.     Class 10 – Existing Equity Interests

                a.     Classification: Class 10 consists of all Existing Equity Interests.

                b.     Treatment: Except to the extent that a Holder of an Existing Equity Interest
                       agrees to less favorable treatment, in full and final satisfaction, compromise,
                       settlement, release, and discharge of and in exchange for each Existing
                       Equity Interest, each Holder thereof shall receive its Pro Rata share of:

                              i.   Cash in an amount equal to $1 million; or

                             ii.   solely to the extent a Holder of an Existing Equity Interest
                                   affirmatively elects to receive such treatment on a timely and
                                   properly submitted Ballot, the Existing Equity Interests Equity
                                   Pool and the New Warrants;

                       provided that Holders of Existing Equity Interests shall not be entitled to
                       any recovery hereunder unless each of Class 5 (Bond General Unsecured
                       Claims), Class 6 (Non-Bond General Unsecured Claims), and Class 10
                       (Existing Equity Interests) votes to accept the Plan.

                c.     Voting: Class 10 is Impaired under the Plan. Each Holder of an Existing
                       Equity Interest will be entitled to vote to accept or reject the Plan.

 C.     Special Provision Governing Unimpaired or Reinstated Claims

        Nothing under the Plan shall affect the Debtors’ or the Reorganized Debtors’ claims,
 Causes of Action, rights, or defenses in respect of any Unimpaired Claims or Reinstated Claims,
 including all rights in respect of legal and equitable defenses to or setoffs or recoupment against
 any such Unimpaired Claims or Reinstated Claims.

 D.     Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

         The Debtors reserve the right to seek Confirmation of the Plan pursuant to section 1129(b)
 of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests, and the Filing
 of the Plan shall constitute a motion for such relief.


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 E.     Elimination of Vacant Classes

       Any Class of Claims that does not contain an Allowed Claim or a Claim temporarily
 Allowed by the Court for voting purposes as of the date of the Confirmation Hearing shall be
 deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
 purposes of determining acceptance or rejection of the Plan by such Class pursuant to section
 1129(a)(8) of the Bankruptcy Code.

 F.     Voting Classes; Presumed Acceptance by Non-Voting Classes

        If a Class contains Claims eligible to vote and no Holder of Claims eligible to vote in such
 Class votes to accept or reject the Plan, the Plan shall be presumed accepted by such Class.

 G.     Intercompany Claims and Interests

         To the extent Reinstated under the Plan, distributions on account of Intercompany Claims
 and Intercompany Interests are not being received by Holders of such Intercompany Claims and
 Intercompany Interests on account of their Intercompany Claims and Interco mpany Interests but
 for the purposes of administrative convenience, and in exchange for the Debtors’ and Reorganized
 Debtors’ agreement under the Plan to make certain distributions to the Holders of Allowed Claims.

 H.     Subordinated Claims

         Except as may be the result of the compromise and settlement described in Article VIII.A
 of the Plan, the allowance, classification, and treatment of all Claims and Interests and the
 respective distributions and treatments under the Plan take into account and conform to the relative
 priority and rights of the Claims and Interests in each Class in connection with any contractual,
 legal, and equitable subordination rights relating thereto, whether arising under general principles
 of equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to
 section 510 of the Bankruptcy Code, the Debtors or Reorganized Debtors reserve the right to
 reclassify any Claim or Interest in accordance with any contractual, legal, or equitable
 subordination relating thereto.

                                   ARTICLE IV.
                      MEANS FOR IMPLEMENTATION OF THE PLAN

 A.     Restructuring

          Unless the Transaction Election is made, on or, with the consent of the Majority Consenting
 2026 Noteholders, before the Effective Date, the applicable Debtors or the Reorganized Debtors,
 shall undertake the Restructuring in accordance with the Restructuring Transactions Exhibit,
 including: (1) the execution and delivery of any appropriate agreements or other documents of
 merger, consolidation, restructuring, conversion, disposition, sale , transfer, dissolution, or
 liquidation containing terms that are consistent with the terms of the Plan , the Restructuring
 Support Agreement, and the Plan Supplement, and that satisfy the requirements of applicable law
 and any other terms to which the applicable Entities may agree; (2) the execution and delivery of
 appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property,
 right, liability, debt, or obligation on terms consistent with the terms of the Plan , the Restructuring


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 Support Agreement, and the Plan Supplement, and having other terms for which the applicable
 Entities agree; (3) the rejection, assumption, or assumption and assignment, as applicable, of
 Executory Contracts and Unexpired Leases; (4) the execution, delivery and filing, if applicable, of
 appropriate certificates or articles of incorporation, reincorporation, formation, merger,
 consolidation, conversion, or dissolution pursuant to applicable state law , including any New
 Organizational Documents; (5) the issuance of securities, including the Reorganized Enviva Inc.
 Interests (including the DIP Tranche A Equity Allocation, the Rights Offering Shares, and the
 Reorganized Enviva Inc. Interests issued on account of the Rights Offering Backstop Commitment
 Premium) and the New Warrants, which shall be authorized and approved in all respects in each
 case without further action being required under applicable law, regulation, order, or rule; (6) the
 execution and delivery of the Exit Facility Documents, and the New Warrants Agreement, which,
 in each case, shall occur on the Effective Date; (7) the execution and delivery of Definitive
 Documentation not otherwise included in the foregoing, if any; (8) the settlement, reconciliation,
 repayment, cancellation, discharge, and/or release, as applicable, of Intercompany Claims
 consistent with the Plan; (9) all other actions that the Debtors or the Reorganized Debtors
 determine to be necessary or appropriate, including making filings or recordings that may be
 required by applicable law, in each case consistent with and pursuant to the terms and conditions
 of the Plan and the Restructuring Support Agreement. The Confirmation Order shall and shall be
 deemed, pursuant to sections 363, 365 1123, and 1145(a) of the Bankruptcy Code, to authorize,
 among other things, all actions as may be necessary or appropriate to effect any transaction
 described in, approved by, contemplated by, or necessary to effectuate the Plan, including the
 Restructuring.

        1.      Overbid Process

        Consistent with the Overbid Process set forth in the Final DIP Order, as an alternative to
 the Restructuring set forth in the Plan, the Debtors have actively marketed offers for, or are in the
 process of actively marketing offers for Alternative Transactions, solely to the extent such
 transactions meet the Threshold Clearing Requirements. Alternative Transactions may take the
 form of (a) one or more sales or dispositions of the Company Assets or (b) one or more
 reorganization transactions involving the Debtors and/or the Company Assets.

        As set forth in the Overbid Procedures, any Alternative Transaction must meet the
 following requirements (the “Threshold Clearing Requirements”):

        a. Provide for the repayment in cash in full of all DIP Facility Claims, Administrative
           Expense Claims, Priority Tax Claims, Other Priority Claims, Senior Secured Credit
           Facility Claims, NMTC Claims, FiberCo Notes Claims, Amory Seller Note Claims,
           2026 Notes Claims, Bond Green Bonds Claims (after taking into account the Bond
           Green Bonds Cash Paydown), Epes Green Bonds Claims (after taking into account the
           Epes Green Bonds Cash Paydown), and the Rights Offering Backstop Commitment
           Premium and the fee set forth in the Exit Facility Commitment Letter (unless such fees
           are not approved by the Court), including, as applicable, claims in respect of principal,
           interest, fees, expenses and other amounts owing under the applicable instrument; or

        b. Are otherwise acceptable to the Majority Consenting 2026 Noteholders (it being
           understood that no Alternative Transaction or indication or bid for an Alternative


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             Transaction shall be deemed to satisfy this clause (b) unless and until the Majority
             Consenting 2026 Noteholders have manifested such acceptance expressly and in
             writing (including by email from counsel)).

         If the Debtors obtain one or more Qualified Bids for an Alternative Transaction that
 satisfies the Threshold Clearing Requirements, and which the Debtors, in consultation with the Ad
 Hoc Group and the Committee, determine in good faith and in an exercise o f their business
 judgment will maximize value for the Debtors’ estates and provide higher and better value as
 compared to the Restructuring contemplated by the Plan, the Debtors will make the Transaction
 Election and thereby elect to consummate an Alternative Transaction in accordance with the
 Overbid Procedures and the Overbid Process. The Transaction Election, if any, shall be made no
 later than the Transaction Election Deadline. For the avoidance of doubt, the Transaction Election
 Deadline may not be extended except with the express written consent of the Debtors and the
 Majority Consenting 2026 Noteholders. If the Transaction Election is made, the Debtors will
 modify the Plan to reflect the terms of the Alternative Transaction and resolicit the amended Plan,
 if necessary.

         The rights related to and in connection with the Overbid Process of (a) the Restructuring
 Support Parties, as provided in the Final DIP Order and the Restructuring Support Agreement,
 (b) the commitments parties, as provided in the Exit Facility Commitment Letter, and (c) the
 Rights Offering Backstop Parties, as provided in the Rights Offering Backstop Agreement, and in
 each case, in the Overbid Procedures are expressly reserved.

 B.     Sources of Consideration for Plan Distributions

        The Debtors, the Reorganized Debtors, and/or the Plan Administrator, as applicable, shall
 fund distributions under the Plan as follows:

        1.      Cash on Hand

          On the Effective Date, the Debtors or the Reorganized Debtors, as applicable, shall make
 all Cash distributions required to be made under the Plan using Cash on hand as of the Effective
 Date, including Cash from operations and the proceeds of the Rights Offering. All remaining Cash
 on hand as of the Effective Date, after payment of all Cash distributions required to be made on
 the Effective Date, including Cash from operations and the proceeds of the Rights Offering, but
 excluding the Cash funded into the Professional Fee Escrow Account, shall be retained by, vested
 in, or transferred to, as applicable, the Reorganized Debtors. Cash payments to be made pursuant
 to the Plan will be made by the Debtors or the Reorganized Debtors, as applicable. The
 Reorganized Debtors will be entitled to transfer funds between and among themselves as they
 determine to be necessary or appropriate to enable the Reorganized Debtors to satisfy their
 obligations under the Plan and continue the operations of their businesses in the ordinary course
 of business. Except as set forth herein, any changes in intercompany account balances resulting
 from such transfers may be accounted for and/or settled in accordance with the Debtors’ historical
 intercompany account settlement practices and any such action will not violate the terms of the
 Plan.




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         2.      Exit Facility

         On the Effective Date, the Reorganized Debtors will enter into the Exit Facility in
 accordance with the terms of the Exit Facility Credit Agreement(s). The Reorganized Debtors
 may use the proceeds of the Exit Facility for any purpose permitted by the Exit Facility Documents,
 including the funding of Cash distributions under the Plan and satisfaction of ongoing working
 capital needs.

         The Confirmation Order shall constitute approval of the Exit Facility (including the
 transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
 obligations to be incurred and fees paid by the Reorganized Debtors in connection therewith), and
 authorization for the Debtors or the Reorganized Debtors, as applicable, without further notice to
 or order of the Court, to enter into, execute, deliver, and perform under the Exit Facility Documents
 and such other documents as may be required or appropriate to effectuate the transactions
 contemplated thereby. Execution of the Exit Facility Documents by the Exit Facility Agent shall
 be deemed to bind all Exit Facility Lenders as if each such Exit Facility Lenders had executed the
 applicable Exit Facility Documents with appropriate authorization, regardless of whether such Exit
 Facility Lender has executed a signature page thereto.

         The Exit Facility Documents shall constitute legal, valid, binding, and authorized
 obligations of the Reorganized Debtors, enforceable in accordance with their terms. The financial
 accommodations to be extended pursuant to the Exit Facility Documents are being extended, and
 shall be deemed to have been extended, in good faith, for legitimate business purposes, are
 reasonable, shall not be subject to avoidance, recharacterization, or subordination (including
 equitable subordination) for any purposes whatsoever, whether under the Bankruptcy Code or
 other applicable non-bankruptcy law, and shall not constitute preferential transfers, fraudulent
 transfers, obligations, or conveyances, or other voidable transfers or obligations under the
 Bankruptcy Code or any other applicable non-bankruptcy law. On the Effective Date, all of the
 Liens and security interests to be granted by the Reorganized Debtors in accordance with the Exit
 Facility Documents (including any Liens and security interests previously granted with respect to
 the Senior Secured Credit Facility Documents or the DIP Facility Documents that are deemed to
 be granted in accordance with the Exit Facility Documents) (a) shall be deemed to be granted,
 (b) shall be legal, binding, and enforceable Liens on, and security interests in, the collateral granted
 thereunder in accordance with the terms of the Exit Facility Documents, (c) shall be deemed
 automatically perfected on the Effective Date without the need for the taking of any further filing,
 recordation, approval, consent or other action, subject only to such Liens and security interests as
 may be permitted under the Exit Facility Documents, and (d) shall not be enjoined or subject to
 discharge, impairment, release, avoidance, recharacterization, or subordination (including
 equitable subordination) for any purposes whatsoever and shall not constitute preferential
 transfers, fraudulent transfers, obligations, or conveyances, or other voidable transfers or
 obligations under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized
 Debtors and the Entities granted such Liens and security interests are authorized to make all filings
 and recordings, and to obtain all governmental approvals and consents, and take any other actions
 necessary to establish and perfect such Liens and security interests under the provisions of the
 applicable state, provincial, federal, or other law (whether domestic or foreign) that would be
 applicable in the absence of the Plan and the Confirmation Ord er (it being understood that
 perfection shall occur automatically on the Effective Date by virtue of the entry of the


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 Confirmation Order, and any such filings, recordings, approvals, and consents shall not be
 required), and will thereafter cooperate to make all other filings and recordings that otherwise
 would be necessary under applicable law to give notice of such Liens and security interests to third
 parties. The Reorganized Debtors shall thereafter cooperate to make all other filings and recordings
 that otherwise would be necessary under applicable law to give notice of such Liens and security
 interests to third parties.

 C.     Issuance and Distribution of Reorganized Enviva Inc. Interests and New Warrants

         On the Effective Date Reorganized Enviva Inc. shall be authorized to and shall issue the
 Reorganized Enviva Inc. Interests (including the DIP Tranche A Equity Allocation, the Rights
 Offering Shares, and the Reorganized Enviva Inc. Interests issued on account of the Rights
 Offering Backstop Commitment Premium) and the New Warrants for distribution or reservation,
 as the case may be, in accordance with the terms of the Plan, the Restructuring Transactions
 Exhibit, any DIP Tranche A Equity Participation Agreement, the Rights Offering Backstop
 Agreement, and the Rights Offering Procedures without the need for any further corporate action.
 All Holders of Reorganized Enviva Inc. Interests and/or New Warrants (whether issued and
 distributed hereunder, including on account of the DIP Tranche A Equity Participation, or pursuant
 to the Rights Offering or otherwise, and in each case, whether such Reorganized Enviva Inc.
 Interests are held directly or indirectly through the facilities of DTC) shall be deemed to be a party
 to, and bound by, the Stockholders Agreement or the New Warrants Agreement, as applicable, in
 accordance with their terms, without the requirement to execute a signature page thereto ; provided,
 that, without in any way reducing the force and effect of the foregoing, the Debtors may, in their
 discretion and as a means of further assurance (and with the consent of the Majority Consenting
 2026 Noteholders) require that such Holders become party to the New Organizational Documents
 or the New Warrants Agreement, either as a condition to distribution of the Reorganized Enviva
 Inc. Interests or New Warrants, as applicable, or at a later date.

         All of the Reorganized Enviva Inc. Interests and New Warrants, when so issued, shall be
 duly authorized, validly issued, fully paid, and non-assessable (as applicable). Each distribution
 and issuance of the Reorganized Enviva Inc. Interests and New Warrants under the Plan shall be
 governed by the terms and conditions set forth in the Plan applicable to such distribution or
 issuance and by the terms and conditions of the instruments evidencing or relating to such
 distribution or issuance, including the New Organizational Documents, the New Warrants
 Agreement, any DIP Tranche A Equity Participation Agreement, the Rights Offering Backstop
 Agreement, and the Rights Offering Procedures, as applicable, which terms and conditions shall
 bind each Entity receiving such distribution or issuance.

        For the avoidance of doubt, the acceptance of Reorganized Enviva Inc. Interests and/or
 New Warrants by any Holder of any Claim or Interest or any other Entity shall be deemed as such
 Holder’s or Entity’s agreement to the applicable New Organizational Documents and the New
 Warrants Agreement, as applicable, as may be amended or modified from time to time following
 the Effective Date in accordance with their terms.

       Following the distribution of Reorganized Enviva Inc. Interests on account of the DIP
 Tranche A Equity Participation, the Rights Offering and the Rights Offering Backstop
 Commitment Premium, if the Reorganized Enviva Inc. Interests (a) contained in the Existing


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 Equity Interests Equity Pool and (b) into which the New Warrants are convertible is not greater
 than 0.0%, then (x) no Reorganized Enviva Inc. Interests shall be issued or distributed on account
 of Existing Equity Interests and (y) no New Warrants shall be issued or distributed. In such case,
 Holders of Existing Equity Interests shall receive their Pro Rata share of Cash in an amount equal
 to $1 million in accordance with Article III.B.10 of the Plan, and shall not be entitled to receive
 the Pro Rata share of the Existing Equity Interests Equity Pool and the New Warrants.

         To the extent practicable, as determined in good faith by the Debtors and the Majority
 Consenting 2026 Noteholders, the Reorganized Debtors shall (a) emerge from these Chapter 11
 Cases as private companies on the Effective Date and not be subject to SEC repo rting requirements
 under Sections 12 or 15 of the Exchange Act, or otherwise; provided that the Debtors are able to
 meet the requisite thresholds for SEC deregistration; (b) not be voluntarily subjected to any
 reporting requirements promulgated by the SEC; except, in each case, as otherwise may be
 required pursuant to the New Organizational Documents, the Exit Facilities Documents or
 applicable law; (c) not be required to list the Reorganized Enviva Inc. Interests on a national
 securities exchange; (d) timely file or otherwise provide all required filings and documentation to
 allow for the termination and/or suspension of registration with respect to SEC reporting
 requirements under the Exchange Act prior to the Effective Date; (e) make good faith efforts to
 ensure DTC eligibility of securities issued in connection with the Plan (other than any securities
 required by the terms of any agreement or by the applicable securities laws to be held on the books
 of an agent and not in DTC), including but not limited to the New Warrants; and (f) take steps
 necessary to reduce regulatory and/or compliance costs in connection with the foregoing.

 D.     Rights Offering

         On the Effective Date, the Debtors shall consummate the Rights Offering pursuant to the
 terms and conditions of the Plan and the Rights Offering Procedures. The Rights Offering shall
 be conducted prior to the Effective Date and the Rights Offering Shares shall be issued Pro Rata
 to the Rights Offering Participants pursuant to the Plan and the Rights Offering Procedures.
 Pursuant to the Plan, the Rights Offering Procedures, and the Rights Offering Backstop
 Agreement, the Rights Offering shall be open to all eligible Holders of Allowed Bond General
 Unsecured Claims. The consummation of the Rights Offering is conditioned on the consummation
 of the Plan and satisfaction of the conditions set forth in the Rights Offering Procedures and in the
 Rights Offering Backstop Agreement, as applicable. The Rights Offering Subscription Rights may
 not be sold, transferred, or assigned, except in the circumstances described in the Rights Offering
 Procedures.

         The Rights Offering Backstop Parties have agreed (on a several and not joint basis) to
 purchase any Unsubscribed Shares offered in the Rights Offering pursuant to the terms and
 conditions of the Rights Offering Backstop Agreement. On the Effective Date, the rights and
 obligations of the Debtors under the Rights Offering Backstop Agreement shall vest in the
 Reorganized Debtors.

         On the Effective Date, as consideration for the commitments provided under the Rights
 Offering Backstop Agreement, and subject to and as set forth in the Rights Offering Backstop
 Agreement and the Rights Offering Backstop Approval Order, Reorganized Enviva Inc. Interests
 in an amount equal to the Rights Offering Backstop Commitment Premium (which shall be subject


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 to dilution on account of the MIP Equity) shall be distributed to the Rights Offering Backstop
 Parties.

 E.     DIP Tranche A Equity Participation

         On or prior to the DIP Tranche A Equity Participation Election Time, Holders of Allowed
 DIP Tranche A Claims may elect whether to participate in the DIP Tranche A Equity Participation
 (1) solely in the case of the Rights Offering Backstop Parties and their related funds, pursuant to
 the Rights Offering Backstop Agreement, and (2) in the case of any other Holder of DIP Tranche
 A Claims, pursuant to a DIP Tranche A Equity Participation Agreement that is in form and
 substance acceptable to the Majority Consenting 2026 Noteholders and parties whose consent is
 required under the Rights Offering Backstop Agreement; provided that the Debtors shall be
 permitted to waive or modify such DIP Tranche A Equity Participation Agreements solely with
 the consent of the Majority Consenting 2026 Noteholders and such other consents as required
 under the Rights Offering Backstop Agreement.

         On the Effective Date, subject to the terms hereof, Reorganized Enviva Inc. Interests shall
 be distributed to the Holders of the DIP Tranche A Claims that elect to participate in the DIP
 Tranche A Equity Participation by the DIP Tranche A Equity Participation Election Time.

 F.     Corporate Existence

         Except as otherwise provided in the Plan, the Plan Supplement (including the Restructuring
 Transactions Exhibit), the Confirmation Order, or any agreement, instrument, or other document
 incorporated herein or therein, on the Effective Date, each Debtor shall continue to exist after the
 Effective Date as a separate corporation, limited liability company, partnership, or other form of
 entity, as the case may be, with all the powers of a corporation, limited liability company,
 partnership, or other form of entity, as the case may be, pursuant to the applicable law in the
 jurisdiction in which each applicable Debtor is incorporated or formed or pursuant to the respective
 certificate of incorporation and bylaws (or other formation documents and agreements) in effect
 prior to the Effective Date, except to the extent that such certification of incorporation and bylaws
 (or other formation documents and agreements) are amended under the Plan, including, with
 respect to Reorganized Enviva Inc., pursuant to the New Organizational Documents, or otherwise,
 in each case, consistent with the Plan, and to the extent such documents are amended, such
 documents are deemed amended pursuant to the Plan and require no further action or approval
 (other than any requisite filings, approvals or consents required under applicable state, provincial
 or federal law). After the Effective Date, the respective certificate of incorporation and bylaws (or
 other formation documents or agreements) of one or more of the Reorganized Debtors may be
 amended or modified without supervision or approval by the Court and free of any restrictions of
 the Bankruptcy Code or Bankruptcy Rules. After the Effective Date, one or more of the
 Reorganized Debtors may be disposed of, dissolved, wound down, merged, converted, liquidated,
 etc., without supervision or approval by the Court and free of any restrictions of the Bankruptcy
 Code or Bankruptcy Rules.




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 G.     Vesting of Property in the Reorganized Debtors

         Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or
 any agreement, instrument, or other document incorporated herein or therein, on the Effective
 Date all property in each Estate, including all Causes of Action and, for the avoidance of doubt,
 all equity interests in EWH held by Enviva, LP, and any property acquired by any of the Debtors
 shall vest in each applicable Reorganized Debtor, free and clear of all Liens, Claims, charges, or
 other encumbrances. On and after the Effective Date, except as otherwise provided in the Plan,
 the Plan Supplement, or the each Reorganized Debtor may operate its business and may use,
 acquire, or dispose of property, and compromise or settle any Claims, Interests, or Causes of
 Action without supervision or approval by the Court and free of any restrictions of the Bankruptcy
 Code or Bankruptcy Rules.

        Except with respect to Liens securing the Exit Facility, as applicable, or as otherwise
 provided for in the Plan, to the extent that any Holder of a Secured Claim that has been satisfied
 or discharged in full pursuant to the Plan, or any agent for such Holder, has filed or recorded
 publicly any Liens and/or security interests to secure such Holder’s Secured Claim, as soon as
 practicable on or after the Effective Date, such Holder (or the agent for such Holder) shall take
 any and all steps requested by the Debtors, the Reorganized Debtors or any administrative agent
 under the Exit Facility Documents, as applicable, that are necessary or desirable to cancel and/or
 extinguish such Liens and/or security interests, including the making of any applicable filings or
 recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings
 on such Holder’s behalf.

         After the Effective Date, the Reorganized Debtors may present Court order(s) or
 assignment(s) suitable for filing in the records of every county or governmental agency where the
 property vested in accordance with the foregoing paragraph is or was located, which provide that
 such property is conveyed to and vested in the Reorganized Debtors; provided that the presentation
 or filing of the Confirmation Order shall constitute good and sufficient evidence of, but shall not
 be required to effect, the termination of any mortgages, deeds of trust, Liens, pledges, or other
 security interests. The Court order(s) or assignment(s) may designate all Liens, Claims,
 encumbrances, or other interests which appear of record and/or from which the property is being
 transferred, assigned and/or vested free and clear of. The Plan shall be conclusively deemed to be
 adequate notice that such Lien, Claim, encumbrance, or other interest is being extinguished and
 no notice, other than by the Plan, shall be given prior to the presentation of such Court order(s) or
 assignment(s). Any Person having a Lien, Claim, encumbrance, or other interest against any of
 the property vested in accordance with the foregoing paragraph shall be conclusively deemed to
 have consented to the transfer, assignment and vesting of such property to or in the Reorganized
 Debtors free and clear of all Liens, Claims, charges or other encumbrances by failing to object to
 confirmation of the Plan, except as otherwise provided in the Plan.

 H.     Cancellation of Existing Securities and Agreements

        Except as otherwise set forth in the Plan or the Plan Supplement, on the Effective Date, all
 Enviva Inc. Interests shall be canceled, released, discharged, and extinguished, and the
 Reorganized Enviva Inc. Interests (including the DIP Tranche A Equity Allocation, the Rights
 Offering Shares, and the Reorganized Enviva Inc. Interests issued on account of the Rights


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 Offering Backstop Commitment Premium) and the New Warrants shall be issued pursuant to the
 Plan. Except as otherwise provided in the Plan, on the Effective Date: (1) the obligations of the
 Debtors under any certificate, security, share, note, bond, credit agreement, indenture, purchase
 right, option, warrant, equity security, or other instrument or document directly or indirectly
 evidencing, creating or relating to any indebtedness or obligation of or ownership interest in the
 Debtors, or giving rise to any Claim or Interest (except such agreements, certificates, notes, or
 other instruments or documents evidencing indebtedness or obligation of or ownership interest in
 the Debtors that are Reinstated, amended and Reinstated, or entered into pursuant to the Plan) shall
 be canceled solely as to the Debtors and their affiliates, and the Reorganized Debtors shall not
 have any continuing obligations thereunder, without any need for a Holder or Debtor to take any
 further action with respect thereto, and the duties and obligations of all parties thereto, including
 the Debtors or the Reorganized Debtors, as applicable, and any non-Debtor Affiliates, thereunder
 or in any way related thereto shall be deemed satisfied in full, canceled, released, discharged, and
 of no further force or effect; and (2) the obligations of the Debtors or the Reorganized Debtors, as
 applicable, and their affiliates pursuant, relating, or pertaining to any agreements, indentures,
 certificates of designation, bylaws, or certificate or articles of incorporation or similar documents
 governing the shares, certificates, notes, bonds, indentures, purchase rights, options, warrants, or
 other instruments or documents evidencing or creating any indebtedness or obligation of or Interest
 in the Debtors (except such agreements, certificates, notes, or other instruments evidencing
 indebtedness or obligation of or ownership interest in the Debtors that are specifically Reinstated
 amended and Reinstated, or entered into pursuant to the Plan ) shall be released and discharged;
 provided that notwithstanding the releases set forth in Article VIII.E of the Plan, Confirmation or
 the occurrence of the Effective Date, any such indenture or agreement that governs the rights,
 claims, or remedies of the Holder of a Claim or Interest shall continue in effect solely for purposes
 of (1) enabling Holders of Allowed Claims to receive distributions under the Plan as provided
 herein and subject to the terms and conditions of the applicable governing document or instrument
 as set forth therein and (2) allowing and preserving the rights of each of the applicable agents and
 indenture trustees to (a) make or direct the distributions in accordance with the Plan as provided
 herein and (b) assert or maintain any rights for indemnification the applicable agent or indenture
 trustee may have against the Debtors arising under, and due pursuant to the terms of, the applicable
 governing document or instrument; provided, further, that nothing in this Article IV.H shall affect
 the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or this Plan or
 result in any new or additional liability to the Reorganized Debtors; provided, further, that nothing
 in this section shall effectuate a cancellation of any Reorganized Enviva Inc. Interests,
 Intercompany Interests, Intercompany Claims, or Enviva, LP’s equity interest in EWH. Payment
 of the Minority Lender Group Fee and Expense Reimbursement in accordance with paragraph
 13(j) of the Final DIP Order shall be deemed to fully and finally satisfy any claim for expense
 reimbursement or indemnification held by the Minority Lender Group.

        On the Effective Date, each holder of a certificate or instrument evidencing a Claim that is
 discharged by the Plan shall be deemed to have surrendered such certificate or instrument in
 accordance with the applicable indenture or agreement that governs the rights of such holder of
 such Claim without the need for any further action by the Holder thereof. Except as otherwise set
 forth herein or in the Plan Supplement, such surrendered certificate or instrument shall be deemed
 canceled as set forth in, and subject to the exceptions set forth in, this Article IV.H .




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         Notwithstanding anything to the contrary in this Article IV.H, any provision in any
 document, instrument, lease, or other agreement that causes or effectuates, or purports to cause or
 effectuate, a default, termination, waiver, or other forfeiture of, or by, a Debtor, as a result of the
 cancellations, terminations, satisfaction, releases, or discharges provided for in this Article IV.H
 shall be deemed null and void and shall be of no force and effect. Nothing contained herein shall
 be deemed to cancel, terminate, release, or discharge the obligation of a Debtor or any of its
 counterparties under any Executory Contract or Unexpired Lease to the extent such Executory
 Contract or Unexpired Lease has been assumed by such Debtor or Reorganized Debtor, as
 applicable, pursuant to the Plan or a Final Order of the Court.

 I.     Corporate Action

          Upon the Effective Date, all actions (whether to occur before, on, or after the Effective
 Date) contemplated by the Plan (including any transaction described in, or contemplated by, the
 Restructuring Transactions Exhibit) shall be deemed authorized and approved by the Court in all
 respects, including, as applicable: (1) consummation of the Rights Offering and the DIP Tranche
 A Equity Participation; (2) entry into the Exit Facility; (3) execution, delivery, and performance
 of the Exit Facility Documents, and the New Warrants Agreement; (4) the issuance and
 distribution of the Reorganized Enviva Inc. Interests (including the DIP Tranche A Equity
 Allocation, the Rights Offering Shares, and the Reorganized Enviva Inc. Interests issued on
 account of the Rights Offering Backstop Commitment Premium) and the New Warrants;
 (5) appointment of the New Board and other directors and officers for Reorganized Enviva Inc.
 and the other Reorganized Debtors; (6) implementation of the Restructuring; (7) if the Debtors
 expect to qualify for and elect to utilize the special bankruptcy exception under section 382(l)(5)
 of the Internal Revenue Code, the New Organizational Documents may include, if applicable, any
 restrictions on certain transfers of the Reorganized Enviva Inc. Interests; and (8) all other actions
 contemplated by the Plan and the Restructuring Transactions Exhibit (whether to occur before or
 after the Effective Date). Upon the Effective Date, all matters provided for in the Plan involving
 the corporate structure of Reorganized Enviva Inc. and the other Reorganized Debtors, and any
 corporate, limited liability company, or related action required by the Debtors, Reorganized Enviva
 Inc., or the other Reorganized Debtors in connection with the Plan (including any items listed in
 the first sentence of this paragraph) shall be deemed to have occurred and shall be in effect in all
 respects in accordance with the Plan, including the Restructuring Transactions Exhibit, in each
 case without further notice to or order of the Court and without any requirement of further action
 by the equityholders, directors, managers, or officers of the Debtors, Reorganized Enviva Inc., or
 the other Reorganized Debtors, as applicable, and with like effect as though such action had been
 taken unanimously by the shareholders, members, directors, managers, or officers, as applicable,
 of the Debtors or Reorganized Debtors. On or (as applicable) before the Effective Date, the
 appropriate directors, managers, officers, or other authorized persons of the Debtors, Reorganized
 Enviva Inc., or the other Reorganized Debtors, as applicable, shall be authorized, empowered and
 (as applicable) directed to issue, execute, and deliver the agreements, documents, securities, and
 instruments contemplated by the Plan (or necessary or desirable to effectuate the transactions
 contemplated by the Plan) in the name of and on behalf of Reorganized Enviva Inc. and the other
 Reorganized Debtors, including the Exit Facility Documents, the New Warrants Agreement, the
 New Organizational Documents, and any and all other agreements, documents, securities, and
 instruments relating to the foregoing, to the extent not previously authorized by the Cou rt. The



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 authorizations and approvals contemplated by this Article IV.I of the Plan shall be effective
 notwithstanding any requirements under non-bankruptcy law.

 J.     New Organizational Documents

         To the extent required under the Plan or applicable non -bankruptcy law, Reorganized
 Enviva Inc. and the other Reorganized Debtors, as applicable, will, on or as soon as practicable
 after the Effective Date, file their respective New Organizational Documents with the applicable
 Secretaries of State and/or other applicable authorities in their respective states, provinces, or
 countries of incorporation or formation in accordance with the corporate or other applicable laws
 of the respective states, provinces, or countries of incorporation or formation. On the Effective
 Date, the New Organizational Documents shall be effective. To the extent required pursuant to
 section 1123(a)(6) of the Bankruptcy Code, the New Organizational Documents of each applicable
 Reorganized Debtor will prohibit the issuance of non-voting equity securities. After the Effective
 Date, Reorganized Enviva Inc. and the other Reorganized Debtors, as applicable, may amend and
 restate their respective New Organizational Documents and other constituent documents, as
 permitted by the laws of their respective states, provinces, or countries of organization or formation
 and their respective New Organizational Documents.

        On the Effective Date, the New Organizational Documents, in the forms set forth in the
 Plan Supplement, shall be adopted automatically by the applicable Reorganized Debtors and shall
 be amended or amended and restated, as applicable, as may be required to be consistent with the
 provisions of the Plan and the Restructuring Support Agreement, and shall be deemed to be valid,
 binding, and enforceable in accordance with their terms and provisions.

 K.     Stockholders Agreement

         On the Effective Date, Reorganized Enviva Inc. may enter into and adopt the Stockholders
 Agreement, substantially in the form set forth in the Plan Supplement, and which shall be deemed
 to be valid, binding upon the parties thereto, and enforceable in accordance with its terms and
 provisions. Reorganized Enviva Inc. or the Plan Administrator shall deliver the Stockholders
 Agreement to each Holder of Reorganized Enviva Inc. Interests, and, to the extent that the
 Stockholders Agreement purports to bind any such parties, such parties shall be bound thereby, in
 each case, without the need for execution by any party thereto other than Reorganized Enviva Inc.
 After the Effective Date, the successors, transferees, and assigns of each Holder of Reorganized
 Enviva Inc. Interests shall be required to execute a joinder to the Stockholders Agreement as and
 to the extent required pursuant to the New Organizational Documents or the Stockholders
 Agreement.

 L.     Directors and Officers of the Reorganized Debtors

         As of the Effective Date, subject to any requirement of Court approval pursuant to
 section 1129(a)(5) of the Bankruptcy Code, the terms of the current members of the boards of
 directors, boards of managers, or other governing bodies of the Debtors shall expire automatically
 and each person serving as a director or manager of a Debtor shall be removed and shall be deemed
 to have resigned and cease to have any authority automatically from and after the Effective Date
 to the extent not expressly included in the list of directors of the New Board, and the New Board


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 of each of the Reorganized Debtors shall be appointed in accordance with the Plan, the New
 Organizational Documents, and other constituent documents of each Reorganized Debtor. For the
 avoidance of doubt, except as otherwise provided in the Plan, the Confirmation Order, the Plan
 Supplement, or the New Organizational Documents, each Person serving as an officer of a Debtor
 shall continue to serve in such capacity for such Reorganized Debtor following the Effective Date.

        The size and composition of the New Board shall be determined by the Debtors and the Ad
 Hoc Group (subject to the consent rights contained in the Restructuring Support Agreement) and
 shall be set out in the New Organizational Documents or the Stockholders Agreement. The
 directors or managers for the other Reorganized Debtors shall be identified and selected by the
 New Board of Reorganized Enviva Inc. in accordance with the terms of the New Organizational
 Documents.

         Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in
 advance of the Confirmation Hearing as part of the Plan Supplement, to the extent known at such
 time, the identity and affiliations of any Person proposed to serve on the N ew Board of
 Reorganized Enviva Inc. or as an officer of any of the Reorganized Debtors. To the extent any
 such director, manager, or officer of the Reorganized Debtors is an Insider, the Debtors also will
 disclose the nature of any compensation to be paid to such director, manager, or officer. Each such
 officer and director or manager shall serve from and after the Effective Date pursuant to the terms
 of the New Organizational Documents and other constituent documents of Reorganized Enviva
 Inc. and each of the other Reorganized Debtors and applicable laws of the respective Reorganized
 Debtors’ jurisdiction of formation.

 M.     Effectuating Documents; Further Transactions

         On, before, or after the Effective Date, the Reorganized Debtors, the Reorganized Debtors’
 officers, and the directors or members of the New Boards, are authorized to and may issue, execute,
 deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or
 documents and take such actions as may be necessary or appropriate to effectuate, imple ment, and
 further evidence the terms and conditions of the Plan, the New Organizational Documents, the Exit
 Facility Documents, and the Securities issued pursuant to the Plan, including the Reorganized
 Enviva Inc. Interests, and any and all other agreements, documents, securities, filings, and
 instruments relating to the foregoing, in the name of and on behalf of Reorganized Enviva Inc. or
 the other Reorganized Debtors, without the need for any approvals, authorization, or consents
 except those expressly required pursuant to the Plan. The authorizations and approvals
 contemplated by this Article IV shall be effective notwithstanding any requirements under non-
 bankruptcy law.

 N.     Exemption from Certain Taxes and Fees

         Pursuant to, and to the fullest extent permitted by, section 1146(a) of the Bankruptcy Code,
 (a) any issuance, transfer, or exchange of a Security (including of the Reorganized Enviva Inc.
 Interests), (b) any grant of collateral under the Exit Facility, (c) any creation, modification,
 consolidation or recording of any Lien, mortgage, deed of trust, or other security interest, (d) any
 transfer (whether from a Debtor to a Reorganized Debtor or to any other Person) of property, (e)
 the making or assignment of any lease or sublease, (f) any Restructuring authorized by the Plan,


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 or (g) the making or delivery of any deed or other instrument of transfer under, in furtherance of,
 or in connection with the Plan, including (i) any merger agreements; (ii) agreements of
 consolidation, restructuring, disposition, liquidation, or dissolution; (iii) deeds; (iv) bills of sale;
 (v) assignments executed in connection with any Restructuring occurring under the Plan; or (vi)
 the other Definitive Documentation, in each case, pursuant to, in contemplation of, or in
 connection with, the Plan or the Confirmation Order shall not be subject to any document recording
 tax, personal property tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
 stamp act, real estate transfer tax, sale or use tax, mortgage recording tax, Uniform Commercial
 Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental
 assessment, and upon entry of the Confirmation Order, the appropriate federal, state or local
 governmental officials or agents shall forgo the collection of any such tax or governmental
 assessment and accept for filing and recordation any instruments of transfer or other relevant
 documents without the payment of any such tax, recordation fee, or governmental assessment.

 O.       Preservation of Causes of Action

         In accordance with section 1123(b)(3) of the Bankruptcy Code, but subject in all respects
 to Article VIII, the Reorganized Debtors shall retain and may enforce all rights to commence and
 pursue, as appropriate, any and all Causes of Action of the Debtors, whether arising before or after
 the Petition Date, including any actions specifically enumerated in the Schedule of Retained
 Causes of Action, and such rights to commence, prosecute, or settle such Retained Causes of
 Action shall be preserved notwithstanding the occurrence of the Effective Date. The Reorganized
 Debtors may pursue such Retained Causes of Action, as appropriate, in accordance with the best
 interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference
 in the Plan, the Plan Supplement, or the Disclosure Statement to any Causes of Action against
 it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not
 pursue any and all available Retained Causes of Action against it. The Debtors or the
 Reorganized Debtors, as applicable, expressly reserve all rights to prosecute any and all
 Retained Causes of Action against any Entity, except as otherwise expressly provided in the
 Plan. Unless any Causes of Action of the Debtors against an Entity are expressly waived,
 relinquished, exculpated, released, compromised, or settled in the Plan or a Court order, including
 pursuant to Article VIII hereof, the Debtors or Reorganized Debtors, as applicable, expressly
 reserve all Causes of Action, for later adjudication or settlement, and, therefore, no preclusion
 doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
 preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Retained
 Causes of Action upon, after, or as a consequence of the Confirmation or Consummation. [For
 the avoidance of doubt, in no instance will any Cause of Action preserved pursuant to this Article
 IV.O include any claim or Cause of Action released pursuant to Article VIII of the Plan.]5

        In accordance with section 1123(b)(3) of the Bankruptcy Code, except as otherwise
 provided herein, any Causes of Action that a Debtor may hold against any Entity shall vest in the
 applicable Reorganized Debtor. The applicable Reorganized Debtors, through their authorized
 agents or representatives, shall retain and may exclusively enforce any and all such Causes of

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      The release provisions set forth in this Plan remain subject to the results and assessment of the investigation being
      conducted by the Special Committee and evaluation of the Plan Evaluation Committee, and any modifications
      hereto shall be subject to the consent rights set forth in the Restructuring Support Agreement.


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 Action. The Reorganized Debtors shall have the exclusive right, authority, and discretion to
 determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw,
 or litigate to judgment any such Causes of Action, and to decline to d o any of the foregoing without
 the consent or approval of any third party or further notice to or action, order, or approval of the
 Court.

 P.     Management Incentive Plan

         On the Effective Date, the Reorganized Debtors will implement the Management Incentive
 Plan. The Reorganized Debtors will reserve a pool of Reorganized Enviva Inc. Interests
 representing (on a fully diluted basis) up to 10.0% of the Reorganized Enviva Inc. Interests, 3.5%
 of which shall be allocated to the applicable recipients on the Effective Date in the form of
 restricted stock units to be granted at emergence, and up to 6.5% of which shall be allocated to the
 applicable recipients after the Effective Date in the discretion of the New Board (or its designees)
 in a form of equity-based awards to be determined by the New Board or as set forth in the Plan
 Supplement, if applicable. Awards under the Management Incentive Plan may be granted to the
 Reorganized Debtors’ officers, directors, management, employees, and consultants. Subject to the
 foregoing, the New Board (or its designees) will administer and determine in its discretion the
 additional terms of the Management Incentive Plan and awards granted thereunder after the
 Effective Date, including the recipient(s), allocation, structure, granting, and vesting of applicable
 awards, including determining performance metrics.

        The Confirmation Order shall authorize the Reorganized Debtors to adopt and enter into
 the Management Incentive Plan, on the terms set forth herein. The equity -based awards granted
 under the Management Incentive Plan shall dilute all of the Reorganized Enviva Inc. Interests.

 Q.     Employment Agreements

         All employment, confidentiality, severance, non-competition agreements, and offer letters
 with respect to the Debtors’ employees, retirees, consultants, and contractors, in each case, are
 deemed to be, and shall be treated as, Executory Contracts under the Plan and, on the Effective
 Date, shall be assumed and, as applicable, assigned to the applicable Reorganized Debtor pursuant
 to sections 365 and 1123 of the Bankruptcy Code, whether or not specifically included in the Plan
 Supplement, except to the extent such agreements are included on the Schedule of Rejected
 Executory Contracts and Unexpired Leases, subject to the consent of the Majority Consenting
 2026 Noteholders.

 R.     Employee and Retiree Benefits

         All compensation and benefits plans, policies, and programs of the Debtors applicable to
 their respective employees, retirees, consultants, and contractors, including all savings plans,
 retirement plans, healthcare plans, disability plans, incentive plans, severance agreements and
 related payments, and life and accidental death and dismemberment insurance plans, are deemed
 to be, and shall be treated as, Executory Contracts under the Plan and, on the Effective Date, shall
 be assumed pursuant to sections 365 and 1123 of the Bankruptcy Code, whether or not specifically
 included in the Plan Supplement, except to the extent such agreements are included on the
 Schedule of Rejected Executory Contracts and Unexpired Leases, subject to the consent of the


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 Majority Consenting 2026 Noteholders. To the extent required under section 1129(a)(13) of the
 Bankruptcy Code, on and after the Effective Date, all retiree benefits (as that term is defined in
 section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with
 applicable law.

 S.     Payment of the Restructuring Expenses

         The accrued and unpaid Restructuring Expenses incurred, or estimated to be incurred, up
 to and including the Effective Date (whether incurred prepetition or postpetition) shall be paid in
 full in Cash on the Effective Date (to the extent not previously paid during the course of the
 Chapter 11 Cases) in accordance with, and subject to, the DIP Orders, without any requirement to
 File a fee application with the Court, without the need for time detail, and without any requirement
 for review or approval by the Court or any other party. All Restructuring Expenses to be paid on
 the Effective Date shall be estimated in good faith prior to and as of the Effective Date and such
 estimates shall be delivered to the Debtors no later than 2 Business Days before the anticipated
 Effective Date; provided that such estimates shall not be considered to be admissions or limitations
 with respect to such Restructuring Expenses. In addition, the Debtors and the Reorganized Debtors
 (as applicable) shall continue to pay, when due, pre- and post-Effective Date Restructuring
 Expenses, when due and payable in the ordinary course, whether incurred before, on or after the
 Effective Date, including for the avoidance of doubt and without limitation, all post-Effective Date
 Restructuring Expenses incurred by the Ad Hoc Group Advisors for work related to
 implementation of the Plan. For the avoidance of doubt, any and all DIP Obligations that are also
 Restructuring Expenses are entitled to all rights and protections of other DIP Obligations . Any
 Restructuring Expenses invoiced after the Effective Date shall be paid promptly, but no late r than
 10 Business Days from receiving an invoice.
 T.     Closing of Chapter 11 Cases

         Upon the occurrence of the Effective Date, the Reorganized Debtors shall be permitted to
 close all but one of their Chapter 11 Cases. The Reorganized Debtors may designate one
 Chapter 11 Case to remain open, and all contested matters and adversary proceedings relating to
 each of the Debtors, including objections to Claims, shall be administered and heard in such
 Chapter 11 Case. The Reorganized Debtors may change the name of the remaining Debtor and
 case caption of the remaining open Chapter 11 Case as desired, in the Reorganized Debtors’ sole
 discretion.

                           ARTICLE V.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption and Rejection of Executory Contracts and Unexpired Leases

         On the Effective Date, except as otherwise provided herein or in any contract, instrument,
 release, or other agreement or document entered into in connection with the Plan, the Plan shall
 serve as a motion under sections 365 and 1123(b)(2) of the Bankruptcy Code to assume Executory
 Contracts and Unexpired Leases, and all Executory Contracts or Unexpired Leases shall be
 assumed by and assigned to the applicable Reorganized Debtor or its designated assignees in
 accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code
 without the need for any further notice to or action, order, or approval of the Court, regardless of


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 whether such Executory Contract or Unexpired Lease is set forth on the Schedule of Assumed
 Executory Contracts and Unexpired Leases, other than: (1) those that are identified on the
 Schedule of Rejected Executory Contracts and Unexpired Leases, subject to the consent of the
 Majority Consenting 2026 Noteholders; (2) those that have been previously rejected or assumed
 by a Final Order or otherwise in accordance with the Assumption and Rejection Procedures Order;
 (3) those that are the subject of a motion to reject Executory Contracts or Unexpired Leases that is
 pending on the Effective Date; (4) those that are subject to a motion to reject an Executory Contract
 or Unexpired Lease pursuant to which the requested effective date of such rejection is after the
 Effective Date; or (5) those that have previously expired or terminated pursuant to their own terms
 or by agreement of the parties thereto. The assumption or rejection of all Executory Contracts or
 Unexpired Leases in the Chapter 11 Cases or in the Plan shall be determined by the Debtors, with
 the consent of the Majority Consenting 2026 Noteholders.

         Entry of the Confirmation Order shall constitute the Court’s order approving the
 assumptions, assumptions and assignments, or rejections, as applicable, of Executory Contracts or
 Unexpired Leases as set forth in the Plan or the Schedule of Rejected Executory Contracts and
 Unexpired Leases and the Schedule of Assumed Executory Contracts and Unexpired Leases,
 pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated,
 assumptions, assumptions and assignments, or rejections of Executory Contracts and Unexpired
 Leases pursuant to the Plan are effective as of the Effective Date. Each Executory Contract or
 Unexpired Lease assumed pursuant to the Plan but not assigned to a third party before the Effective
 Date shall re-vest in and be fully enforceable by the applicable Reorganized Debtor in accordance
 with its terms, except as such terms may have been modified by the provisions of the Plan or any
 order of the Court. Any motions to reject Executory Contracts or Unexpired Leases pending on
 the Effective Date shall be subject to approval by the Court on or after the Effective Date.
 Notwithstanding anything to the contrary in the Plan, the Debtors reserve the right to alter, amend,
 modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired Leases and
 the Schedule of Rejected Executory Contracts and Unexpired Leases at any time through and
 including 60 Business Days after the Effective Date.

         To the maximum extent permitted by law, to the extent any provision in any Executory
 Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan restricts or
 prevents, or purports to restrict or prevent, or is breached or deemed breach ed by, the assumption
 or assumption and assignment of such Executory Contract or Unexpired Lease (including any
 “change of control” (whether direct or indirect) or “anti-assignment” provision, or similar
 provision implicated by a conversion of the form of entity of the Debtors or their Affiliates) then
 such provision shall be deemed modified such that the transactions contemplated by the Plan shall
 not entitle the non-Debtor party thereto to terminate such Executory Contract or Unexpired Lease,
 assess or change any fee, or exercise any default-related rights with respect thereto.

 B.     Pass-Through

         Except as otherwise provided in the Plan, any rights or arrangements necessary or useful
 to the operation of the Reorganized Debtors’ business, but not otherwise addressed as a Claim or
 Interest or assumed under Article V.A of the Plan, including non -exclusive or exclusive patent,
 trademark, copyright, or other intellectual property licenses, and other contracts not assumable
 under section 365(c) of the Bankruptcy Code, shall, in the absence of any other treatment under


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 the Plan or Confirmation Order, be passed through the Chapter 11 Cases for the benefit of the
 Reorganized Debtors, provided that notwithstanding anything to the contrary herein, any Claim
 thereunder shall be treated in accordance with the distribution provisions of the Plan.

 C.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Counterparties to Executory Contracts or Unexpired Leases listed on the Schedule of
 Rejected Executory Contracts and Unexpired Leases shall be promptly served with a notice of
 rejection of Executory Contracts and Unexpired Leases substantially in the form approved by the
 Court pursuant to the Disclosure Statement Order. Unless otherwise provided by a Final Order of
 the Court, all Proofs of Claim with respect to Claims arising from the rejection of Executory
 Contracts or Unexpired Leases, if any, must be Filed with the Court by the Rejection Damages
 Bar Date. Any Claims arising from the rejection of an Executory Contract or Unexpired
 Lease that are not Filed by the Rejection Damages Bar Date will be automatically Disallowed,
 forever barred from assertion, and shall not be enforceable against, as applicable, the
 Debtors, the Reorganized Debtors, the Estates, or property of the foregoing parties, without
 the need for any objection by the Debtors or the Reorganized Debtors, as applicable, or
 further notice to, or action, order, or approval of the Court or any other Entity, and any
 Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be
 deemed fully satisfied, released, and discharged, notwithstanding anything in the Schedules
 or any Proof of Claim to the contrary. Claims arising from the rejection of any Executory
 Contract or Unexpired Lease shall be considered Non-Bond General Unsecured Claims and shall
 be treated in accordance with Article III of the Plan.

 D.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
 or assumed and assigned pursuant to the Plan and the Confirmation Order shall be satisfied,
 pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in Cash
 on the Effective Date with such Cure Claim being $0.00 if no amount is listed in the Cure Notice,
 subject to the limitation described below, or on such other terms as the parties to such Executory
 Contracts or Unexpired Leases may otherwise agree in satisfaction of any Cure Claim (the “Cure
 Amount”). In the event of a dispute regarding (1) the amount of the Cure Claim, (2) the ability of
 the Debtors or the Reorganized Debtors, as applicable, to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assumed and assigned, or (3) any other matter
 pertaining to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code
 shall be made following the entry of a Final Order or orders resolving the dispute and approving
 the assumption or assumption and assignment. Notwithstanding the foregoing, to the extent the
 dispute relates solely to any Cure Claims, the applicable Debtor (or Reorganized Debtor) may (x)
 resolve any such dispute following the Effective Date without any further order or approval of the
 Court or (y) assume the Executory Contract or Unexpired Lease prior to the resolution of any such
 dispute; provided, however, that, in the case of (y) the Debtor reserves Cash on the Effective Date
 in an amount sufficient to pay the full amount reasonably asserted as the required Cure Claim by
 the contract counterparty; provided, further, however, that following resolution of any such
 dispute, the Debtor shall have the right to reject any Executory Contract or Unexpired Lease within
 30 days of such resolution.


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         At least fourteen (14) days prior to the Confirmation Hearing, Debtors shall provide for
 notices of proposed assumption or assumption and assignment and proposed Cure Amounts to be
 sent to applicable counterparties and for procedures for objecting thereto and resolution of disputes
 by the Court. Any objection by a counterparty to an Executory Contract or Unexpired Lease
 to a proposed assumption or assumption and assignment or related Cure Amount must be
 Filed, served, and actually received by the Debtors by the deadline to object to confirmation
 of the Plan. Any counterparty to an Executory Contract or Unexpired Lease that fails to
 object timely to the proposed assumption, or proposed assumption and assignment, or Cure
 Amount will be deemed to have consented to such matters and will be deemed to have forever
 released and waived any objection to such proposed assumption, proposed assumption and
 assignment, and Cure Amount. To the extent an Executory Contract or Unexpired Lease is
 deemed assumed pursuant to Article V.A hereof, but the subject counterparty did not receive notice
 of such assumption by the Reorganized Debtors, such counterparty shall be afforded the ability to
 dispute whether such assumption satisfies the requirements of section 365(b) of the Bankruptcy
 Code; provided, that to the extent the Reorganized Debtors and the subject counterparty are unable
 to consensually resolve any such dispute or the Court determines a Cure Amount in an adverse
 manner to the Reorganized Debtors, the Reorganized Debtors may deem such Executory Contract
 or Unexpired Lease to be rejected as of the Eff ective Date.
         Assumption or assumption and assignment of any Executory Contract or Unexpired Lease
 pursuant to the Plan or otherwise shall result in the full release and satisfaction of any Claims or
 defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
 in control or ownership interest composition or other bankruptcy-related defaults, arising under
 any assumed or assumed and assigned Executory Contract or Unexpired Lease at any time prior
 to the effective date of assumption or assumption and assignment, as applicable. Any counterparty
 to an Executory Contract or Unexpired Lease that does not timely object to the notice of the
 proposed assumption or assumption and assignment of such Executory Contract or Unexpired
 Lease shall be deemed to have consented to the assumption or assumption and assignment, as
 applicable, of the applicable Executory Contract or Unexpired Lease notwithstanding any
 provision thereof that purports to: (1) prohibit, restrict, or condition the transfer or assignment of
 such contract or lease; (2) terminate or modify, or permit the termination or modification of, a
 contract or lease as a result of any direct or indirect transfer or assignment of the rights of any
 Debtor under such contract or lease or a change, if any, in the ownership or control of any Debtor
 under such contract or lease to the extent contemplated by the Plan; (3) increase, accelerate, or
 otherwise alter any obligations or liabilities of any Debtor or Reorganized Debtor under such
 Executory Contract or Unexpired Lease; or (4) create or impose a Lien upon any property or asset
 of any Debtor or Reorganized Debtor, as applicable. Each such provision shall be deemed to not
 apply to the assumption or assumption and assignment of such Executory Co ntract or Unexpired
 Lease pursuant to the Plan and counterparties to assumed Executory Contracts or Unexpired
 Leases that fail to object to the proposed assumption or assumption and assignment in accordance
 with the terms set forth in this Article V.D, shall forever be barred and enjoined from objecting to
 the proposed assumption or assumption and assignment or to the validity of such assumption or
 assumption and assignment (including with respect to any Cure Amounts or the provision of
 adequate assurance of future performance), or taking actions prohibited by the foregoing or the
 Bankruptcy Code on account of transactions contemplated by the Plan .




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 E.     Indemnification Obligations

         Except (i) as expressly provided by the Confirmation Order or the Plan, (ii) to the extent
 an applicable agreement is included on the Schedule of Rejected Executory Contracts and
 Unexpired Leases, or (iii) as otherwise determined by the Debtors, consistent with applicable law,
 all indemnification provisions in place as of the Effective Date, including any tail policies (whether
 in the by-laws, certificates of incorporation or formation, limited liability company agreements,
 other organizational documents, board resolutions, indemnification agreements, employment
 contracts, or otherwise), for current and former directors, officers, managers, employees, attorneys,
 accountants, investment bankers, and other professionals of the Debtors, in each case solely in
 their capacity as such, as applicable, shall be (1) be deemed Executory Contracts, (2) be Reinstated
 or otherwise assumed (or assumed and assigned) by the Reorganized Debtors, (3) remain intact
 and irrevocable, and (4) survive the Effective Date on terms no less favorable to such current and
 former directors, officers, managers, employees, attorneys, accountants, investment bankers, and
 other professionals of the Debtors than the indemnification provisions in place prior to the
 Effective Date; provided that the immediately preceding subclauses (1)–(4) shall not apply to any
 obligation of any Debtor to indemnify, hold harmless, or any obligation of similar import that
 (x) may be assertable by any Entity that is not a Released Party, or (y) is on account of conduct
 determined in a Final Order as constituting fraud, willful misconduct, gross negligence, self-
 dealing, or breach of the duty of loyalty. For the avoidance of doubt, subject to the occurrence of
 the Effective Date, the indemnification obligations in the proviso of the immediately preceding
 sentence shall be deemed rejected by the Debtors or the Reorganized Debtors pursuant to section
 365 of the Bankruptcy Code.

 F.     Insurance Policies

        Unless listed on the Schedule of Rejected Executory Contracts and Unexpired Leases, all
 of the Debtors’ insurance policies, including D&O Liability Insurance Policies, and any
 agreements, documents, or instruments relating thereto, are treated as and deemed to be Executory
 Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, the Debtors
 shall be deemed to have assumed all insurance policies and any agreements, documents, and
 instruments relating to coverage of all insured Claims, and such insurance policies and any
 agreements, documents, and instruments related thereto shall revest in the Reorganized Debtors.

         Notwithstanding anything to the contrary contained in this Plan or Confirmation Order,
 nothing shall alter, modify, amend, affect, or impair the terms and conditions of (or the coverage
 provided by) any of the D&O Liability Insurance Policies, including the coverage for defense and
 indemnity under any of the D&O Liability Insurance Policies which shall remain available to all
 individuals insured thereunder regardless of whether such officers, directors, trustees, managers,
 or members remain in such position after the Effective Date; provided that, for the avoidance of
 doubt, nothing in the preceding clause shall create any new or additional obligation of any Debtor
 to indemnify, hold harmless, or create any other obligation of similar import, with respect to any
 Entity.

         In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or
 otherwise reduce the coverage under any D&O Liability Insurance Policies in effect on or after the
 Petition Date, with respect to conduct or events occurring prior to the Effective Date, and all


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 members, directors, managers, and officers of the Debtors who served in such capacity at any time
 prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
 of such policy, to the extent set forth therein, regardless of whether such members, directors,
 managers, and officers remain in such positions after the Effective Date.

 G.     Modifications, Amendments, Supplements, Restatements, or Other Agreements

         Unless otherwise provided in the Plan or by separate order of the Court, each Executory
 Contract or Unexpired Lease that is assumed or assumed and assigned shall include all
 modifications, amendments, supplements, restatements, or other agreements made directly or
 indirectly by any agreement, instrument or other document that in any manner affect such
 Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
 thereto, if any, including easements, licenses, permits, rights, privileges, immunities, options,
 rights of first refusal, and any other interests, unless any of the foregoing agreements has been
 previously rejected or repudiated or is rejected or repudiated under the Plan or other order of the
 Court.

         Modifications, amendments, supplements, and restatements to prepetition Executory
 Contracts and Unexpired Leases that have been executed by the Debtors during the
 Chapter 11 Cases and actions taken in accordance therewith (1) shall not be deemed to alter the
 prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or
 amount of any Claims against any Debtor that may arise in connection therewith, (2 ) are not and
 do not create postpetition contracts or leases, (3) do not elevate to administrative expense priority
 any Claims of the counterparties to such Executory Contracts and Unexpired Leases against any
 of the Debtors, and (4) do not entitle any Entity to a Claim against any of the Debtors under any
 section of the Bankruptcy Code on account of the difference between the terms of any prepetition
 Executory Contracts or Unexpired Leases and subsequent modifications, amendments,
 supplements, or restatements.

 H.     Reservation of Rights

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
 Schedule of Assumed Executory Contracts and Unexpired Leases, Schedule of Rejected Executory
 Contracts and Unexpired Leases or any Cure Notice, nor anything contained in the Plan or the Plan
 Supplement, shall constitute an admission by the Debtors that any such contract or lease is in fact
 an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
 thereunder.

        Except as explicitly provided in this Plan, nothing in this Plan shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
 Debtors or the Reorganized Debtors under any executory or non-executory contract or unexpired
 or expired lease.

        Nothing in this Plan shall increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as applicable, under any
 executory or non-executory contract or unexpired or expired lease.




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          If there is a dispute regarding whether a contract or lease is or was executory or unexpired
 at the time of assumption or rejection, the Debtors, or, after the Effective Date, the Reorganized
 Debtors shall have 30 days following entry of a Final Order resolving such dispute to alter their
 treatment of such contract or lease, including by rejecting such Executory Contract or Unexpired
 Lease nunc pro tunc to the Confirmation Date.

 I.     Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Court shall retain jurisdiction with
 respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant
 to section 365(d)(4) of the Bankruptcy Code.

 J.     Contracts and Leases Entered into After the Petition Date

         Unless otherwise specifically provided for in an order of the Court, the Plan, or the
 Confirmation Order, any contracts and leases entered into after the Petition Date by any Debtor,
 including any Executory Contracts and Unexpired Leases assumed by such Debtor, will be
 performed by the applicable Debtor or Reorganized Debtor liable thereunder in the ordinary course
 of its business. Accordingly, such contracts and leases (including any assumed Executory
 Contracts and Unexpired Leases) that have not expired or otherwise been terminated, canceled, or
 rejected as of the date of Confirmation will survive and remain unaffected by entry of the
 Confirmation Order.

                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Timing and Calculation of Amounts to Be Distributed

         Unless otherwise provided in the Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or, if a Claim is not an Allowed Claim on the Effective Date, on the date
 that such Claim becomes Allowed or as soon as reasonably practicable thereafter), each Holder of
 an Allowed Claim, including any portion of a Claim that is an Allowed Claim notwithstanding that
 other portions of such Claim are a Disputed Claim, shall receive the full amount of the distributions
 that the Plan provides for Allowed Claims in each applicable Class. In the event that any payment
 or act under the Plan is required to be made or performed on a date that is not a Business Day, then
 the making of such payment or the performance of such act may be completed on the next
 succeeding Business Day, but shall be deemed to have been completed as of the required date. If
 and to the extent that there are Disputed Claims, distributions on account of any such Disputed
 Claims shall be made pursuant to the provisions set forth in Article VII of the Plan. Except as
 otherwise provided in this Plan, Holders of Claims and Interests shall not be entitled to interest,
 dividends, or accruals on the distributions provided for in this Plan, regardless of whether such
 distributions are delivered on or at any time af ter the Effective Date. The Debtors shall have no
 obligation to recognize any transfer of Claims against any Debtor or privately held Interests
 occurring on or after the Distribution Record Date. Distributions to Holders of Claims o r Interests
 related to public securities shall be made to such Holders in exchange for such securities, which
 shall be deemed canceled as of the Effective Date.




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 B.     Plan Administrator

         Distributions under the Plan shall be made by the Plan Administrator. The Debtors,
 Reorganized Debtors, and the Plan Administrator, as applicable, shall not be required to give any
 bond or surety or other Security for the performance of their duties unless otherwise ordered by
 the Court. However, in the event that the Plan Administrator is so ordered after the Effective Date,
 all costs and expenses of procuring any such bond or surety shall be paid for with Cash by the
 Debtors. To the extent the Plan Administrator is any party other than the Reorganized Debtors,
 the appointment and removal of the Plan Administrator shall be in the discretion of the
 Reorganized Debtors.

 C.     Rights and Powers of the Plan Administrator

        The Plan Administrator shall be empowered to: (1) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under the Plan;
 (2) make all distributions contemplated hereby; (3) oversee and make distributions from the
 Disputed Claims Reserve; (4) employ professionals to represent it with respect to its
 responsibilities; and (5) exercise such other powers as may be vested in the Plan Administrator by
 order of the Court, pursuant to the Plan, or as deemed by the Plan Administrator to be necessary
 and proper to implement the provisions hereof.

         Except as otherwise ordered by the Court, the amount of any reasonable fees and expenses
 (including in respect of tax obligations paid or payable by the Plan Administrator) incurred by the
 Plan Administrator on or after the Effective Date, and any reasonable compensation and expense
 reimbursement claims (including reasonable attorney fees and expenses), made by the Plan
 Administrator, in each case directly related to distributions under the Plan and its responsibilities
 hereunder, shall be subject to agreement between the Plan Administrator and the Reorganized
 Debtors (in their discretion), and the Reorganized Debtors are authorized to pay such fees and
 expenses in Cash in the ordinary course of business. In the event that the Reorganized Debtors
 and a Plan Administrator are unable to resolve any differences regarding disputed fees or expenses,
 either party shall be authorized to move to have such dispute heard by the Court.

 D.     Delivery of Distributions and Undeliverable or Unclaimed Property

        1.      Distribution Record Date

         As of the close of business on the Distribution Record Date, the various transfer registers
 for each of the Classes of Claims and Interests maintained by the Debtors or their respective agents
 shall be deemed closed, and there shall be no further changes in the record Holders of any of the
 Claims and Interests after the Distribution Record Date. The Debtors, the Reorganized Debtors,
 and the Plan Administrator, as applicable, shall have no obligation to recognize any transfer of any
 Claims or Interests occurring after the close of business on the Distribution Record Date. In
 addition, with respect to payment of any Cure Claims or disputes over any Cure Claims, neither
 the Debtors nor the Plan Administrator shall have any obligation to recognize or deal with any
 party other than the non-Debtor party to the applicable Executory Contract or Unexpired Lease as
 of the Effective Date, even if such non-Debtor party has sold, assigned, or otherwise transferred
 its Claim or a Cure Claim.


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         Notwithstanding anything in this Plan to the contrary, in connection with any distribution
 to be effected through the facilities of DTC (whether by means of book -entry exchange, free
 delivery, or otherwise), the Debtors and the Reorganized Debtors, as applicable, shall be entitled
 to recognize and deal for all purposes under this Plan with Holders of Reorganized Enviva Inc.
 Interests and the New Warrants to the extent consistent with the customary practices of DTC used
 in connection with such distributions. All Reorganized Enviva Inc. Interests and the New Warrants
 to be distributed under this Plan shall be issued in the names of such Holders or their nominees in
 accordance with DTC’s book-entry exchange procedures to the extent that the holders of the New
 Warrants or Reorganized Enviva Inc. Interests held their Enviva Inc. Interests through the facilities
 of DTC; provided that such Reorganized Enviva Inc. Interests and the New Warrants are eligible
 to be held and cleared through DTC’s book-entry system; provided, further, however, to the extent
 the Reorganized Enviva Inc. Interests or the New Warrants or a portion thereof are not eligible for
 distribution through the facilities of DTC in accordance with DTC’s customary practices or
 because of applicable securities laws, Reorganized Enviva Inc. shall take all such reasonable
 actions as may be required to cause the distributions of the Reorganized Enviva Inc. Interests or
 the New Warrants, as applicable, under this Plan.

        2.      Delivery of Distributions in General

         Except as otherwise provided herein, distributions to Holders of Allowed Claims or
 Interests shall be made to the Holders of record as of the Distribution Record Date by the Debtors
 or the Reorganized Debtors, as applicable, as follows: (1) to the signatory set forth on the last
 Proof of Claim Filed by such Holder or other representative identified therein (or at the last known
 addresses of such Holder if no Proof of Claim is Filed or if the Debtors have been notified in
 writing of a change of address); (2) at the address set forth in any written notice of address changes
 delivered to the Reorganized Debtors after the Effective Date; (3) at the address reflected in the
 Schedules if no Proof of Claim has been Filed and the Reorganized Debtors have not received a
 written notice of a change of address; or (4) to any counsel that has appeared in the Chapter 11
 Cases on the Holder’s behalf. Subject to this Article VI, distributions under the Plan on account
 of Allowed Claims shall not be subject to levy, garnishment, attachment, or like legal process, so
 that each Holder of an Allowed Claim shall have and receive the benefit of the distributions in the
 manner set forth in the Plan. The Debtors, the Reorganized Debtors, and the Plan Administrator
 shall not incur any liability whatsoever on account of any distributions under the Plan.

        At the option of the Plan Administrator, any Cash payment to be made hereunder may be
 made by check, wire transfer, automated clearing house, or credit card, or as otherwise required or
 provided in applicable agreements.

        3.      Minimum Distributions

         No fractional shares of Reorganized Enviva Inc. Interests shall be distributed, and no Cash
 shall be distributed in lieu of such fractional shares. When any distribution pursuant to the Plan
 on account of an Allowed Claim or Interest, as applicable, would otherwise result in the issuance
 of a number of shares of Reorganized Enviva Inc. Interests that is not a whole number, the actual
 distribution of shares of Reorganized Enviva Inc. Interests shall be rounded as follows: (a)
 fractions of one-half or greater shall be rounded to the next higher whole number, and (b) fractions
 of less than one-half shall be rounded to the next lower whole number with no further payment


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 therefor. The total number of authorized shares of Reorganized Enviva Inc. Interests to be
 distributed pursuant to the Plan shall be adjusted as necessary to account for the foregoing
 rounding.

         Holders of Allowed Claims entitled to distributions of $50.00 or less or one share of
 Reorganized Enviva Inc. Interests shall not receive distributions, and each Claim to which this
 limitation applies shall be discharged pursuant to Article VIII and its Holder shall be forever barred
 pursuant to Article VIII from asserting that Claim against the Reorganized Debtors or their
 property. Fractional amounts of Reorganized Enviva Inc. Interests or New Warrants that are not
 distributed in accordance herewith shall be returned to, and ownership thereof shall vest in, the
 Reorganized Debtors.

        4.      Undeliverable Distributions and Unclaimed Property

         In the event that any distribution to any Holder is returned as undeliverable, no distribution
 to such Holder shall be made unless and until the Plan Administrator, the Debtors or the
 Reorganized Debtors, as applicable, shall have determined the then -current address of such Holder,
 at which time such distribution shall be made to such Holder without interest; provided that such
 distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at
 the expiration of six (6) months from the Effective Date. After such date, all unclaimed property
 or interests in property shall revert to and vest in the applicable Reorganized Debtor automatically
 and without need for a further order by the Court (notwithstanding any applicable federal,
 provincial, state, or other jurisdiction escheat, abandoned, or unclaimed property laws to the
 contrary), and the Claim of any Holder to such property or Interest in property shall be discharged
 and forever barred. The Reorganized Debtors and the Plan Administrator shall have no obligation
 to attempt to locate any Holder of an Allowed Claim other than by reviewing the Debtors’ books
 and records and the Court’s filings.

 E.     Registration or Private Placement Exemption

         Except as otherwise set forth immediately below, the New Securities issued under
 Article III of the Plan (other than any Unsubscribed Shares, the Reorganized Enviva Inc. Interests
 issued on account of the Rights Offering Backstop Commitment Premium, and the MIP Equity)
 will be issued without registration under the Securities Act or any similar federal, state, or local
 law in reliance upon section 1145 of the Bankruptcy Code (or pursuant to another available
 exemption from registration under the Securities Act). Such Reorganized Enviva Inc. Interests
 and the New Warrants issued under the Plan in reliance upon section 1145 of the Bankruptcy Code
 are exempt from, among other things, the registration requirements of Section 5 of the Securities
 Act and any other applicable U.S. state or local law requiring registration prior to the offering,
 issuance, distribution, or sale of Securities. Pursuant to section 1145 of the Bankruptcy Code, such
 Reorganized Enviva Inc. Interests and the New Warrants issued under the Plan in reliance upon
 section 1145 of the Bankruptcy Code may be sold without registration under the Securities Act by
 the recipients thereof, subject to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code
 relating to the definition of an underwriter in section 2(a)(11) of the Securities Act, and compliance
 with any applicable state or foreign securities laws, if any, and the rules and regulations of the
 United States Securities and Exchange Commission, if any, applicable at the time of any future
 transfer of such Securities or instruments; (2) the restrictions, if any, on the transferability of such


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 securities or instruments, including, any restrictions on the transferability under the terms of the
 New Organizational Documents and the Stockholders Agreement (if any); and (3) any other
 applicable regulatory approvals and requirements.

         Under Rule 144(a)(1), an “affiliate” of Reorganized Enviva Inc. is a person that directly,
 or indirectly controls, or is controlled by, or is under common control with Reorganized Enviva
 Inc. Affiliates (under Rule 144(a)(1)) of Reorganized Enviva Inc. that receive Reorganized Enviva
 Inc. Interests that will be subject to the requirements of Rule 144 with respect to control securities,
 including volume limitations, current public information requirements, manner of sale
 requirements, and filing requirements. The Reorganized Enviva Inc. Interests and the New
 Warrants (and the New Warrants Equity issuable upon exercise thereof) issued to Holders
 of Claims or Interests in exchange for such Claims or Interests, shall be issued in reliance on
 section 1145 of the Bankruptcy Code. The MIP Equity will be issued pursuant to a
 registration statement or an available exemption from registration under the Securities Act
 and other applicable law.

        The Unsubscribed Shares and the Reorganized Enviva Inc. Interests issued on
 account of the Rights Offering Backstop Commitment Premium will be treated as issued
 pursuant to Section 4(a)(2) of the Securities Act and/or Regulation D thereunder, will be
 “restricted securities” subject to restrictions on resale, and may be resold, exchanged,
 assigned, or otherwise transferred only pursuant to an effective registration statement under
 Rule 144 or another available exemption from registration under the federal and state
 securities laws.

        The availability of the exemption under section 1145 of the Bankruptcy Code or any other
 applicable securities laws shall not be a condition to the occurrence of the Effective Date.

         On the Effective Date, the ownership of the Reorganized Enviva Inc. Interests and the New
 Warrants shall be reflected through the facilities of DTC (subject to Article VI.D.1 of this Plan
 and the last sentence of this paragraph). None of the Debtors, the Reorganized Debtors, or any
 other Person shall be required to provide any further evidence other than the Plan or the
 Confirmation Order to any Entity (including, for the avoidance of doubt, any transfer agent for the
 Reorganized Enviva Inc. Interests and the New Warrants, or DTC) with respect to the treatment
 of the Reorganized Enviva Inc. Interests or the New Warrants under applicable securities laws.
 DTC and any transfer agent shall be required to accept and conclusively rely upon the Plan or
 Confirmation Order in lieu of a legal opinion regarding whether the Reorganized Enviva Inc.
 Interests or the New Warrants are exempt from registration and/or eligible for DTC book-entry
 delivery, settlement, and depository services. If and to the extent that the New Warrants (and the
 New Warrants Equity issuable upon exercise thereof) and the Reorganized Enviva Inc. Interests
 are eligible to be held through DTC’s book-entry system, the Debtors may elect to distribute all
 Reorganized Enviva Inc. Interests and the New Warrants (and the New Warrants Equity issuable
 upon exercise thereof) through the facilities of DTC, whether or not the applicable Holders held
 their Claims against or Interests in the Debtors through the facilities of DTC prior to the Effective
 Date.

        Notwithstanding anything to the contrary in this Plan, no Person (including DTC and any
 transfer agent) shall be entitled to require a legal opinion regarding the validity of any transaction


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 contemplated by this Plan, including whether the Reorganized Enviva Inc. Interests, the New
 Warrants, and the New Warrants Equity are exempt from registration and/or eligible for DTC
 book-entry delivery, settlement, and depository services or validly issued, fully paid, and
 nonassessable.

 F.     Compliance with Tax Requirements

         In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors,
 or the Plan Administrator as applicable, shall comply with all tax withholding and reporting
 requirements imposed on them by any Governmental Unit, and all distributions pursuant to the
 Plan shall be subject to such withholding and reporting requirements. Notwithstanding any
 provision in the Plan to the contrary, the Debtors, the Reorganized Debtors, or the Plan
 Administrator, as applicable, shall be authorized to take all actions necessary or appropriate to
 comply with such withholding and reporting requirements, including liquidating a portion of the
 distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
 taxes, withholding distributions pending receipt of information necessary to facilitate such
 distributions, or establishing any other mechanisms they believe are reasonable and appropriate.
 The Debtors, the Reorganized Debtors, or the Plan Administrator, as applicable, reserve the right
 to allocate all distributions made under the Plan in compliance with applicable wage garnishments,
 alimony, child support, and other spousal awards, liens, and encumbrances. Any amounts withheld
 pursuant to the Plan shall be deemed to have been distributed to and received by the applicable
 recipient for all purposes of the Plan. The distributing party may require a Holder of an Allowed
 Claim or Interest to complete and return an IRS Form W-8 or W-9, as applicable to each such
 Holder, and any other applicable tax forms or other information, documentation or certifications
 reasonably necessary for the distributing party to comply with all applicable withholding and
 information reporting requirements imposed on the disbursing party by any Gove rnmental Unit.
 Notwithstanding any other provisions of the Plan to the contrary, each Holder of an Allowed Claim
 shall have the sole and exclusive responsibility for the satisfaction and payment of any tax
 obligations imposed by any Governmental Unit, including income, withholding and other tax
 obligations, on account of such distribution.

 G.     Allocations

         The aggregate consideration to be distributed to each Holder of an Allowed Claim will be
 allocated first to the principal amount of such Allowed Claim, with any excess allocated to unpaid
 interest that accrued on such Allowed Claims, if any. Certain legislative history indicates that an
 allocation of consideration as between principal and interest provided in a chapter 11 plan of
 reorganization is binding for U.S. federal income tax purposes.

 H.     No Postpetition Interest on Claims

         Unless otherwise specifically provided for in an order of the Court, the Plan, or the
 Confirmation Order, or required by applicable bankruptcy law, postpetition interest shall not
 accrue or be paid on any Claims or Interests and no Holder of a Claim or Interest shall be entitled
 to interest accruing on or after the Petition Date on any such Claim. Additionally, and without
 limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to



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 the period from the Effective Date to the date a final distribution is made on account of such
 Disputed Claim, if any, if and when such Disputed Claim becomes an Allowed Claim.

 I.     Setoffs and Recoupment

         The Debtors or the Reorganized Debtors, as applicable, may, but shall not be required to,
 set off against, or recoup from, any Allowed Claim against a Debtor or any claim, right, or Cause
 of Action of any nature whatsoever that the applicable Debtor or Reorganized Debtor may have
 against the Holder of such Claim, but neither the failure to do so nor the allowance of any Claim
 against a Debtor hereunder shall constitute a waiver, abandonment, or release by the applicable
 Debtor or Reorganized Debtor of any such claim, right or Cause of Action it may have against the
 Holder of such Allowed Claim.

 J.     Claims Paid or Payable by Third Parties

        1.      Claims Paid by Third Parties

          The Debtors or the Reorganized Debtors, as applicable, shall reduce an Allowed Claim,
 and such Claim shall be Disallowed (in whole or in part, as applicable) without a Claim objection
 having to be Filed and without any further notice to or action, order, or approval of the Court, to
 the extent that the Holder of such Claim receives payment on account of such Claim from a party
 that is not a Debtor or Reorganized Debtor; provided that the Debtors or the Reorganized Debtors,
 as applicable, shall provide 21 days’ notice to the Holder prior to any disallowance of such Claim
 during which period the Holder may object to such disallowance, and if the parties cannot reach
 an agreed resolution, the matter shall be decided by the Court. Subject to the last sentence of this
 paragraph, to the extent a Holder of a Claim receives a distribution on account of such Claim and
 thereafter receives payment from a party that is not a Debtor or a Reorganized Debtor on account
 of such Claim, such Holder shall, within 14 days of receipt thereof, repay or return the distribution
 to Debtors or the Reorganized Debtors, as applicable, to the extent the Holder’s total recovery on
 account of such Claim from the third party and under the Plan exceeds the amount of such Claim
 as of the Petition Date. The failure of such Holder to timely repay or return such distribution shall
 result in the Holder owing the Reorganized Debtors annualized interest at the Federal Judgment
 Rate on such amount owed for each Business Day after the 14 -day grace period specified above
 until the amount is repaid.

        2.      Claims Payable by Insurers

        No distributions under the Plan shall be made on account of an Allowed Claim that is
 payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim
 has exhausted all remedies with respect to such insurance policy. To the extent that one or more
 of the Debtors’ insurers agrees to satisfy in full or in part a Claim, then immediately upon such
 insurers’ agreement, the applicable portion of such Claim may be expunged without an objection
 having to be Filed and without any further notice to or action, order, or approval of the Court;
 provided that the Debtors or the Reorganized Debtors, as applicable, shall provide 21 days’ notice
 to the Holder of such Claim prior to any disallowance of such Claim during which period the
 Holder may object to such expungement, and if the parties cannot reach an agreed resolution, the
 matter shall be decided by the Court.


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        3.      Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
 be in accordance with the provisions of any applicable insurance policy. Nothing contained in the
 Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity
 may hold against any insurers under any policies of insurance, nor shall anything contained herein
 constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses,
 held by such insurers.

                                  ARTICLE VII.
                     PROCEDURES FOR RESOLVING CONTINGENT,
                       UNLIQUIDATED, AND DISPUTED CLAIMS

 A.     Allowance of Claims

          On or after the Effective Date, each of the Reorganized Debtors shall have and retain any
 and all rights and defenses its predecessor Debtor had with respect to any Claim immediately prior
 to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims
 Allowed to the same extent such Claims would be Allowed under applicable non -bankruptcy law.
 Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases before
 the Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim
 unless and until such Claim is deemed Allowed under the Plan , the Final DIP Order or the
 Bankruptcy Code, or the Court has entered any other Final Order, including the Confirmation
 Order (when it becomes a Final Order), in the Chapter 11 Cases allowing such Claim ; provided
 that, notwithstanding anything to the contrary herein or in the Confirmation Order, the rights of
 the Debtors under paragraph 12 of the Bar Date Order shall be fully preserved and the allowance
 of all Claims (other than the Senior Secured Credit Facility Claims, the 2026 Notes Claims, the
 Bond Green Bonds Claims and the Epes Green Bonds Claims) may be modified, rescinded, or
 otherwise disputed, except to the extent such Claims are allowed by the Final DIP Order or any
 other Final Order. All settlements of Claims approved prior to the Effective Date pursuant to a
 Final Order of the Court, pursuant to Bankruptcy Rule 9019, or otherwise shall be binding on all
 parties.

 B.     Claims and Interests Administration Responsibilities

         Except as otherwise specifically provided in the Plan and notwithstanding any
 requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the
 Reorganized Debtors and the Plan Administrator, by order of the Court, shall together have the
 sole authority to: (1) File, withdraw, or litigate to judgment objections to Claims or Interests; (2)
 object to, compromise, and settle any Disputed Claims (including Allowing any such settled
 amounts) without supervision or approval of the Court, free of any restriction of the Bankruptcy
 Code, the Bankruptcy Rules, and the guidelines and requirements of the U.S. Trustee, other than
 those restrictions expressly imposed by the Plan or the Confirmation Order; and (3) administer and
 adjust the Claims Register to reflect any such settlements or compromises without any further
 notice to or action, order, or approval by the Court. In any action or proceeding to determine the
 existence, validity, or amount of any Disputed Claim, any and all claims or defenses that could



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 have been asserted by the applicable Debtor(s) are preserved as if the Chapter 11 Cases had not
 been commenced.

 C.     Estimation of Claims

         Before or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable,
 may (but are not required to) at any time request that the Court estimate any Disputed Claim
 pursuant to section 502(c) of the Bankruptcy Code, regardless of whether any party previously has
 objected to such Claim or whether the Court has ruled on any such objection, and the Court shall
 retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
 any Claim or during any appeal relating to such objection. Notwithstanding any provision
 otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is
 subject to appeal or has not been the subject of the Final DIP Order or any other Final Order, shall
 be deemed to be estimated at zero dollars, unless otherwise ordered by the Court. In the event that
 the Court estimates any Disputed Claim, that estimated amount shall constitute a maximum
 limitation on such Claim for all purposes under the Plan (including for purposes of distributions),
 and the Debtors may elect to pursue any supplemental proceedings to object to any ultimate
 distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event
 shall any Holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy
 Code or otherwise be entitled to seek reconsideration of such estimation unless such Holder has
 filed a motion requesting the right to seek such reconsideration on or before 14 days after the date
 on which such Claim is estimated. All of the aforementioned Claims and objection, estimation,
 and resolution procedures are cumulative and not exclusive of one another. Claims may be
 estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
 approved by the Court.

 D.     Adjustment to Claims or Interests Without Objection

         Any duplicate Claim or Interest or any Claim or Interest that has been paid or satisfied, or
 any Claim that has been amended or superseded, may be adjusted or expunged on the Claims
 Register without the Reorganized Debtors having to File an application, motion, complaint,
 objection, or any other legal proceeding seeking to object to such Claim or Interest and without
 any further notice to or action, order, or approval of the Court. Additionally, any Claim or Interest
 that is duplicative or redundant with another Claim or Interest against the same Debtor may be
 adjusted or expunged on the Claims Register at the direction of the Reorganized Debtors without
 the Reorganized Debtors having to File an application, motion, complaint, objection, or any other
 legal proceeding seeking to object to such Claim or Interest and without any further notice to or
 action, order, or approval of the Court.

 E.     Reservation of Rights with Respect to Claims

         The failure of the Debtors, the Reorganized Debtors, or the Plan Administrator to object to
 any Claim shall not be construed as an admission to the amount, priority, character, or validity of
 any such Claim, any portion thereof, or any other claim related thereto, whether or not such claim
 is asserted in any currently pending or subsequently initiated proceeding, and shall be w ithout
 prejudice to the right of the Debtors, the Reorganized Debtors, the Plan Administrator, or any other
 party in interest to contest, challenge the validity of, or otherwise defend against, any such Claim


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 in the Court or non-bankruptcy forum at any time prior to or after the Effective Date. For the
 avoidance of doubt, except as otherwise provided herein, from and after the Effective Date, the
 Reorganized Debtors and the Plan Administrator, on behalf of the Reorganized Debtors, shall have
 and retain any and all rights and defenses the Debtors had immediately prior to the Effective Date
 with respect to any Disputed Claim, including the Retained Causes of Action.

 F.     Disputed Claims Reserve

         On or before the Effective Date, the Reorganized Debtors, with the consent of the Majority
 Consenting 2026 Noteholders, and, as applicable, the Plan Administrator, shall establish the
 Disputed Claims Reserve, which shall be administered by the Reorganized Debtors or the Plan
 Administrator, as applicable. In establishing the Disputed Claims Reserve, the Reorganized
 Debtors and, as applicable, the Plan Administrator, shall use the Face Amount of Disputed Claims
 as set forth in this Plan, the Debtors’ good faith estimates of such Disputed Claims, or an order of
 the Court estimating such Disputed Claims, as applicable.

        On or prior to the Effective Date, the Disputed Claims Reserve shall be funded with the
 Disputed Claims Reserve Amount to be held in trust for the benefit of the Holders of Disputed
 Claims, as applicable, which are ultimately determined to be Allowed after the Effective Date.

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
 (if any) shall be made to the Holder of such Allowed Claim from the Disputed Claims Reserve
 Amount. The Reorganized Debtors and the Plan Administrator shall have the authority to make
 distributions to Holders whose Disputed Claims ultimately become Allowed Claims on such dates
 that, in the judgment of the Plan Administrator or the Reorganized Debtors, as applicable, provide
 Holders of such Claims with payments as quickly as reasonably practicable while limiting the costs
 incurred in the distribution process, and with respect to any Disputed Claim, only after the date
 that an order or judgment of a court of competent jurisdiction allowing any Disputed Claim
 becomes a Final Order. At such time, the Reorganized Debtors or the Plan Administrator, as
 applicable, shall provide to the Holder of such Claim Cash in an amount equal to the distribution
 to which such Holder is entitled to receive under the Plan as of the Effective Date, less any previous
 distribution, if any, that was made on account of the undisputed portion of such Claim , without
 any interest, dividends, or accruals to be paid on account of such Claim unless required under
 applicable nonbankruptcy law; provided, that such distribution shall not exceed the amount
 retained with respect to such Claim in connection with the Disputed Claims Reserve. As Disputed
 Claims are Allowed, Disallowed, or otherwise resolved, the Reorganized Debtors or the Plan
 Administrator, as applicable, shall make adjustments to the Disputed Claims Reserve (but the
 Reorganized Debtors or the Plan Administrator shall not be required to increase the Disputed
 Claims Reserve Amount at any time from and after the Effective Date). Any Cash to account for
 Disputed Claims that remains after all Disputed Claims are adjudicated in accordance with Article
 VII shall be promptly distributed Pro Rata to Holders of Allowed Non-Bond General Unsecured
 Claims asserted against such Debtor Pro Rata, or on such earlier date(s) as may be determined by
 the Reorganized Debtors or the Plan Administrator, as applicable.

        Each Holder of a Disputed Claim, as applicable, that ultimately becomes an Allowed Claim
 will have recourse only to the assets attributable to the Disputed Claims Reserve and not to any
 other property of the Reorganized Debtors or any property previously distributed on account of


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 any Allowed Claim or Allowed Interest. The rights of Holders of Allowed Claims to receive
 distributions from the Disputed Claims Reserve in accordance with the Plan will be non-
 transferable, except with respect to a transfer by will, the laws of descent, and distribution or
 operations of law.

          Subject to definitive guidance from the IRS or a court of competent jurisdiction in the
 United States to the contrary, or the receipt of a determination by the IRS, the Plan Administrator
 shall treat any Cash and other property held in the Disputed Claims Reserve as held by a “disputed
 ownership fund” governed by Treasury Regulation section 1.468B-9 (which will be taxable as a
 “qualified settlement fund” if all assets of such Disputed Claims Reserve are passive assets for
 U.S. federal income tax purposes) and to the extent permitted by applicable law, report consistently
 with the foregoing for state and local income tax purposes. All parties (including, without
 limitation, the Debtors, the Reorganized Debtors, the Plan Administrator, and the Holders of
 Disputed Claims) will be required to report for tax purposes consistently with the foregoing
 (whether in audits, tax returns or otherwise) unless required to take a different position pursuant
 to a “determination” within the meaning of Section 1313 of the Internal Revenue Code. The Plan
 Administrator shall be responsible for payment, out of the assets of the Disputed Claims Reserve,
 of any taxes imposed on the Disputed Claims Reserve or its assets. In the event, and to the extent
 any Cash in the Disputed Claims Reserve is insufficient to pay the portion of any such taxes
 attributable to the taxable income arising from the assets in the Disputed Claims Reserve, assets
 of the Disputed Claims Reserve may be sold to pay such taxes.

 G.     Time to File Objections to Claims

         Any objections to Claims, which, prior to the Effective Date, may be Filed by any party,
 shall be Filed on or before the Claims Objection Deadline.

 H.     Disallowance of Claims

         Any Claims held by Entities from which property is recoverable under section 542, 543,
 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section
 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Cod e, shall be deemed
 Disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims may
 not receive any distributions on account of such Claims until such time as such Causes of Action
 against that Entity have been settled or a Court order with respect thereto has been entered and all
 sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
 Reorganized Debtors.

      EXCEPT AS PROVIDED HEREIN, IN AN ORDER OF THE COURT, OR
 OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM FILED AFTER THE
 APPLICABLE BAR DATE SHALL BE DEEMED DISALLOWED AND EXPUNGED AS
 OF THE EFFECTIVE DATE WITHOUT ANY FURTHER NOTICE TO OR ACTION,
 ORDER, OR APPROVAL OF THE COURT, AND HOLDERS OF SUCH CLAIMS MAY
 NOT RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS
 AT OR PRIOR TO THE CONFIRMATION HEARING SUCH LATE CLAIM HAS BEEN
 DEEMED TIMELY FILED BY A FINAL ORDER.



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 I.     Amendments to Claims

         On or after the Effective Date, except as provided in the Plan or the Confirmation Order, a
 Proof of Claim or Interest may not be Filed or amended without the prior authorization of the Court
 or the Plan Administrator, and any such new or amended Proof of Claim Filed shall be deemed
 Disallowed in full and expunged without any further action, order, or approval of the Court.

 J.     No Distributions Pending Allowance

         No payment or distribution provided under the Plan shall be made to the extent that any
 Claim is a Disputed Claim, including if an objection to a Claim or portion thereof is Filed as set
 forth in Article VII, unless and until such Disputed Claim becomes an Allowed Claim; provided
 that any portion of a Claim that is an Allowed Claim shall receive the payment or distribution
 provided under the Plan thereon notwithstanding that any other portion of such Claim is a Disputed
 Claim.

 K.     Single Satisfaction of Claims

        Holders of Allowed Claims may assert such Claims against each Debtor obligated with
 respect to such Claim, and such Claims shall be entitled to share in the recovery provided for the
 applicable Class of Claims against each obligated Debtor based upon the f ull Allowed amount of
 the Claim. Notwithstanding the foregoing, in no case shall the aggregate value of all property
 received or retained under the Plan on account of any Allowed Claim exceed 100% of such
 Allowed Claim plus interest, if applicable.

                             ARTICLE VIII.
       SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

 A.     Compromise and Settlement of Claims, Interests, and Controversies

         Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and
 in consideration for the distributions, releases, and other benefits provided pursuant to the Plan,
 which distributions, releases, and other benefits shall be irrevocable and not subject to challenge
 upon the Effective Date, the provisions of the Plan, and the distributions, releases, and other
 benefits provided hereunder, shall constitute a good-faith global and integrated compromise and
 settlement of all Claims and Interests and controversies relating to the contractual, legal, and
 subordination rights that any Holder of a Claim or Interest may have with respect to any Allowed
 Claim or Interest, or any distribution to be made on account of such Allowed Claim or Interest, as
 well as any and all actual and potential disputes resolved pursuant to the Plan.

         The entry of the Confirmation Order shall constitute the Court’s approval of the
 compromise and settlement of all such Claims, Interests, and controversies, as well as a finding by
 the Court that all such compromises and settlements are in the best interests of the Debtors, their
 Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable and is binding
 upon all creditors and all other parties in interest pursuant to section 1141(a) of the Bankruptcy
 Code. In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without
 any further notice to or action, order, or approval of the Court, after the Effective Date, the



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 Reorganized Debtors may compromise and settle Claims against, and Interests in, the Debtors and
 their Estates and Causes of Action against other Entities.

 B.     Discharge of Claims and Termination of Interests

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
 provided in the Plan, the Confirmation Order, or the Plan Supplement, the distributions, rights, and
 treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release,
 effective as of the Effective Date, of all Claims (including any Intercompany Claims resolved or
 compromised after the Effective Date by the Reorganized Debtors) and Causes of Action against
 and Interests in any Debtors of any nature whatsoever (including any interest accrued on such
 Claims or Interests from and after the Petition Date), whether known or unknown, and any
 liabilities of, Liens on, obligations of, rights against, and interests in, the Debtors or any of their
 assets or properties, regardless of whether any property shall have been distributed or retained
 pursuant to the Plan on account of such Claims and Interests, including demands, Causes of Action,
 and liabilities that arose before the Effective Date, any contingent or non-contingent liability on
 account of representations or warranties issued on or before the Effective Date, and all debts of
 the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
 whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant
 to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or
 Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the Holder of such a
 Claim or Interest has accepted the Plan. Any default or “event of default” by the Debtors or
 Affiliates with respect to any Claim against or Interest in any Debtor that existed immediately
 before or on account of the Filing of the Chapter 11 Cases on the Effective Date shall be deemed
 cured (and no longer continuing) as of the Effective Date. The Confirmation Order shall be a
 judicial determination of the discharge of all Claims against and Interests in any Debtor subject to
 the Effective Date occurring.

 C.     Release of Liens

         Except as otherwise specifically provided in the Plan, the Plan Supplement, the
 Confirmation Order, the Exit Facility Documents (including in connection with any express
 written amendment of any mortgage, deed of trust, Lien, pledge, or other security interest
 under the Exit Facility Documents), or in any other Definitive Documentation, on the
 Effective Date and concurrently with the applicable distributions or other treatment made
 pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests
 against any property of the Estates shall be fully released, settled, compromised, and
 discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds of
 trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors and
 their successors and assigns, in each case, without any further approval or order of the Court
 and without any action or Filing being required to be made by the Debtors or the
 Reorganized Debtors.

 D.     Releases by the Debtors and Estates

        [Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
 consideration, as of the Effective Date, each Released Party is unconditionally, irrevocably,


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 generally, individually, and collectively released, acquitted, and discharged by the Debtors,
 their Estates, and the Reorganized Debtors from any and all claims, Causes of Action,
 obligations, suits, judgments, damages, demands, losses, liabilities, and remedies whatsoever,
 whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
 unknown, foreseen or unforeseen, accrued or unaccrued, existing or hereinafter arising, in
 law, equity, contract, tort, or otherwise, including any derivative claims, asserted or
 assertable by or on behalf of the Debtors, their Estates, or the Reorganized Debtors, that the
 Debtors, their Estates, or the Reorganized Debtors would have been legally entitled to assert
 (whether individually or collectively), or on behalf of the Holder of any Claim or Interest or
 other Person or Entity, that the Debtors, their Estates, and the Reorganized Debtors
 (whether individually or collectively) ever had, now have, or thereafter can, shall or may
 have, based on or relating to, or in any manner arising from, in whole or in part, the Debtors
 (including the management, operation, or ownership of any Debtor), their Estates, the
 Debtors’ in- or out-of-court restructuring efforts, the Restructuring, the Debtors’
 intercompany transactions, the Senior Secured Credit Facility Documents, the DIP Orders
 (and any payments or transfers in connection therewith), Avoidance Actions, the purchase,
 sale, or rescission of the purchase or sale of any Security of the Debtors or the Reorganized
 Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
 Interest that is treated in the Plan, the business or contractual arrangements between any
 Debtor and any Released Party whether before or during the Debtors’ restructuring, or the
 restructuring of Claims and Interests before or during the Chapter 11 Cases , the
 formulation, preparation, dissemination, negotiation, or Filing of the Restructuring Support
 Agreement, the Disclosure Statement, the Plan, the Plan Supplement, the Definitive
 Documentation, the DIP Facility, the DIP Facility Documents, the Exit Facility, the Exit
 Facility Commitment Letter, the Exit Facility Documents, the Management Incentive Plan,
 the New Organizational Documents, the New Warrants Agreement, the New Warrants, the
 Reorganized Enviva Inc. Interests, the Rights Offering, the Rights Offering Backstop
 Agreement, the DIP Tranche A Equity Participation, the 2026 Notes Indenture, the Bond
 Green Bonds Indenture, the Epes Green Bonds Indenture, the Senior Secured Credit
 Agreement, the Prepetition Senior Secured NMTC Source Loan Agreement, the Prepetition
 Senior Secured NMTC QLICI Loan Agreement, the restructuring of any Claim or Interest
 before or during the Chapter 11 Cases, or any Restructuring, contract, instrument,
 document, release, or other agreement or document (including any legal opinion regarding
 any such transaction, contract, instrument, document, release, or other agreement or the
 reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
 opinion) created or entered into in connection with the Restructuring Support Agreement,
 the Disclosure Statement, the Plan, the Plan Supplement, the DIP Facility, the DIP Facility
 Documents, the Exit Facility, the Exit Facility Commitment Letter, the Exit Facility
 Documents, the Management Incentive Plan, the New Organizational Documents, the New
 Warrants Agreement, the New Warrants, the Reorganized Enviva Inc. Interests, the DIP
 Tranche A Equity Participation, the Rights Offering, the Rights Offering Backstop
 Agreement, the 2026 Notes Indenture, the Bond Green Bonds Indenture, the Epes Green
 Bonds Indenture, the Senior Secured Credit Agreement, the Prepetition Senior Secured
 NMTC Source Loan Agreement, the Prepetition Senior Secured NMTC QLICI Loan
 Agreement, the related agreements, instruments, and other documents (including the
 Definitive Documentation), the Overbid Process, the Chapter 11 Cases, the filing of the



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 Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
 solicitation of votes with respect to the Plan, the administration and implementation of the
 Plan, including the issuance or distribution of Securities or other property pursua nt to the
 Plan, the Definitive Documentation, or upon any other act or omission, transaction,
 agreement, event, or other occurrence taking place on or before the Effective Date arising
 from, or related or relating to any of the foregoing.

         Notwithstanding anything to the contrary in the foregoing, (1) the releases set forth
 in this Article VIII.D do not waive, release, modify, discharge, limit, or impair (1) any post-
 Effective Date obligations of any Person or Entity related to the Restructuring, including
 those obligations and commitments set forth in this Plan, the Restructuring Support
 Agreement, the Exit Facility Commitment Letter, the Rights Offering Backstop Agreement,
 or other document, instruments, or agreement executed to implement the Plan or as may be
 Reinstated in connection therewith, as applicable; (2) the rights of any Person to enforce the
 contracts, instruments, and other agreements or documents delivered under or in connection
 with the Restructuring, including this Plan, the Restructuring Support Agreement, the Exit
 Facility Commitment Letter, and the Rights Offering Backstop Agreement (including, in
 each case, if any obligation is breached, the underlying cause or scope of damages arising
 from, in connection with, or as a result of such breach); (3) any Causes of Action specifically
 identified on the exhibits to the Schedule of Retained Causes of Action; (4) any commercial
 Cause of Action arising in the ordinary course of business, such as accounts receivable and
 accounts payable on account of goods and services being performed; and (5) any Cause of
 Action against a Holder of a Disputed Claim, to the extent such Cause of Action is necessary
 for the administration and resolution of such Claim solely in accordance with the Plan; and
 (ii) nothing in this Article VIII.DArticle VIII.D shall, nor shall it be deemed to, release any
 Released Party from any claims or Causes of Action that are found, pursuant to a Final
 Order, to be the result of such Released Party’s knowing and intentional fraud or willful
 misconduct.

         Entry of the Confirmation Order shall constitute the Court’s approval, pursuant to
 Bankruptcy Rule 9019, of the releases by the Debtors set forth in this Article VIII.D, which
 includes by reference each of the related provisions and definitions contained herein, and,
 further, shall constitute the Court’s finding that such releases are: (1) essential to the
 Confirmation of the Plan; (2) an exercise of the Debtors’ business judgment; (3) in exchange
 for the good and valuable consideration provided by the Released Parties; (4) a good faith
 settlement and compromise of the claims and Causes of Action released by such releases;
 (5) in the best interests of the Debtors and their Estates; (6) fair, equitable and reasonable;
 (7) given and made after due notice and opportunity for hearing; and (8) a bar to any of the
 Debtors or their Estates asserting any claim or Cause of Action released pursuant to such
 releases.]6




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     The releases set forth in this Article VIII.D remain subject to the results and assessment of the investigation being
     conducted by the Special Committee and evaluation of the Plan Evaluation Committee, and any modifications
     hereto shall be subject to the consent rights set forth in the Restructuring Support Agreement.


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 E.     Releases by Holders of Claims and Interests

         [As of the Effective Date, each Releasing Party hereby releases and discharges each
 Debtor, Estate, Reorganized Debtor, and Released Party from any and all Claims, Causes of
 Action, obligations, suits, judgments, damages, demands, losses, liabilities, and r emedies
 whatsoever (including any derivative claims, asserted or assertable on behalf of the Debtors,
 their Estates, or the Reorganized Debtors, whether individually or collectively ), whether
 liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
 foreseen or unforeseen, accrued or unaccrued, existing or hereinafter arising, in law, equity,
 contract, tort, or otherwise, that such Releasing Party or its estate, affiliates, heirs, executors,
 administrators, successors, assigns, managers, accountants, attorneys, representatives,
 consultants, agents, and any other persons claiming under or through them would have been
 legally entitled to assert (whether individually or collectively or on behalf of the Holder of
 any Claim or Interest or other person), based on or relating to, or in any manner arising
 from, in whole or in part, the Debtors (including the management, operation, or ownership
 of any Debtor), their Estates, the Debtors’ in- or out-of-court restructuring efforts, the
 Restructuring, the Debtors’ intercompany transactions, the Senior Secured Credit Facility
 Documents, the DIP Orders (and any payments or transfers in connection therewith), any
 Avoidance Actions, the purchase, sale, or rescission of the purchase or sale of any Security
 of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or
 events giving rise to, any Claim or Interest that is treated in the Plan, the business or
 contractual arrangements between any Debtor and any Released Party whether before or
 during the Debtors’ restructuring, or the restructuring of Claims and Interests before or
 during the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or
 Filing of the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
 Supplement, the Definitive Documentation, the DIP Facility, the DIP Facility Documents,
 the Exit Facility, the Exit Facility Commitment Letter, the Exit Facility Documents, the
 Management Incentive Plan, the New Organizational Documents, the New Warrants
 Agreement, the New Warrants, the Reorganized Enviva Inc. Interests, the DIP Tranche A
 Equity Participation, the Rights Offering, the Rights Offering Backstop Agreement, the 2026
 Notes Indenture, the Bond Green Bonds Indenture, the Epes Green Bonds Indenture, the
 Senior Secured Credit Agreement, the Prepetition Senior Secured NMTC Source Loan
 Agreement, the Prepetition Senior Secured NMTC QLICI Loan Agreement, the
 restructuring of any Claim or Interest before or during the Chapter 11 Cases, or any
 Restructuring, contract, instrument, document, release, or other agreement or document
 (including any legal opinion regarding any such transaction, contract, instrument,
 document, release, or other agreement or the reliance by any Released Party on the Plan or
 the Confirmation Order in lieu of such legal opinion) created or entered into in connection
 with the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
 Supplement, the DIP Facility, the DIP Facility Documents, the Exit Facility, the Exit Facility
 Commitment Letter, the Exit Facility Documents, the New Organizational Documents, the
 New Warrants Agreement, the New Warrants, the Reorganized Enviva Inc. Interests, the
 DIP Tranche A Equity Participation, the Rights Offering, the Rights Offering Backstop
 Agreement, the 2026 Notes Indenture, the Bond Green Bonds Indenture, the Epes Green
 Bonds Indenture, the Senior Secured Credit Agreement, the Prepetition Senior Secured
 NMTC Source Loan Agreement, the Prepetition Senior Secured NMTC QLICI Loan
 Agreement, the related agreements, instruments, and other documents (including the


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 Definitive Documentation), the Overbid Process, the Chapter 11 Cases, the filing of the
 Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the solicitation
 of votes with respect to the Plan, the administration and implementation of the Plan,
 including the issuance or distribution of Securities or other property pursuant to the Plan,
 the Definitive Documentation, or upon any other act or omission, transaction, agreement,
 event, or other occurrence taking place on or before the Effective Date arising from, or
 related or relating to any of the foregoing.

         Notwithstanding anything to the contrary in the foregoing, (i) the releases set forth in
 this Article VIII.E do not release (1) any post-Effective Date obligations of any Person or
 Entity under the Plan, including those obligations and commitments set forth in this Plan,
 the Restructuring Support Agreement, the Exit Facility Commitment Letter, and the Rights
 Offering Backstop Agreement, or other document, instrument, or agreement executed to
 implement the Plan or as may be Reinstated in connection therewith, as applicable; (2) any
 Cause of Action specifically identified on the exhibits to the Schedule of Retained Causes of
 Action; and (3) any of the Debtors’ or Reorganized Debtors’, as applicable, claims; and
 (ii) nothing in this Article VIII.E shall, nor shall it be deemed to, release any Released Party
 from any Claims or Causes of Action that are found, pursuant to a Final Order, to be the
 result of such Released Party’s knowing and intentional fraud or willful misconduct.

         Entry of the Confirmation Order shall constitute the Court’s approval, pursuant to
 Bankruptcy Rule 9019, of the releases by Holders of Claims and Interests set forth in this
 Article VIII.E, which includes by reference each of the related provisions and definitions
 contained herein, and, further, shall constitute the Court’s finding that such releases are:
 (1) essential to the Confirmation of the Plan; (2) an exercise of the Debtors’ business
 judgment; (3) in exchange for the good and valuable consideration provided by the Released
 Parties; (4) a good faith settlement and compromise of the claims and Causes of Action
 released by such releases; (5) in the best interests of the Debtors and their Estates; (6) fair,
 equitable and reasonable; (7) given and made after due notice and opportunity for hearing;
 and (8) a bar to any of the Releasing Parties asserting any Claim or Cause of Action released
 pursuant to such releases.]7

 F.       Exculpation

         From and after the Petition Date through the Effective Date, except as otherwise
 specifically provided in the Plan, no Exculpated Party shall have or incur liability for, and
 each Exculpated Party is hereby exculpated from, any claim, Cause of Action, obligation,
 suit, judgment, damage, demand, loss, or liability for any claim related to any act or omission
 in connection with, relating to, or arising out of, the Debtors (including the management,
 operation, or ownership of any Debtor), their Estates, the Chapter 11 Cases (including the
 administration thereof), the formulation, preparation, dissemination, negotiation, Filing, or
 termination of the Restructuring Support Agreement and related prepetition transactions,
 the Rights Offering Backstop Agreement, the DIP Tranche A Equity Participation, the

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      The releases set forth in this Article VIII.E remain subject to the results and assessment of the investigation being
      conducted by the Special Committee and evaluation of the Plan Evaluation Committee, and any modifications
      hereto shall be subject to the consent rights set forth in the Restructuring Support Agreement .


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 Rights Offering, the Exit Facility, the Exit Facility Documents, the Exit Facility Commitment
 Letter, the New Warrants, the New Warrants Agreement, the New Organizational
 Documents, the DIP Facility, the DIP Facility Documents, the issuance of the Reorganized
 Enviva Inc. Interests, the Management Incentive Plan, the Disclosure Statement, the Plan,
 the Plan Supplement, the related agreements, instruments, and other documents (including
 the Definitive Documentation), the Overbid Process, the solicitation of votes with respect to
 this Plan, or the Restructuring, or any related contract, instrument, release or other
 agreement or document (including providing any legal opinion requested by any Entity
 regarding any transaction, contract, instrument, document, or other agreement
 contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the
 Confirmation Order in lieu of such legal opinion) created or entered into in connection with
 the Debtors’ in or out-of-court restructuring efforts, the Disclosure Statement, the Plan, the
 Restructuring Support Agreement, the DIP Tranche A Equity Participation, the Rights
 Offering, the Rights Offering Backstop Agreement, the Exit Facility, the Exit Facility
 Documents, the Exit Facility Commitment Letter, the New Warrants, the New Warrants
 Agreement, the New Organizational Documents, the DIP Facility, the DIP Facility
 Documents, the issuance of the Reorganized Enviva Inc. Interests, the Management
 Incentive Plan, the related agreements, instruments, and other documents (including the
 Definitive Documentation), the Filing of the Chapter 11 Cases, the pursuit of Confirmation,
 the pursuit of Consummation, the administration and implementation of the Plan or the
 Confirmation Order, including the issuance of Securities pursuant to the Plan, or the
 distribution of property under the Plan, the related agreements, instruments, and other
 documents (including the Definitive Documentation), or any other related agreement, act or
 omission, transaction, event or other occurrence related to the foregoing and taking place on
 or before the Effective Date, except for claims related to any act or omission that is
 determined in a Final Order to have constituted gross negligence, knowing and intentional
 fraud, or willful misconduct, but in all respects such Entities shall be entitled to reasonably
 rely upon the advice of counsel with respect to their duties and responsibilities pursuant to
 the Plan. The Confirmation Order shall provide that the Exculpated Parties (to the extent
 applicable) have, and upon Confirmation of the Plan shall be deemed to have, participated
 in good faith and in compliance with the applicable laws with regard to the solicitation of,
 and distribution of, consideration pursuant to the Plan and, therefore, are not, and on
 account of such distributions shall not be, liable at any time for the violation of any applicable
 law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or
 such distributions made pursuant to the Plan. This exculpation will be in addition to, and
 not in limitation of, all other releases, indemnities, exculpations, and any other applicable
 law or rules protecting the Exculpated Parties from liability.

 G.     Injunction

        Except as otherwise expressly provided in the Plan or for obligations issued or
 required to be paid pursuant to the Plan or Confirmation Order, all Entities who have held,
 hold, or may hold Claims, Interests, or Causes of Action that have been released, discharged,
 or are subject to exculpation are permanently enjoined, from and after the Effective Date,
 from taking any of the following actions against, as applicable, the Debtors, the Reorganized
 Debtors, the Released Parties, or the Exculpated Parties: (a) commencing or continuing in
 any manner any action or other proceeding of any kind on account of or in connection with


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 or with respect to any such Claims, Interests, or Causes of Action; (b) enforcing, attaching,
 collecting, or recovering by any manner or means any judgment, award, decree, or order
 against such Entities on account of or in connection with or with respect to any such Claims,
 Interests, or Causes of Action; (c) creating, perfecting, or enforcing any Lien or
 encumbrance of any kind against such Entities or the property or the estates of such Entities
 on account of or in connection with or with respect to any such Claims, Interests, or Causes
 of Action; (d) asserting any right of setoff, subrogation, or recoupment of any kind against
 any obligation due from such Entities or against the property of such Entities on account of
 or in connection with or with respect to any such Claims, Interests, or Causes of Action; and
 (e) commencing or continuing in any manner any action or other proceeding of any kind on
 account of or in connection with or with respect to any such Claims, Interests, or Causes of
 Action released or settled pursuant to the Plan. Notwithstanding anything to the contrary
 in the foregoing, the injunction does not enjoin any party under the Plan or under any
 document, instrument, or agreement (including those attached to the Disclosure Statement
 or set forth in the Plan Supplement, to the extent finalized) executed to implement the Plan
 from bringing an action to enforce the terms of the Plan or such document, instrument, or
 agreement (including those attached to the Disclosure Statement or set forth in the Plan
 Supplement, to the extent finalized) executed to implement the Plan.

        Upon entry of the Confirmation Order, all holders of Claims and Interests and their
 respective current and former employees, agents, officers, directors, managers, principals,
 and direct and indirect affiliates shall be enjoined from taking any actions to interfere with
 the implementation or Consummation of the Plan. Except as otherwise set forth in the
 Confirmation Order, each holder of an Allowed Claim or Allowed Interest, as applicable, by
 accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
 Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the
 injunction provisions set forth in the Plan.
 H.     Protection Against Discriminatory Treatment

         Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
 Constitution, all Entities, including Governmental Units, shall not discriminate against the
 Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter,
 franchise, or other similar grant to, condition such a grant to, discriminate with respect to such a
 grant against, the Reorganized Debtors, or another Entity with whom or which the Reorganized
 Debtors have been associated, solely because any Debtor has been a debtor under chapter 11 of
 the Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or
 during the Chapter 11 Cases but before the Debtors are granted or denied a discharge), or has not
 paid a debt that is dischargeable in the Chapter 11 Cases.

 I.     Recoupment

         In no event shall any Holder of a Claim be entitled to recoup against any claim, right, or
 Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder
 actually has performed such recoupment and provided notice thereof in writing to the Debtors on
 or before the Confirmation Date, notwithstanding any indication in any Proof of Claim or
 otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.



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 J.     Setoff

         In no event shall any Holder of an Allowed Claim be entitled to setoff any Claim against
 any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable,
 unless such Holder has Filed a motion with the Court requesting the authority to perform such
 setoff on or before the Confirmation Date, notwithstanding any indication in any Proof of Claim
 or otherwise that such Holder asserts, has, or intends to preserve any right of setoff.

 K.     Subordination Rights

         Any distributions under the Plan shall be received and retained free from any obligations
 to hold or transfer the same to any other Holder and shall not be subject to levy, garnishment,
 attachment, or other legal process by any Holder by reason of claimed contractual subordination
 rights. Any such subordination rights shall be waived, and the Confirmation Order shall constitute
 an injunction enjoining any Entity from enforcing or attempting to enforce any contractual, legal,
 or equitable subordination rights to property distributed under the Plan, in each case other than as
 provided in the Plan.

 L.     Reimbursement or Contribution

          If the Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
 section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as
 of the time of disallowance, such Claim shall be forever Disallowed and expunged notwithstanding
 section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has
 been adjudicated as non-contingent; or (2) the relevant Holder of a Claim has Filed a non-
 contingent Proof of Claim on account of such Claim and a Final Order has been entered prior to
 the Confirmation Date determining such Claim as no longer contingent.

                                   ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONFIRMATION
                        AND CONSUMMATION OF THE PLAN

 A.     Conditions Precedent to the Effective Date

         It shall be a condition to the occurrence of the Effective Date that the following conditions
 shall have been satisfied (or waived pursuant to the provisions of Article IX.B hereof):

        1.      the Restructuring Support Agreement shall not have been terminated and shall
 remain in full force and effect and no default shall exist thereunder that has not been otherwise
 cured or waived;

        2.      the Rights Offering Backstop Agreement shall not have been terminated and shall
 remain in full force and effect and no default shall exist thereunder that has not been otherwise
 cured or waived;

        3.      the Confirmation Order, in form and substance consistent with the terms and
 conditions of the Restructuring Support Agreement and DIP Facility Agreement, including the



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 consent rights contained therein, shall have been entered and shall be a Final Order that has not
 been stayed, modified, or vacated on appeal;

        4.     the Plan and the Plan Supplement, including any exhibits, schedules, amendments,
 modifications, or supplements thereto, and inclusive of any amendments, modifications, or
 supplements made after the Confirmation Date but prior to the Effective Date, shall be in form and
 substance consistent with the terms and conditions of the Restructuring Support Agreement and
 DIP Facility Agreement, including the consent rights contained therein;

         5.      the Exit Facility Documents shall have been executed and delivered by all of the
 Entities that are parties thereto, and all conditions precedent (other than any conditions related to
 the occurrence of the Effective Date) to the consummation of the Exit Fac ility shall have been
 waived or satisfied in accordance with the terms thereof, and the closing of the Exit Facility shall
 be deemed to occur concurrently with the occurrence of the Effective Date;

        6.       no court of competent jurisdiction or other competent governmental or regulatory
 authority shall have issued a Final Order making it illegal or otherwise restricting, preventing, or
 prohibiting the consummation of the Restructuring, the Restructuring Support Agreement, or any
 of the Definitive Documentation contemplated thereby;

        7.      all other Definitive Documentation shall have been (or shall, contemporaneously
 with the occurrence of the Effective Date, be) effected or be executed and in full force and effect,
 and shall be in form and substance consistent with the terms and conditions of the Restructuring
 Support Agreement, including the consent rights contained therein , and all conditions precedent
 contained in the Definitive Documentation shall have been satisfied or waived in accordance with
 the terms thereof, except with respect to such conditions that by their terms shall be satisfied
 substantially contemporaneously with or after Consummation of the Plan ;

         8.     all conditions precedent to the issuance of the Reorganized Enviva Inc. Interests,
 other than any conditions related to the occurrence of the Effective Date, shall have occurred;

         9.     all required governmental and third-party approvals, authorizations and consents,
 including Court approval, necessary in connection with the transactions provided for in the Plan
 shall have been obtained, shall not be subject to unfulfilled conditions, and shall be in full force
 and effect, and all applicable waiting periods shall have expired without any action having been
 taken by any competent authority that would restrain or prevent such transactions;

         10.     all documents and agreements necessary to implement the Plan and the
 Restructuring shall have been (a) tendered for delivery and (b) effected or executed by all Entities
 party thereto, and all conditions precedent to the effectiveness of such documents and agreements
 (other than any conditions related to the occurrence of the Effective Date) shall have been satisfied
 or waived pursuant to the terms of such documents or agreements (including the Exit Facility
 Documents);

        11.     The Debtors or the Reorganized Debtors, as applicable, shall have obtained
 directors’ and officers’ insurance policies and entered into indemnification agreements or similar
 arrangements for the New Board, which shall be, in each case, effective on or by the Effective
 Date;

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        12.     all Restructuring Expenses shall have been paid in full; and

       13.     the Professional Fee Escrow Account shall have been funded in the Professional
 Fee Reserve Amount and all Allowed Professional Fee Claims approved by the Court shall have
 been paid in full.

 B.     Waiver of Conditions

         The conditions precedent to Confirmation of the Plan and to the Effective Date of the Plan
 set forth in this Article IX may be waived by mutual agreement of the Debtors and the Majority
 Consenting 2026 Noteholders in writing (email being sufficient) without notice, leave, or order of
 the Court or any formal action other than proceedings to confirm or consummate the Plan.

 C.     Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be
 deemed to occur on the Effective Date.

 D.     Effect of Non-Occurrence of Conditions to the Confirmation Date or the Effective Date

         If the Confirmation Date and/or the Effective Date do(es) not occur, the Plan shall be null
 and void in all respects and nothing contained in the Plan , the Disclosure Statement, the Exit
 Facility Commitment Letter, the Rights Offering Backstop Agreement, or the Restructuring
 Support Agreement shall: (1) constitute a waiver or release of any Claims by or Claims against or
 Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors or any other Entity;
 (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders
 of Claims or Interests, or any other Entity in any respect; or (4) be used by the Debtors or any
 Entity as evidence (or in any other way) in any litigation, including with regard to the strengths or
 weaknesses of any of the parties’ positions, arguments or claims.

                              ARTICLE X.
         MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

 A.     Modification and Amendments

         Subject to the limitations contained herein, the Debtors reserve the right, with the consent
 of the Majority Consenting 2026 Noteholders, to modify the Plan and seek Confirmation consistent
 with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan. Subject
 to certain restrictions and requirements set forth in section 1127 of the Bankruptcy Code and
 Bankruptcy Rule 3019, the restrictions on modifications set forth in the Plan, and the terms of the
 Restructuring Support Agreement, the Debtors expressly reserve their rights, subject to and in
 accordance with the terms of the Restructuring Support Agreement, to alter, amend, or modify the
 Plan, one or more times, after Confirmation, and, to the extent necessary, initiate proceedings in
 the Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile
 any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such
 manner as may be necessary to carry out the purposes and intent of the Plan.




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 B.     Effect of Confirmation on Modifications

        Entry of the Confirmation Order shall mean that all modifications or amendments to the
 Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of the
 Bankruptcy Code and do not require additional disclosure or resolicitation under Bankruptcy Rule
 3019.

 C.     Revocation or Withdrawal of the Plan

         The Debtors reserve the right, subject to and in accordance with the terms of the
 Restructuring Support Agreement, to revoke or withdraw the Plan with respect to any or all
 Debtors prior to the Confirmation Date and to File subsequent plans of reorganization. If the
 Debtors revoke or withdraw the Plan, or if Confirmation and Consummation do not occur, then:
 (1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in
 the Plan (including the fixing or limiting to an amount certain of any Claim or Interest or Class of
 Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases effected
 by the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null
 and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any
 Claims or Interests; (b) prejudice in any manner the rights of the Debtors or any other Entity,
 including the Holders of Claims; (c) constitute an admission, acknowledgement, offer, or
 undertaking of any sort by the Debtors or any other Entity; or (d) be used by the Debtors or any
 other Entity as evidence (or in any other way) in any litigation, including with regard to the
 strengths or weaknesses of any of the parties’ positions, arguments, or claims. For the avoidance
 of doubt, the foregoing sentence shall not be construed to limit or modify the rights of the
 Restructuring Support Parties pursuant to the Restructuring Support Agreement.

                                       ARTICLE XI.
                                RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, on and after the Effective Date, the Court shall retain jurisdiction over the Chapter 11 Cases
 and all matters arising out of, arising in, or related to, the Chapter 11 Cases and the Plan, including
 jurisdiction to:

        1.      Allow, Disallow, determine, liquidate, classify, estimate, or establish the priority,
 Secured or Unsecured status, or amount of any Claim or Interest, including the resolution of any
 request for payment of any Administrative Expense Claim and the resolutio n of any and all
 objections relating to any of the foregoing;

        2.      decide and resolve all matters related to the granting and denying, in whole or in
 part, any applications for allowance of compensation or reimbursement of expenses to
 Professionals;

         3.     resolve any matters related to: (a) the assumption, assumption and assignment, or
 rejection of any Executory Contract or Unexpired Lease and to hear, determine, and, if necessary,
 liquidate, any Claims arising therefrom, including Claims related to the rejection of an Executory
 Contract or Unexpired Lease, any Cure Claims, or any other matter related to such Executory
 Contract or Unexpired Lease; (b) the Debtors or the Reorganized Debtors, as applicable,

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 amending, modifying, or supplementing, pursuant to Article V hereof, the Schedule of Assumed
 Executory Contracts and Unexpired Leases or the Schedule of Rejected Executory Contracts and
 Unexpired Leases; and (c) any dispute regarding whether a contract or lease is or was executory,
 terminated, or unexpired;

       4.     ensure that distributions to Holders of Allowed Claims or Interests are
 accomplished pursuant to the provisions of the Plan;

          5.     adjudicate, decide, or resolve any motions, adversary proceedings, contested, or
 litigated matters, and grant or deny any applications involving a Debtor or the Estates that may be
 pending on the Effective Date;

         6.    adjudicate, decide, or resolve any and all matters related to Causes of Action by or
 against a Debtor;

       7.      adjudicate, decide, or resolve any and all matters related to sections 1141, 1145,
 and 1146 of the Bankruptcy Code;

         8.     enter and implement such orders as may be necessary or appropriate to execute,
 implement, or consummate the provisions of the Plan and the Restructuring Support Agreement,
 and all contracts, instruments, releases, indentures, and other agreements or docume nts created in
 connection with the Plan or the Restructuring Support Agreement;

        9.    enter and enforce any order for the sale of property pursuant to sections 363 or 1123
 of the Bankruptcy Code, as may be applicable;

         10.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
 in connection with the Consummation, interpretation, or enforcement of the Plan or any Entity ’s
 obligations incurred in connection with the Plan or the Restructuring Support Agreement;

        11.   issue injunctions, enter and implement other orders, or take such other actions as
 may be necessary or appropriate to restrain interference by any Entity with Consummation or
 enforcement of the Plan;

        12.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
 to the settlements, compromises, discharges, releases, injunctions, exculpations, and other
 provisions contained in Article VIII hereof and enter such orders as may be necessary or
 appropriate to implement such releases, injunctions, and other provisions;

         13.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect
 to the repayment or return of distributions and the recovery of additional amounts owed by the
 Holder of a Claim or Interest for amounts not timely repaid pursuant to Artic le VI.J.1 hereof;

        14.     enter and implement such orders as are necessary or appropriate if the Confirmation
 Order is for any reason modified, stayed, reversed, revoked, or vacated;

        15.     determine any other matters or disputes that may arise in connection with or relate
 to the Plan, the Plan Supplement, the Disclosure Statement, the Confirmation Order, or any


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 contract, instrument, release, indenture, or other agreement or document created in connection with
 the Plan or Disclosure Statement; provided that the Court shall not retain jurisdiction over disputes
 concerning documents contained in the Plan Supplement that have a jurisdictional, forum
 selection, or dispute resolution clause that refers disputes to a different court;

        16.     adjudicate any and all disputes arising from or relating to distributions under the
 Plan or any transactions contemplated therein, including any Restructuring;

        17.     consider any modifications of the Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Court order, including the Confirmation Order;

        18.    determine requests for the payment of Claims entitled to priority pursuant to
 section 507 of the Bankruptcy Code;

       19.    hear and determine matters concerning state, local, and U.S. federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

         20.     hear and determine matters concerning exemptions from state and federal
 registration requirements in accordance with section 1145 of the Bankruptcy Code and section
 4(a)(2) of, and Regulation D under, the Securities Act;

         21.    hear and determine all disputes involving the existence, nature, or scope of the
 release provisions set forth in the Plan, including any dispute relating to any liability arising out of
 the termination of employment or the termination of any employee or re tiree benefit program,
 regardless of whether such termination occurred prior to or after the Effective Date;

        22.    hear and determine matters concerning the implementation of the Management
 Incentive Plan;

           23.   enforce all orders, judgments, and rulings previously entered by the Court;

           24.   hear any other matter not inconsistent with the Bankruptcy Code;

           25.   enter an order or final decree concluding or closing the Chapter 11 Cases; and

           26.   enforce the injunction, release, and exculpation provisions set forth in Article VIII
 hereof.

        Nothing herein limits the jurisdiction of the Court to interpret and enforce the Plan and all
 contracts, instruments, releases, indentures, and other agreements or documents created in
 connection with the Plan, the Plan Supplement, or the Disclosure Statem ent, without regard to
 whether the controversy with respect to which such interpretation or enforcement relates may be
 pending in any state or other federal court of competent jurisdiction.

        If the Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
 without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
 including the matters set forth in this Article XI, the provisions of this Article XI shall have no



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 effect on and shall not control, limit, or prohibit the exercise of jurisdiction by any other court
 having competent jurisdiction with respect to such matter

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the
 New Organizational Documents and any documents related thereto shall be governed by the
 jurisdictional provisions therein and the Court shall not retain jurisdiction with respect thereto.

                                      ARTICLE XII.
                               MISCELLANEOUS PROVISIONS

 A.     Immediate Binding Effect

          Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or
 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan, the final
 versions of the documents contained in the Plan Supplement, and the Confirmation Order shall be
 immediately effective and enforceable and deemed binding upon the Debtors or the Reorganized
 Debtors, as applicable, and any and all Holders of Claims or Interests (regardless of whether the
 Holders of such Claims or Interests are deemed to have accepted or rejected the Plan), all Entities
 that are parties to or are subject to the settlements, compromises, releases, and injunctions provided
 for in the Plan, each Entity acquiring property under the Plan or the Confirmation Order, and any
 and all non-Debtor parties to Executory Contracts and Unexpired Leases. All Claims and debts
 shall be fixed, adjusted, or compromised, as applicable, pursuant to the Plan regardless of whether
 any Holder of a Claim or debt has voted on the Plan.

 B.     Additional Documents

          On or before the Effective Date, the Debtors may File with the Court such agreements and
 other documents as may be necessary or appropriate to effectuate and further evidence the terms
 and conditions of the Plan and the Restructuring Support Agreement. The Debtors and all Holders
 of Claims or Interests receiving distributions pursuant to the Plan and all other parties in interest
 shall, from time to time, prepare, execute, and deliver any agreements or documents and take any
 other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

 C.     Reservation of Rights

         Except as expressly set forth herein, the Plan shall have no force or effect unless the Court
 enters the Confirmation Order, and the Confirmation Order shall have no force or effect unless the
 Effective Date occurs. Prior to the Effective Date, neither the Plan, any statement or provision
 contained in the Plan, nor any action taken or not taken by any Debtor with respect to the Plan, the
 Disclosure Statement, the Confirmation Order, or the Plan Supplement shall be or shall be deemed
 to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or
 Interests.

 D.     Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan or the
 Confirmation Order shall be binding on, and shall inure to the benefit of any heir, executor,



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 administrator, successor or assign, affiliate, officer, director, manager, agent, representative,
 attorney, beneficiaries, or guardian, if any, of each Entity.

 E.     Service of Documents

         Any pleading, notice, or other document required by the Plan to be served on or delivered
 to the Debtors or Reorganized Debtors shall be served on:

  Debtors or the                           Enviva Inc.
  Reorganized Debtors                      7272 Wisconsin Avenue, Suite 1800
                                           Bethesda, MD 20814
                                           Attn: Jason Paral

  Counsel to the Debtors                   Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                           1285 Avenue of the Americas
                                           New York, NY 10019
                                           Attn: Paul M. Basta
                                                  Andrew M. Parlen
                                                  Michael J. Colarossi

                                           and

                                           Kutak Rock LLP
                                           901 East Byrd Street, Suite 1000
                                           Richmond, VA 23219
                                           Attn: Michael A. Condyles
                                                 Peter J. Barrett
                                                 Jeremy S. Williams


  Counsel to the Ad Hoc Group              Davis Polk & Wardwell, LLP
                                           450 Lexington Avenue
                                           New York, NY 10017
                                           Attn: Damian S. Schaible
                                                 David Schiff
                                                  Joseph W. Brown

                                           and

                                           McGuireWoods LLP
                                           800 East Canal Street
                                           Richmond, VA 23219
                                           Attn: Dion W. Hayes
                                                 K. Elizabeth Sieg




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 F.     Term of Injunctions or Stays

         Unless otherwise provided in the Plan, the Confirmation Order, or a Final Order, all
 injunctions or stays arising under or in effect during the Chapter 11 Cases pursuant to sections 105
 or 362 of the Bankruptcy Code or otherwise, and existing on the Confirmation Date (excluding
 any injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full force
 and effect until the later of the Effective Date and the termination date set forth in the order
 providing for such injunction or stay. All injunctions or stays contained in the Plan or the
 Confirmation Order shall remain in full force and effect in accordance with their terms.

 G.     Entire Agreement

        Except as otherwise indicated, on the Effective Date, the Plan, the Plan Supplement, and
 the Confirmation Order shall supersede all previous and contemporaneous negotiations, promises,
 covenants, agreements, understandings, and representations on such subjects, all of which have
 become merged and integrated into the Plan, Plan Supplement, and Confirmation Order.

 H.     Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are
 a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are Filed,
 copies of such exhibits and documents shall be available upon written request to the Debtors’
 counsel at the address above or by downloading such exhibits and documents from the Debtors’
 restructuring website at https://www.veritaglobal.net/enviva or the Court’s website at
 https://www.vaeb.uscourts.gov.

 I.     Nonseverability of Plan Provisions

         If, prior to Confirmation, any term or provision of the Plan is held by the Court to be
 invalid, void, or unenforceable, the Court shall have the power to alter and interpret such term or
 provision to make it valid or enforceable to the maximum extent practicable, consistent with the
 original purpose of the term or provision held to be invalid, void, or unenforceable, and such terms
 or provision shall then be applicable as altered or interpreted, provided that subject to and in
 accordance with the Restructuring Support Agreement, and consistent with the consent rights set
 forth therein, any such alteration or interpretation shall be reasonably acceptable to the Debtors
 and the applicable Restructuring Support Parties and otherwise consistent with the terms and
 conditions of the Restructuring Support Agreement, including the consent rights therein. The
 Confirmation Order shall constitute a judicial determination and shall provide that each term and
 provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
 is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted
 or modified without the Debtors’ and the applicable Restructuring Support Parties’ consent; and
 (3) nonseverable and mutually dependent.

 J.     Votes Solicited in Good Faith

        Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
 on the Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to
 section 1125(e) of the Bankruptcy Code, the Debtors, the Restructuring Support Parties, and each


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 of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
 directors, employees, advisors, and attorneys will be deemed to have participated in good faith and
 in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities
 offered and sold under the Plan and any previous plan, and, therefore, neither any of such parties
 or individuals nor the Reorganized Debtors will have any liability for the violation of any
 applicable law, rule, or regulation governing the solicitation of votes on the Plan or the offer,
 issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous plan.

 K.     Dissolution of the Committees

        On the Effective Date, the Committee shall dissolve automatically, and the members
 thereof shall be released and discharged from all rights and duties arising from, or related to, the
 Chapter 11 Cases. The Reorganized Debtors shall no longer be responsible for paying any fees or
 expenses incurred by the Committee or any other statutory committee after the Effective Date.

 L.     Request for Expedited Determination of Taxes

         The Debtors or the Reorganized Debtors, as the case may be, shall have the right to request
 an expedited determination under section 505(b) of the Bankruptcy Code with respect to tax
 returns filed, or to be filed, for any and all taxable periods ending after the Petition Date through
 the Effective Date.

 M.     Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11
 Cases, File with the Court all documents required by Bankruptcy Rule 3022 and any applicable
 order of the Court to close the Chapter 11 Cases.

 N.     No Stay of Confirmation Order

        The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
 applicable, including pursuant to Bankruptcy Rules 3020(e) and 7062.

 O.     Waiver or Estoppel

         Except with respect to the Restructuring Support Agreement and the parties thereto, each
 Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument,
 including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a
 certain priority, Secured, or not subordinated by virtue of an agreement made with the Debtors or
 their counsel, or any other Entity, if such agreement or the Debtors’ or Reorganized Debtors’ right
 to enter into settlements was not disclosed in the Plan, the Disclosure Statement, or papers Filed
 with the Court or the Noticing and Claims Agent prior to the Confirmation Date.

 P.     Deemed Acts

         Subject to and conditioned on the occurrence of the Effective Date, whenever an act or
 event is expressed under the Plan to have been deemed done or to have occurred, it shall be deemed



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 to have been done or to have occurred without any further act by any party by virtue of the Plan
 and the Confirmation Order.

                                             ****



                          [Remainder of page intentionally left blank]




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          Respectfully submitted as of the date set forth below,

 Dated:      August 30, 2024
             Richmond, Virginia
                                              Enviva Inc.
                                              on behalf of itself and all other Debtors


                                              /s/ Glenn T. Nunziata
                                              Glenn T. Nunziata
                                              Interim Chief Executive Officer & Chief Financial
                                              Officer




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                                     Exhibit A

                             GUC Cash Pool Allocation

                         Debtor                         Allocation Percentage
            Enviva Aircraft Holdings Corp.                    0.000000%
      Enviva Development Finance Company, LLC                 0.000000%
              Enviva Energy Services, LLC                     0.000000%
                     Enviva GP, LLC                           0.000000%
               Enviva Holdings GP, LLC                        0.000000%
                  Enviva Holdings, LP                         0.520151%
                       Enviva Inc.                           26.093476%
                       Enviva, LP                            66.780026%
          Enviva Management Company, LLC                      0.013023%
        Enviva MLP International Holdings, LLC                0.000000%
             Enviva Partners Finance Corp.                    0.000000%
               Enviva Pellets Bond, LLC                       0.010000%
       Enviva Pellets Epes Finance Company, LLC               0.000000%
           Enviva Pellets Epes Holdings, LLC                  0.182913%
                Enviva Pellets Epes, LLC                      2.040024%
            Enviva Pellets Greenwood, LLC                     0.041612%
                   Enviva Pellets, LLC                        2.965616%
             Enviva Pellets Lucedale, LLC                     0.403493%
             Enviva Pellets Waycross, LLC                     0.929665%
            Enviva Port of Pascagoula, LLC                    0.010000%
            Enviva Shipping Holdings, LLC                     0.010000%
